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                VERITEXT          LEGAL SOLUTIONS




                              Deposition of:
                     Delores Rosetta Boyd
                             March 4, 2019


                             In the Matter of:

     Davis, Artur Vs. Legal Services Alabama,
                       Inc.




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 1              IN THE UNITED STATES DISTRICT COURT

 2                  FOR THE MIDDLE DISTRICT OF ALABAMA

 3                           NORTHERN DIVISION

 4

 5      CIVIL ACTION NO.: 2:18-cv-00026-SRW

 6      ARTUR DAVIS,

 7                     Plaintiff,

 8                     vs.

 9      LEGAL SERVICES ALABAMA,

10      INC.; et al.,

11                     Defendants.

12

13                        S T I P U L A T I O N

14                     IT IS STIPULATED AND AGREED by and

15      between the parties through their respective

16      counsel, that the deposition of Delores Rosetta

17      Boyd may be taken before Angela Smith McGalliard,

18      CCR, at the offices of Jemison & Mendelsohn, at

19      1772 Platt Place, Montgomery, Alabama 36117, on

20      the 4th day of March, 2019.

21

22                    DEPOSITION OF DELORES ROSETTA BOYD

23



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 1           IT IS FURTHER STIPULATED AND AGREED        1     IN THE UNITED STATES DISTRICT COURT
 2   that the signature to and the reading of the       2      FOR THE MIDDLE DISTRICT OF ALABAMA
 3   deposition by the witness is not waived, the       3               NORTHERN DIVISION
 4   deposition to have the same force and effect as    4 CIVIL ACTION NO.: 2:18-cv-00026-SRW
 5   if full compliance had been had with all laws      5 ARTUR DAVIS,
 6   and rules of Court relating to the taking of       6         Plaintiff,
 7   depositions.                                       7         vs.
 8           IT IS FURTHER STIPULATED AND AGREED        8 LEGAL SERVICES ALABAMA,
 9   that it shall not be necessary for any             9 INC.; et al.,
10   objections to be made by counsel to any           10         Defendants.
11   questions except as to form or leading            11 BEFORE:
12   questions, and that counsel for the parties may   12         Angela Smith McGalliard,
13   make objections and assign grounds at the time    13     Commissioner.
14   of the trial, or at the time said deposition is   14 APPEARANCES:
15   offered in evidence, or prior thereto.            15         KENNETH J. MENDELSOHN, ESQUIRE, of
16           IT IS FURTHER STIPULATED AND AGREED       16 JEMISON & MENDELSOHN, at 1772 Platt Place,
17   that the notice of filing of the deposition by    17 Montgomery, Alabama 36117, appearing on behalf
18   the Commissioner is waived.                       18 of the Plaintiff.
19                                                     19         ALBERT L. VREELAND, II, ESQUIRE, of
20         *************                               20 LEHR, MIDDLEBROOKS, VREELAND & THOMPSON, 2021
21                                                     21 3rd Avenue North, Birmingham, Alabama 35203,
22                                                     22 appearing on behalf of the Defendant.
23                                                     23                ******

                                              Page 3                                                          Page 5
 1         *************                        1         I, Angela Smith McGalliard, CCR, a
 2              INDEX                           2 Court Reporter of Pike Road, Alabama, acting as
 3             EXAMINATION                      3 Commissioner, certify that on this date, as
 4                                PAGE LINE     4 provided by the Federal Rules of Civil
 5   By Mr. Mendelsohn.................... 6 3  5 Procedure and the foregoing stipulation of
 6          PLAINTIFF'S EXHIBITS                6 counsel, there came before me at the offices of
 7                                PAGE LINE     7 Jemison & Mendelsohn, 1772 Platt Place,
 8   Exhibit 18 - Bates 626... 8 18             8 Montgomery, Alabama 36117, beginning at 10:01
 9   Exhibit 19 - Executive                     9 a.m., Delores Rosetta Boyd, witness in the above
10        Summary prepared by D. Boyd 12 16 10 cause, for oral examination, whereupon the
11   Exhibit 20 - Detailed                     11 following proceedings were had:
12        report by D. Boyd with               12            DELORES ROSETTA BOYD,
13        exhibits................... 12 17    13 being first duly sworn, was examined and
14   Exhibit 21 - LSA Handbook 27 21           14 testified as follows:
15   Exhibit 22 - Six-month                    15            COURT REPORTER: Usual
16        report..................... 86 8     16 stipulations?
17         *************                       17            MR. VREELAND: That's fine with
18                                                     18   us.
19                                                     19             MR. MENDELSOHN: Sure. If you
20                                                     20   want to read and sign, want to let us know
21                                                     21   later, that's just up to you, so you tell us
22                                                     22   when --
23                                                     23             THE WITNESS: Whatever expedites
                                                                                                     2 (Pages 2 - 5)
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 1   it for you. I'll trust the court reporter.           1   there has been a waiver by the client. And if
 2                EXAMINATION                             2   there has been, I believe that that binds me to
 3   BY MR. MENDELSOHN:                                   3   participate.
 4        Q.    Tell us your full name, please,           4              I don't know how free I am, so
 5   ma'am.                                               5   I'll let him speak to that.
 6        A.    Delores Rosetta Boyd.                     6              MR. VREELAND: That's correct.
 7        Q.    And I know a lot about your               7   We're not claiming work product or
 8   background, but when did you step off the            8   attorney-client privilege.
 9   bench? Help me out.                                  9              MR. MENDELSOHN: Okay. Yeah.
10        A.    The end of 2006.                         10   Because what -- I'm not even going to try to
11        Q.    And since that time you have             11   take the position that you waived it by
12   been, I know, doing mediations.                     12   producing the documents, but I still respect
13        A.    A combination of mediation work,         13   the attorney-client so --
14   investigative administrative adjudication; I        14              MR. VREELAND: Sure. We are not
15   think that I -- in 2007, I recall participating     15   asserting the privilege or work product.
16   in a fairly extensive investigation for the         16                  (Off-the-Record discussion
17   Jefferson County Personnel Board, and it            17                   was held.)
18   related to alleged cheating on promotional          18                  (Whereupon, Plaintiff's
19   exams.                                              19                   Exhibit 18 was marked for
20        Q.    Okay.                                    20                   identification purposes.)
21        A.    I've done workplace                      21         Q.     If you would take a look at
22   investigations and extensively involved into        22   Exhibit 18. We do have a Bates stamped number
23   family estates.                                     23   on that, and that would be 626.
                                                Page 7                                                  Page 9
 1         Q.    Okay.                                    1              And I'll ask you if you're
 2         A.    I have not resumed practice of           2   familiar with it.
 3   law deliberately.                                    3        A.      Plaintiff's Exhibit 18 is an
 4         Q.    Good for you. Let me make sure           4   engagement letter I sent to LaVeeda Battle in
 5   we're straight on a couple of things because I       5   her capacity as president of the board of
 6   don't want to step over any bounds about             6   directors; it is dated from me on August 21,
 7   attorney-client privilege. I know when our           7   signed by her on August 25; and it is a
 8   emails exchanged to set up the deposition,           8   confirmatory letter for my agreement to
 9   there was some concern about it.                     9   undertake a workplace investigation for Legal
10              Are you free to talk about this          10   Services in Alabama, pursuant to the board's
11   investigation?                                      11   August 18 resolution for an independent
12         A.    If Mr. Vreeland, who is here with       12   investigation of specified issues and concerns
13   Legal Services, says I'm free, then I am free.      13   arising from management decisions by executive
14   It was my understanding that my work was to be      14   director Artur Davis.
15   confidential, and you probably got that glimpse     15              I do recall this and identify it
16   in my emails.                                       16   as such.
17         Q.    Yes.                                    17        Q.      When were you first contacted
18         A.    Because until that email, I knew        18   about this, if you know?
19   nothing about this and certainly did not            19        A.      I cannot give you a precise date.
20   believe that I was free because the -- all of       20   If this is dated August 21, my best
21   the contractual documentation underscored the       21   recollection is perhaps a few days before; it
22   confidentiality. But my understanding is, and       22   may have been the day before.
23   I'll let him speak for the agency, is that          23              My recollection of the
                                                                                               3 (Pages 6 - 9)
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                                               Page 10                                                 Page 12
 1   circumstances is that I received either an           1   board at any time while you were on it?
 2   email or a phone call from LaVeeda Battle            2       A.     I do not recall that she was.
 3   inquiring about my availability. I made              3   This was a very large board. I don't recall
 4   inquiries about the parties. I recall                4   that she was. There are some board members who
 5   specifically indicating familiarity with Mr.         5   stand out, but I do not recall her being on the
 6   Davis.                                               6   board.
 7             And I recall specifically                  7       Q.     Right. Okay. And so after --
 8   relaying my service on the very first Legal          8   Let's see if I -- I know the dates aren't
 9   Services board, and advising that I did not          9   exactly right, but you get a phone call asking
10   think that either my familiarity with Mr.           10   if you're available --
11   Davis, my prior support, financially, for some      11       A.     Either phone or email.
12   of his campaigns, or my former acquaintance         12       Q.     Or an email. And then at some
13   with -- I believe it was Sylvia Mason, at some      13   point, Exhibit 18 would have been sent to Ms.
14   point after I got on the board, would prevent       14   Battle?
15   me from handling the investigation.                 15       A.     Uh-huh. Sure.
16             And I recall being asked to send          16                (Whereupon, Plaintiff's
17   a proposal that outlined my availability and        17                 Exhibits 19 and 20 were
18   what I said by phone.                               18                 marked for identification
19       Q.     Okay. When were you on the               19                 purposes.)
20   board?                                              20       Q.     And then I have for you to
21       A.     The very first time we had the           21   identify for me, please, Exhibits 19 and 20.
22   good fortune of having a Legal Services in          22       A.     I do recognize Plaintiff's
23   Alabama, it was called the Legal Services           23   Exhibit 19. It is an Executive Summary that I
                                               Page 11                                                 Page 13
 1   Corporation of Alabama. And I had the honor of       1   prepared after I completed my investigative
 2   serving on the founding board of directors.          2   analysis; I prepared it as a confidential
 3             My best recollection is 197- --            3   report; and I recall distributing it at a board
 4   somewhere between '76, '78. I can only do it         4   meeting and discussing it then.
 5   by reference to my own tenure. I returned here       5             Plaintiff's Exhibit 20 is, in
 6   in '75, I began law practice around August of        6   fact, the actual detailed report, submitted
 7   '76. Whenever the record shows Legal Services        7   with exhibits that I don't see, but they were
 8   got started here in Alabama, it could have been      8   tabbed and they're referenced in the report.
 9   '78, somewhere in that area.                         9   There were a good number of exhibits.
10        Q.     Okay. How long did you serve on         10             That is the detailed report
11   it, do you know?                                    11   concluding my investigation.
12        A.     Now you've got me. I recall             12       Q.     I do plan on going over parts of
13   serving longer than I had intended. Best            13   those with you. But, of course, if you need to
14   guess, I know I served for -- let me see if I       14   refer to any of it during the course --
15   can relate it to anything.                          15       A.     I will if I feel the need to.
16             I was on the board through the            16       Q.     Yeah. Please help yourself.
17   late '70s. I recall being on the board when         17             Did you, before starting your
18   Marvin Campbell was the executive director; I       18   investigative process, talk to anybody involved
19   recall being on the board for a short period        19   in this matter other than Ms. Battle, I mean it
20   when Winston Durant was executive director. I       20   may have involved any witnesses, anybody on the
21   could not give you a year; maybe into the           21   board?
22   mid-'80s, I just don't know.                        22       A.     Before I undertook the report?
23        Q.     Okay. Was Ms. Battle on the             23       Q.     Yes, ma'am.
                                                                                            4 (Pages 10 - 13)
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                                               Page 14                                                   Page 16
 1       A.     No, I did not.                            1   urgency was?
 2       Q.     And all I was making sure of was          2       A.     I believe the urgency was as
 3   whether anybody representing the board or Legal      3   stated, the fact that he had resigned and they
 4   Services contacted you around the same time          4   had desired to have the investigation done
 5   that Ms. Battle did?                                 5   before he resigned, so that -- They still
 6       A.     No. Ms. Battle, as board                  6   wanted to have the issues resolved, because my
 7   president, was my contact.                           7   recollection is there were specific complaints
 8       Q.     Okay. Can you recall what Ms.             8   involving employees who were still on board,
 9   Battle told you in the first conversation about      9   notwithstanding his resignation, so that the
10   the circumstances, what the investigation would     10   board wanted quickly to resolve all issues and,
11   be about?                                           11   I presume, to take some action.
12       A.     What I recall is that she either         12       Q.     Okay. As far as any action, was
13   emailed or shared with me a resolution              13   there anything that was alleged that could, in
14   outlining subjects to be investigated.              14   your mind, have been any kind of criminal
15       Q.     Okay.                                    15   action by Mr. Davis?
16       A.     Today, I don't recall anything           16       A.     I have no idea what's stated
17   more particular. But apparently either the          17   beyond what's stated on the board resolution.
18   board, or it may have been an executive             18   I did not involve myself in what actions the
19   committee, had authorized the investigation I       19   board might undertake in response to my
20   was to undertake; and that resolution, I            20   investigation. Instead, I limited my concerns
21   recall, specified subjects for investigation.       21   to what was expressed in the resolution.
22             And perhaps my letter will                22       Q.     Okay.
23   refresh my memory. I recall that I did not          23       A.     But I do recall that there was
                                               Page 15                                                   Page 17
 1   have the time constraints to investigate all of      1   more at stake than Mr. Davis's resignation or
 2   those subjects. Let me see if it's referenced        2   continued employment. There were specific
 3   here.                                                3   workplace complaints and an allegation of a
 4            No. This initial letter was more            4   workplace that was hostile or intimidating.
 5   of a request that I confirm availability, lack       5   And my understanding is that there were
 6   of conflict, and my billing hours.                   6   employees still there, so there was an urgent
 7       Q.    If you look at Exhibit 20 for me,          7   need, expressed to me, to investigate the
 8   on page five of it, Bates stamp number 160.          8   matters outlined in that resolution.
 9       A.    Uh-huh. Oh, yes.                           9       Q.      But as far as the accusations of
10       Q.    And that may help me and you              10   the hostile environment, that was accusations
11   communicate a little bit better.                    11   against Mr. Davis?
12       A.    Uh-huh.                                   12       A.      That's what it says in paragraph
13       Q.    That appears to lay out the six           13   four. Complaints from LSA staff of harassment
14   allegations that the board was asking you to        14   and the creation of a hostile work environment
15   investigate?                                        15   by the executive director, yes.
16       A.    Yes.                                      16       Q.      Right. So if you don't know,
17       Q.    Okay. At the bottom of it, it             17   that's fine, I'm still trying -- Well, let me
18   shows, the very last sentence, that the board       18   ask it this way --
19   president did advise you that Davis had             19       A.      I would not know why the board
20   resigned and the urgent need for a completed        20   perceived an urgent need to complete the
21   report within three weeks.                          21   investigation.
22       A.    Yes.                                      22       Q.      That's why I asked you did she
23       Q.    Did she express to you what the           23   express that to you.
                                                                                             5 (Pages 14 - 17)
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                                               Page 18                                                 Page 20
 1       A.      I would purely be speculating.           1   that's relevant is in the first paragraph: The
 2       Q.      Okay. So when she said that they         2   board president accepted the investigator's
 3   needed it in three weeks, there was no further       3   recommendation to focus comprehensively only on
 4   discussion about why or what was urgent or what      4   issues numbered one, two, and four. So that
 5   they were planning?                                  5   was my recommendation. And I recall, and there
 6       A.      I do not recall any discussion.          6   may be some reference here, as to why I did not
 7       Q.      Okay. And I believe y'all had            7   think the others could be also completed. I'd
 8   some discussions about the inability for you to      8   have to look for it.
 9   complete this within three weeks?                    9             But I can look at them now and
10       A.      I don't know that we had                10   tell why I knew that I could not
11   discussions. I made it clear what I felt I          11   comprehensively and fully and fairly deal with
12   could and could not do, and that's what's           12   each and every one of these issues within the
13   stated in the report, that I -- I made it very      13   three-week time period.
14   clear, that all of the six items listed posed a     14        Q.    All right. Help explain this to
15   tremendous difficulty for any forum.                15   me. The selections of numbers one, two, and
16             I believe that the board had used         16   four were that you believed -- was that because
17   the words a careful and full investigation; and     17   you believed you could get those done in three
18   when I looked at them, it was clear to me I         18   weeks?
19   could not do that within a three-week span of       19        A.    Yes. Yes. Yes.
20   time. And I think that I stated -- I gave my        20        Q.    Okay. And not the other three?
21   opinion as to why I could not do that and           21   And I guess what I'm trying --
22   recommended some more limited scope for any         22        A.    That's true. That's true. If
23   completion within the three-week period.            23   you look at number three, for example, whether
                                               Page 19                                                 Page 21
 1             Having done workplace                      1   new initiatives which have been communicated to
 2   investigations before, I was fully aware of the      2   the board, only after implementation, without
 3   time involved, and, unfortunately, also how          3   prior board input or approval, may be outside
 4   sometimes the investigation itself lends itself      4   of the priorities previously established and
 5   to other directions that perhaps may not have        5   approved by the board; and whether the
 6   been anticipated or more time needed.                6   environment created by these decisions may have
 7             And I just knew it was impossible          7   had an impact on the core casework of LSA as
 8   for me, as an investigator, to focus on each of      8   the number of cases being reported within the
 9   these issues. I don't recall discussing that         9   board, established priorities, may have been
10   with Ms. Battle. I do recall reporting to her       10   diminished. That, in and of itself, in my
11   that, no, I can't do this, here's a suggested       11   opinion, probably warranted weeks of
12   focus; I can deal with these, and here's why I      12   investigation.
13   can't deal with all the rest.                       13             I had no prior familiarity with
14       Q.      How did -- And, again, I'm trying       14   LSA operations. I did not know what core
15   to save time and not go through line by line,       15   priorities were, and I knew that that would
16   and the parts that I remember, or if we need to     16   have to be investigated. Each new initiative
17   refer to them I will. But I recall reading          17   referenced here needed to be investigated. No.
18   something in here that you and Ms. Battle           18   I knew that was a bit much. And I recommended
19   decided to limit it to three areas instead of       19   that that not be a part of my investigation, if
20   the six?                                            20   my investigation needed to be completed within
21       A.      No. I recommended, as is                21   a three-week time period.
22   indicated on page six. I made a recommendation      22             Let's see another one. Number
23   that she accepted; I believe the sentence           23   five I thought inevitably -- Number five
                                                                                            6 (Pages 18 - 21)
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 1   relates to confidential communications from LSA       1       A.     No.
 2   staff members which indicate that a hostile           2       Q.     Not the three specific ones that
 3   work environment may have been created by the         3   you didn't investigate, they never asked you --
 4   executive director's management style of              4   or Ms. Battle never did --
 5   terrorizing experienced staff when informed           5       A.     Did not. Neither Ms. Battle nor
 6   about LSA protocols and procedures, demeaning         6   any other member of the board or anyone else.
 7   support staff, intimidating and threatening           7   My recollection is that I had a meeting with
 8   staff with retaliation, unless they agreed to         8   the board of directors; those not present were
 9   keep the board informed -- uninformed, excuse         9   by phone, my recollection is; and it was for
10   me, uninformed, about matters involving LSA.         10   the specific purpose of answering questions,
11             Again, my understanding was that           11   presenting orally my Executive Summary. And I
12   the LSA staff was rather large, spread in not        12   don't recall any further communications.
13   only the central office but other offices. I         13       Q.     Do you recall when that board
14   considered that a time consuming undertaking,        14   meeting was, by any chance?
15   that in order to be fair to all involved, I          15       A.     I can relate it by date. Looks
16   could not undertake analytically, along with         16   like the report is completed September 14.
17   everything else, within the three-week period.       17             THE WITNESS: Do you have -- Are
18             So, again, yes, I suggested, give          18   my time sheets in -- Have they been shared?
19   me something that I can do, and that's why I         19             MR. VREELAND: I didn't see them.
20   focused on those issues.                             20       A.     Without that, I couldn't give you
21             I'm, frankly, looking through              21   the exact date. I do know that it was on a
22   here to see -- I thought that I had described        22   Saturday, I recall that. And if you have a
23   my reasoning in here. If you give me a moment,       23   calendar and can tell me when September 14 was,
                                                Page 23                                                  Page 25
 1   maybe I can find it.                                  1   I can tell you that. It was the Saturday after
 2             Well, I don't see it immediately.           2   completing the report.
 3   But I do know that page seven, that even the          3       Q.     Okay.
 4   allotted time for the investigation didn't            4       A.     Because I made a delivery of the
 5   extend to personal interviews that I would have       5   reports -- It all happened within this --
 6   preferred to take. And that, alone, lets us           6   within a very short time period.
 7   know that I could not have done everything,           7       Q.     And just to make sure that I'm
 8   because I did not have the opportunity to             8   right on this; the ones you did investigate
 9   conduct the kind of fulsome investigation I           9   would be on this big report, numbers one, two,
10   would have done otherwise.                           10   and four, which came from the board resolution,
11       Q.     Was there any discussion with Ms.         11   about spending decisions, new employment
12   Battle about coming back later and completing        12   positions, and then complaints of harassment
13   the investigation of the three that you didn't       13   and the creation of a hostile work environment?
14   have time to do at first?                            14       A.     Yes. Those numbered one, two,
15       A.     No. No. Not with Ms. Battle.              15   and four.
16   When I met with the board, and somewhere in,         16       Q.     Okay. I know from reading the
17   maybe, the Executive Summary, I made a               17   report there's some exhibit numbers listed, so
18   reference to my willingness to examine other         18   I'm assuming that you were provided with
19   issues if they desired, but I had no further         19   documentation?
20   discussion with her about completing any of          20       A.     Yes. Yes. Yes.
21   that.                                                21       Q.     Okay. Who --
22       Q.     Did they ever hire you or ask you         22       A.     I created the exhibits that are
23   to follow up with the --                             23   referenced -- I mean, I prepared the exhibits;
                                                                                              7 (Pages 22 - 25)
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 1   but the actual records, I secured during the          1        Q.     Just to make sure, let's -- I'm
 2   course of the investigation.                          2   going to mark as Exhibit 21, which has been
 3       Q.      Okay. Were there any documents            3   represented to me to be the handbook.
 4   furnished to you at the outset -- I'm assuming        4        A.     That definitely looks like the
 5   that the board resolution was -- and I'm kind         5   handbook. I recall it being 2006. Let me take
 6   of jumping ahead, but I'm assuming there may          6   a quick look here at the table of contents.
 7   have been times that you asked for more               7             I believe that this is the
 8   documentation, but I'm just trying to figure          8   handbook that was provided and certainly among
 9   out at the outset if you recall what was              9   the documents I referenced.
10   furnished to you?                                    10        Q.     You mentioned something a minute
11       A.      I do not. I'm looking at the             11   ago, and I saw it in the report, about exhibits
12   report to see if it refreshes my memory.             12   being tabbed?
13             I do recall the resolution. I              13        A.     Uh-huh.
14   believe that I may have requested the handbook.      14        Q.     Would that have been -- And to
15             Give me a moment to look through           15   tell you where I'm coming from, I have not seen
16   here to see if I can otherwise answer that.          16   the exhibits --
17             At page seven I cite: The                  17             MR. VREELAND: They were
18   investigator combed hundreds of supplemental         18   produced.
19   emails and assorted records produced throughout      19        A.     I tabbed -- As part of my
20   the period set for analytical deliberation and       20   report I --
21   preparation of this report; supplemental             21             MR. VREELAND: They follow Bates
22   interviews by phone, text, and email were also       22   numbers, the report itself.
23   required to clarify analytical questions. All        23             MR. MENDELSOHN: After -- Which
                                                Page 27                                                  Page 29
 1   exhibits cited in this report derived from            1   Bates numbers do you have? With the mass of
 2   investigative records, and they are submitted         2   documents I've got, I'm trying --
 3   in a tabbed attachment. That's all I recall.          3             MR. VREELAND: I show the report
 4             My recollection is that I did               4   itself ending on page 64, the report, Bates
 5   secure, at the outset, the handbook because I         5   number 219, and then 221 begins the exhibits.
 6   -- I know that I did, because I needed to be          6             THE WITNESS: Let me see that a
 7   governed by standards specified therein. If           7   second.
 8   you have the handbook, that might even refresh        8       A.     Yes. These are all the exhibits
 9   my memory.                                            9   I prepared as far as my report. And when I say
10             I recall wanting to ascertain as           10   I prepared them, I chose to tab them as
11   quickly as possible, for example, how the            11   Exhibits 1, 2 -- I forgot how I tabbed them.
12   handbook defined hostile workplace, that it had      12   Yeah. Exhibit 1, 2, those are my markings.
13   been my experience that employers, to varying        13       Q.     Okay. Here's what I'm just
14   degrees, define it sometimes narrowly,               14   trying to figure out, just for future
15   sometimes more liberally.                            15   references, what you would have looked at. And
16             So I'm confident that I got the            16   would that have been -- Would all the documents
17   handbook early on. But if you were to ask how        17   that you went through, would they be contained
18   did I get it, did I pick it up, did Ms. Battle       18   as exhibits?
19   give it to me, I must honestly tell you, I do        19       A.     Oh, no. No. No. No. I was
20   not recall.                                          20   supplied a number of records. Some I received
21                (Whereupon, Plaintiff's                 21   from the various persons interviewed; I recall
22                 Exhibit 21 was marked for              22   going to the workplace where I personally
23                 identification purposes.)              23   looked through personnel files; I recall a host
                                                                                             8 (Pages 26 - 29)
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                                                Page 30                                                   Page 32
 1   of fiscal records provided by people in               1   referenced our ultimate conclusion that because
 2   finance, whose names I don't recall. And, as          2   his post-resignation communications had been
 3   is my usual course, when it was time to analyze       3   rather hostile to the board, it was unlikely
 4   the issues, I made the decision which of those        4   that he would voluntarily agree to participate
 5   writings and records were analytically                5   by interview, and that I would have the
 6   relevant.                                             6   benefit, at least, of whatever he was saying
 7             And to the extent that I relied             7   and had said.
 8   on any of them and referenced them in writing         8             So did I call him? No. I never
 9   my report, I attached them as exhibits to the         9   was provided contact. I believe a decision was
10   report for the convenience of the reader.            10   made that he was lacking interest, shall we
11       Q.     Do you recall whether you were            11   say, in participating in the investigation.
12   furnished copies of the monthly reports that         12       Q.     Okay. And I'm referring to page
13   Mr. Davis prepared?                                  13   seven, because I think that's what you're
14       A.     Yes, I do recall. I do recall             14   talking about, about the --
15   that specifically because he was unavailable         15       A.     Yes. Right.
16   for my interview. By the time I began the            16       Q.     Let me ask you this way: Was any
17   investigation, he had resigned, and I recall         17   attempt made, first, by you, to contact Mr.
18   specifically asking for any writings responsive      18   Davis?
19   to the allegations against him; I recall             19       A.     No.
20   specifically asking for any reports made to          20       Q.     Okay. Do you know whether Ms.
21   either the board, the executive committee; I         21   Battle contacted Mr. Davis?
22   recall requesting email exchanges between him        22       A.     I do not.
23   and the board president. So, yes, I do recall        23       Q.     All right. So just to make sure
                                                Page 31                                                   Page 33
 1   that I received and read a number of monthly          1   I'm right on the Record, when you say he was
 2   reports. It was apparently his pattern to             2   unavailable, it was a decision that you and Ms.
 3   communicate in writing, as well as through            3   Battle made not to try contact him?
 4   other means, to the board. But I felt it              4       A.     It was just as I said, the
 5   important that I examine his monthly reports.         5   investigator and board president deliberated
 6       Q.     And I may have misunderstood the           6   earnestly. Their ultimate decision was not to
 7   word right, and if -- I'm just listening and          7   seek an interview or other investigative input
 8   talking back, but you mentioned something about       8   from the executive director after his
 9   him being unavailable for an interview?               9   resignation.
10       A.     Unavailable because he had                10             Now, what follows that, is the
11   resigned when I undertook my investigation.          11   explanation: Critical to that decision were
12       Q.     And I want to make sure I                 12   his continuing and divisive communications
13   understand your meaning of unavailable. Are          13   within LSA networks, as well as the strident
14   you looking at it from the standpoint that the       14   tone and text of his published communications.
15   board couldn't force him to give one?                15             What I recall there is that even
16       A.     I don't know whether the board            16   attendant to his resignation, I was provided
17   could have compelled him to do it. In either         17   emails or copies of writings that he continued
18   my Executive Summary or my report, I reference       18   to send, explaining himself, his resignation.
19   that the board's president and I spent               19   So I did receive those as evidence of whatever
20   considerable time weighing the pros and cons of      20   his feedback was. And he rather cogently, as I
21   trying to compel his cooperation with the            21   state thereafter, outlined his position on the
22   investigation by interview. And in either the        22   disputed issues and his defense of specific
23   Executive Summary or the confidential report, I      23   allegations in several memoranda reports and
                                                                                              9 (Pages 30 - 33)
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                                               Page 34                                                   Page 36
 1   many emails that I did examine.                      1       A.      I'm not certain if the history of
 2       Q.     And to be clear, the reason why           2   that handbook was something I independently
 3   I'm asking this is because you had said that he      3   investigated.
 4   was unavailable. And that's what I'm trying --       4       Q.      That's all I'm asking, if you
 5       A.     That's what I mean by                     5   know anything about the background of the
 6   unavailable.                                         6   handbook.
 7       Q.     Okay. But it wasn't like he was           7       A.      Sure. I do not.
 8   out of the country or refused --                     8       Q.      Do you know -- There was
 9       A.     I have no idea whether physically         9   something that came up, and I'm going to get at
10   he was here. And my choice of unavailable was       10   this later, but while it's on my mind about a
11   solely to emphasize what appears at paragraph       11   2016 handbook, do you recall that?
12   two on page seven, that a decision was made not     12       A.      Today, I do not. Is that
13   to make an effort to compel his interview.          13   something I referenced in my report?
14       Q.     Right. And I get that --                 14       Q.      Yeah. And we may get to it
15       A.     Uh-huh.                                  15   later. I don't know if it's on the top of your
16       Q.     -- and I respect that. But I'm           16   head if you didn't know.
17   just having to clear up, when you say he wasn't     17       A.      I'd have to look at something. I
18   available, he never refused to talk to you?         18   don't have an independent recollection.
19       A.     Well, he had no opportunity to           19       Q.      Before I get to the details of
20   refuse since I didn't contact him.                  20   this, I want to ask you this kind of general
21       Q.     Exactly.                                 21   question that will cover probably a lot of
22       A.     So I have no idea whether he             22   these things.
23   would have participated.                            23             There was some mention of things
                                               Page 35                                                   Page 37
 1       Q.     Right.                                    1   about whether he was spending money outside of
 2       A.     I can say under oath that I made          2   the budget or hiring people outside of the
 3   no attempt to call him.                              3   budget -- and I'm talking in general terms, not
 4       Q.     That's what I'm trying to make            4   specific. But with any of those, did you find
 5   sure of.                                             5   any evidence to believe that Mr. Davis had
 6       A.     Sure.                                     6   committed any kind of crimes?
 7       Q.     Okay. With respect to the actual          7        A.    I do not recall identifying any
 8   handbook that we're talking about, this 2006         8   possibly criminal conduct. I tried to make my
 9   handbook, do you know how that came about?           9   conclusions in a summary fashion as to the
10       A.     How what came about?                     10   hiring and compensation decisions I
11       Q.     The handbook, whether it was --          11   investigated.
12   Well, let me tell you what I know and see if        12             Today, I don't recall that, and
13   you knew this. It's my understanding that this      13   it certainly would be something that would
14   was pretty much adopted from a handbook that        14   stand out to me if I had found something that I
15   was used with a Legal Services agency in            15   thought to be criminal. But frankly, I'm not
16   Maryland.                                           16   sure that I would have had the qualifications
17       A.     Okay.                                    17   to rule definitely on that.
18       Q.     Do you know one way or the other?        18             So it's a qualified I don't
19       A.     I may have known then. Sitting           19   remember that. I think, though, that if I did,
20   here today, I don't recall ever being advised       20   I would have referenced it -- I'm looking now
21   that this handbook originated from a handbook       21   at the table of contents for the extended
22   in Maryland. I really don't know.                   22   report. If I found anything to be criminal
23       Q.     Okay.                                    23   about the conduct attributed to him, that I
                                                                                            10 (Pages 34 - 37)
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                                                Page 38                                                   Page 40
 1   investigated, I certainly would have stated it        1        A.    That's true. Had I made such a
 2   in my summary conclusions.                            2   finding, for sure, I would have included it in
 3        Q.     Sure.                                     3   my report, in both the Executive Summary and
 4        A.     And it certainly would have been          4   the detailed report.
 5   stated in the Executive Summary, because that         5        Q.    And as far as any of the spending
 6   is what I reviewed with the board of directors.       6   requirements, did you have any reason to
 7   And as I am looking through those conclusions         7   conclude that Mr. Davis was making those
 8   in the shorter Executive Summary, Mr.                 8   expenditures for any reason other than what he
 9   Mendelsohn, I don't see any reference to a            9   believed to be in the best interest of Legal
10   finding I made of criminal conduct. I don't          10   Services?
11   see the adjective or the noun used here. And         11        A.    I don't know that I can answer
12   surely that's something I would have                 12   that apart from saying whatever I concluded as
13   highlighted had I uncovered it. I've gotten to       13   to those spending decisions is recited in my
14   the last page of the Executive Summary, and I        14   report.
15   still don't see crime or criminal or any             15        Q.    Okay.
16   synonym.                                             16        A.    Today, I have no independent
17             So I feel confident in responding          17   recollection for any conclusion I made
18   that I do not recall making any analytical           18   attributing a bad motive to him, or a motive
19   conclusions or findings attributing to Mr.           19   that was independent of his allegiance to the
20   Davis crime or criminal behavior.                    20   best interests of Legal Services.
21             I may have made recommendations            21             Again, had I uncovered a bad
22   that matters be investigated further. But as I       22   motive or evidence suggesting a bad motive, I
23   review the Executive Summary today, I do not         23   would have put it in the report.
                                                Page 39                                                   Page 41
 1   see that I attributed to him any crime or             1       Q.      Okay. The same thing with the
 2   criminal conduct.                                     2   number two, where he may have created new
 3       Q.     Let me say this: I didn't see              3   employment positions that were not included in
 4   any in there, and I didn't even see any               4   the budget: Do you recall whether you found
 5   accusations of it. But I'm just trying to just        5   any evidence that Mr. Davis did that for any
 6   make clear, like, under number one that there         6   personal financial benefit to himself?
 7   may have been significant spending decisions          7       A.      Had I made such a conclusion, it
 8   made by the executive director outside of the         8   would be in my report. Sitting here today, I
 9   budget.                                               9   have no independent recollection that I did.
10             Was there ever any accusation, or          10   And just glancing through the Executive
11   do you find any evidence, that if there were         11   Summary, I see no reference to a conclusion
12   these expenditures outside of the budget that        12   that any decision-making by him was motivated
13   they were being expended on him personally,          13   to benefit him personally or financially, if I
14   where he was misappropriating money for his own      14   understood your question clearly.
15   personal use?                                        15       Q.      On these budgetary-type issues,
16       A.     I do not recall that today.               16   did you ever look at any financial records to
17       Q.     Okay.                                     17   determine whether Mr. Davis's action did, in
18       A.     If I had made such a finding, it          18   fact, hurt the budget.
19   would be in my report.                               19       A.      No. As a matter of fact, I
20       Q.     Okay. And the fact that it's not          20   believe that's among those matters that I said
21   in your report would indicate there was no           21   I did not have time to investigate. Or --
22   indication that he was trying to pad his own         22   Let's see if I'm accurate here.
23   wallet with this?                                    23             I'm pretty sure that I concluded
                                                                                            11 (Pages 38 - 41)
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                                               Page 42                                                  Page 44
 1   that as to any impact on LSA funding and             1   amounts; am I right?
 2   budgetary matters, the time frame for my             2        A.    Where are you? Page three?
 3   investigation would not permit me to analyze         3        Q.    I'm on page three, under summary
 4   that accurately and independently.                   4   conclusion, that first paragraph.
 5       Q.     And I didn't see anything in the          5        A.    Okay. And your question again?
 6   report, but I just want to ask you if you have       6        Q.    Yeah. I'm trying to make sure
 7   a different recollection. I didn't see where         7   those two provisions don't conflict with each
 8   you contacted Warren Averitt, the accounting         8   other. And the only way I can conclude it, and
 9   firm.                                                9   if I'm wrong, I'd just like to know, that when
10       A.     I do not recall speaking to              10   you say investigated and you determined here
11   anybody at the accounting firm. I do recall         11   that there's continuing effect from Davis's
12   speaking to people in finance, their names          12   policy revision and his hire and pay decisions,
13   escape me. But I do recall that there were          13   that that doesn't have to do with budgetary
14   people involved with finance, and I recall          14   impacts?
15   receiving a number of fiscal records. But as        15        A.    Sure. That statement relates
16   to independent contact with Warren Averitt,         16   only to hiring and compensation decisions. And
17   their financial -- their accountants, I know        17   if you will look at page twenty-eight of the
18   that I did not speak with anybody directly          18   detailed report, the summary conclusions there
19   there.                                              19   should reference the impact to which I
20       Q.     And I need to clear up in my mind        20   referenced. I was not focused on budgetary
21   about -- because there were certain things you      21   impact, that was not the issue that I dealt
22   said you didn't have time to investigate, and       22   with.
23   there are certain things you did. I guess the       23             But to the extent that I
                                               Page 43                                                  Page 45
 1   best way to ask it is: Did you do any                1   concluded with that sentence, it is supported
 2   investigation to determine whether any actions       2   by my summary conclusions on hiring and
 3   by Mr. Davis had an adverse financial impact to      3   compensation decisions, all of them that appear
 4   Legal Services?                                      4   at twenty-eight and continue through
 5        A.     I did not.                               5   twenty-nine.
 6        Q.     Okay. What do you call this              6       Q.     And in your bigger report, the
 7   little one, this report?                             7   number twenty-eight -- on page twenty-eight,
 8        A.     Executive Summary for                    8   you're talking about how that the year before
 9   Confidential Report.                                 9   they had had staff layoffs, office closings,
10        Q.     Okay. And help me out with this.        10   budgetary constraints.
11   This is probably confusing on my part. And I'm      11       A.     Uh-huh.
12   not trying to be critical of it, I'm really         12       Q.     But during Mr. Davis's tenure, he
13   not, I'm just trying to get it straight in my       13   was able to hire more people, pay higher
14   mind.                                               14   salaries, without any financial impact or
15             You didn't do, like you said              15   adverse financial impact to Legal Services?
16   here, a meaningful analysis of budgetary            16       A.     Your question?
17   effects. But on page three -- And I know            17       Q.     Isn't that correct?
18   there's a logical explanation, I just need it       18       A.     I don't know that that is
19   in my mind. -- it says: The investigation           19   correct. If I analyzed that issue, I would
20   disclosed continuing effects from Davis's           20   just have to stand by whatever my conclusions
21   policy revision and his hire and pay decisions.     21   were there. I can't take issue with your
22             I'm assuming that that last part          22   analysis, except to say to the extent that I
23   that I read has nothing to do with budgetary        23   analyzed his hiring and compensation decisions,
                                                                                           12 (Pages 42 - 45)
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                                               Page 46                                                  Page 48
 1   my summary states at twenty-eight, twenty-nine,  1       had uncovered.
 2   and the foundational elements for my conclusion  2           Q.     And I'm not going to be able to
 3   continue through -- let's see, twenty-nine       3       go through line by line and question you like
 4   through, appears to be forty-four -- forty-four  4       that. But the way I understand, everything
 5   for attorney hires and forty-five through        5       that you found of significance would be
 6   fifty-seven for nonattorney hires.               6       reflective in this bigger report and the
 7             And reasonable minds can disagree      7       exhibits; correct?
 8   on the impact of the hiring and compensation     8           A.     It would. And that bigger report
 9   decisions, as you've just advanced with your     9       is one that addresses solely the issues that
10   question. But my conclusions I stand by, and    10       are outlined in my prefatory description of the
11   that's the foundation for them.                 11       scope of the investigation; which is to say, I
12        Q.     Okay. Let me ask it the opposite    12       do not wish to be misunderstood for
13   way, just to make sure we're clear.             13       investigating the budget or any other matter I
14        A.     Uh-huh.                             14       did not.
15        Q.     If you had found any adverse --     15           Q.     Okay.
16   And you may not have investigated it, but if    16           A.     So to the extent that the scope
17   you had found that there was anything in any of 17       of the investigation is defined, then you can
18   the spending decisions that Mr. Davis made that 18       rely on whatever is in my detailed report as
19   caused LSA to go over budget or to borrow money 19       inclusive of anything I found significant as to
20   or to shut down something, you would have put   20       those issues.
21   that in your report?                            21                Stated differently, if there's
22        A.     Well, let me make clear, and        22       nothing there that pinpoints a finding, that
23   perhaps I did not: I did not undertake an       23       means that to the extent that I investigated
                                               Page 47                                                  Page 49
 1   analysis of the LSA budgets for the period           1   it, I found nothing meriting a report to the
 2   either preceding Mr. Davis's term or during the      2   board.
 3   term. That is a matter I did not believe I           3        Q.     Okay. It may not be a fair way
 4   could independently investigate in a fair and        4   to go about this, but let me give it a shot.
 5   thorough manner.                                     5   If not, you can object, and Al can object too.
 6             I recall specifically when I made          6             As I look at things often, it's
 7   my report to the board indicating to them that       7   back to the old basic concept of, you know,
 8   fiscal issues relating to the budget seemed          8   having a breach of a duty and having a
 9   more appropriately investigated by a committee       9   proximate causative effect.
10   I understood that they had. And I freely            10             There are numerous things in
11   acknowledged my lack of expertise in analyzing      11   here, and I'm looking on page four of the
12   budgets and denied any effort to review and         12   shorter -- the Executive Summary. Okay? And
13   compare budgets.                                    13   there, on page four, about unnecessary,
14             So as it relates to the budgetary         14   incompetent, or preferential hirings, salary
15   impact of those decisions, no, I neither            15   and salary adjustments, and disregard of pay
16   investigated nor made an effort to analyze.         16   scales, salary adjustments, or materially
17   Instead I said, here is what I have found based     17   impermissible motivations.
18   upon the files and the records I have looked        18             To make clear on this, with those
19   at.                                                 19   conclusions that you make, you still are not
20             And my intent was to say: To the          20   going to testify or don't want your report to
21   extent the board has need to investigate            21   be read as that any of those actions by Mr.
22   further what impact all of this had, that's up      22   Davis caused financial harm to LSA?
23   to you. I just laid out the facts for what I        23             I'm just kind of cause and
                                                                                           13 (Pages 46 - 49)
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                                              Page 50                                                  Page 52
 1   effect. I understand and see what you say in 1          did not go that further step.
 2   this --                                          2           Q.    And I'm just trying to make it
 3       A.     Well, I'm not certain that I can      3      clear, because you understand, I'm looking at
 4   make a declaration that they did, because I did 4       possibilities of motions for summary judgments,
 5   not investigate that link.                       5      trying the case, stuff like that. And I just
 6       Q.     Right.                                6      want to make sure that I have it documented
 7       A.     I did not thereafter look at the      7      that Judge Boyd did not make any determinations
 8   budget to see what impact a particular hiring 8         about the financial impact of any of these
 9   or compensation decision had on the budget. I 9         accusations against Mr. Davis?
10   reported those facts that I did find, confident 10           A.    Whatever conclusions and
11   that the board would thereafter be in a better 11       investigative findings I made are reported.
12   position than I either to investigate budgetary 12      Now, can they be fairly construed by either
13   impact or financial harm, or to undertake       13      side in a manner that is not stated there? I
14   another investigation, whether they did so by 14        suspect they can. As to what my intention is,
15   an independent investigator or through its own 15       it is nothing more or less than what I've
16   committee.                                      16      stated in my summary conclusions.
17       Q.     Okay. You wouldn't want your         17           Q.    Did you know Sylvia Mason before
18   report to be used to say that Judge Boyd        18      this?
19   concluded that Artur Davis caused financial 19               A.    I did. You might recall that
20   harm to LSA?                                    20      early on I said that when I was contacted by
21       A.     Honestly, I want my report to be     21      Board President Battle, I disclosed to her a
22   construed just as it is written. I tried to     22      prior acquaintance with both Ms. Mason and with
23   state my conclusions succinctly. I gave         23      Mr. Davis. And I then expressed my view that I
                                              Page 51                                                  Page 53
 1   foundational facts which could form the basis       1   did not feel any conflict of interest because
 2   for any reasonable conclusion if other factors      2   of that. And to refresh your memory, what I
 3   were woven in.                                      3   said was, when I was on the initial board of
 4             So it's difficult to answer that          4   directors, the founding board of directors, I
 5   question yes or no, and I will give you an          5   don't recall when, but at some point she was an
 6   example. When I was making my presentation to       6   employee of Legal Services. And at some point,
 7   the board, I learned that the board had some        7   I recall that she was employed when Mr. Durant
 8   type of committee, I don't recall if it was         8   was executive director, possibly when a
 9   called a finance committee or a fiscal              9   predecessor director was there. So the extent
10   committee. I do recall that regularly there        10   of my acquaintance was, I knew that she was an
11   were phone meetings with that committee.           11   employee.
12             My guess is that some people on          12       Q.     Did you, by any chance, look at
13   that board were probably more illiterate than I    13   her personnel file?
14   about the board's budgetary status before Mr.      14       A.     I did. I did.
15   Davis and during his tenure; which is to say,      15       Q.     Did you see any complaints about
16   that upon receiving the foundational evidence I    16   her in the past by other executive directors?
17   provided from my fact finding, they were free      17       A.     I do not recall. And had I --
18   and may have had a basis for reaching              18   Well, I don't know that I would have included
19   conclusions that I could not have.                 19   that. Because if you recall, in my report, I
20             But as for me, I could not make          20   did not give a fulsome analysis of the hostile
21   that leap to say, and as a result of what I've     21   workplace complaint that she asserted, because
22   told you at page twenty-eight, this caused LSA     22   by the time of my interview with her, she had
23   to lose X dollars or talk in percentages. I        23   reported her decision not to advance it. She
                                                                                          14 (Pages 50 - 53)
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                                                Page 54                                                   Page 56
 1   believed that Mr. Davis himself was the source        1   did not report a finding because neither
 2   of her problems.                                      2   complaining witness desired to advance the
 3             And my recollection today is that           3   claim. By then, I had investigated, and the
 4   she reported that one or two other people in          4   decision for me was, do I continue to bill
 5   the workplace, of a supervisory status, had           5   Legal Services in the preparation of my report
 6   also contributed to her complaints. And she           6   with findings that are irrelevant because they
 7   did not -- They were no longer in the                 7   do not intend to advance them.
 8   workplace, my recollection is, and she did not        8             So sitting here today, I cannot
 9   wish to continue advancing her claim.                 9   tell you what my ultimate conclusions were.
10             So you will note that in my                10   I'd have to probably go back and look at my
11   completed report -- Let me see if I can              11   work product. I deemed it irrelevant to report
12   reference it -- I do not give an analytical,         12   to the board my findings; and I specifically
13   fulsome investigation as it relates to her           13   recall when I made my oral presentation to the
14   hostile workplace complaint; which is to say, I      14   board, advising that if anyone just wanted to
15   do not recall today what else would have been        15   know what I found, I'd be happy to go back and
16   in the personnel file that I reviewed for her,       16   supplement the report, but I did not believe it
17   but I surely do recall reviewing it.                 17   a prudent use of LSA funds to write a long,
18             It is at page fifty-nine is when           18   involved explanation of findings on a claim
19   I describe my ultimate disposition of her            19   that would not be advanced.
20   hostile workplace complaint.                         20        Q.    Okay.
21       Q.      Twenty-nine?                             21        A.    Now, if you're asking me if today
22       A.      Fifty-nine, according to the             22   I recall what I would have found, is that the
23   table of contents.                                   23   question?
                                                Page 55                                                   Page 57
 1       Q.    Help me out with this to                    1        Q.    No. It's really what you did
 2   eliminate my confusion. And I know that we            2   find. Let me try to explain what my confusion
 3   were just talking about Sylvia, but was one of        3   is or where I'm trying to go -- not to go
 4   the issues that you were investigating was            4   anywhere, but to get what I need for purposes
 5   hostile workplace complaints caused by Mr.            5   of today and to get information.
 6   Davis?                                                6             Whether you agree with this or
 7       A.    Correct.                                    7   don't agree with it, Mr. Davis and I have
 8       Q.    All right. And as far as                    8   positions about the complaints that were made,
 9   complaints by Ms. Mason, did you investigate          9   talking about Ms. Mason at first. And what our
10   those?                                               10   position is, her background, about having been
11       A.    I did.                                     11   reprimanded before about misconduct in the
12       Q.    Okay. Did you make a conclusion?           12   office, and other things that would relate to
13       A.    The conclusion is reported at              13   the fact that he had disciplined her before she
14   page fifty-nine.                                     14   made this complaint, all the facts surrounding
15       Q.    Okay. In here you noted about              15   those is stuff that if that is used against Mr.
16   Graham and Mason, confirm that the employee          16   Davis, I'm prepared to defend.
17   departures, especially Davis's, had completely       17             What I'm trying to determine is
18   restored a productive workplace.                     18   whether you made a complete investigation of
19            Okay. I guess -- I know it's in             19   all the facts concerning her complaint to delve
20   your report, or we need to rely on the report.       20   into her background, look into it a lot more,
21   But did you make a determination that Mr. Davis      21   or was this something that as you were looking
22   created a hostile workplace environment?             22   at it, when she said she was satisfied, that
23       A.    I did not report a finding. I              23   that was the end of it?
                                                                                             15 (Pages 54 - 57)
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                                               Page 58                                                   Page 60
 1       A.     Once Ms. Mason and Ms. Graham,            1       A.      I have no independent
 2   independently, in separate interviews, made          2   recollection of what I discussed.
 3   clear to me their lack of interest in advancing      3       Q.      Okay.
 4   their claims, I made the investigative decision      4       A.      I do recall securing several
 5   that it would not be a prudent use of time and       5   writings and exchanges of emails involving Ms.
 6   resources to continue investigating their            6   Pickett, involving the board president,
 7   claims to the end of making final analytical         7   involving the executive director. And I'm
 8   conclusions. And that is why I opted not to          8   confident, because I interviewed Ms. Pickett,
 9   include anything in my report.                       9   that I discussed with her all of those
10             Had either said, yes, here's what         10   writings.
11   supports my claim and I do want to proceed,         11       Q.      If you would look at Plaintiff's
12   there would have been more work to be done          12   Exhibit 6, and this is the email that I was
13   before I could have reached a final analysis.       13   referring to, just see -- as they say, refresh
14       Q.     Sure.                                    14   your recollection.
15       A.     I don't have a recollection today        15       A.      You want me to look at it for
16   on who was interviewed first and whether I had,     16   what purpose?
17   up to that point, interviewed everybody             17       Q.      This is the email I was talking
18   relevant to that claim. I don't think I had.        18   about. And I'm just wondering if by looking at
19   I believe that at the point when I determined       19   this, this reminds you that you did see it or
20   that hostile workplace as a complaint would not     20   that you went over this?
21   be one that I would make conclusions on, I          21       A.      I'll take a look at it.
22   stopped at that point making further inquiries      22             Mr. Mendelsohn, I am not going to
23   during the course of my investigation or            23   be able to say I did or did not. I'm looking
                                               Page 59                                                   Page 61
 1   looking further into their background. I             1   at this, and it is directed to LaVeeda and
 2   surely don't recall doing anything further on        2   Phil, and that doesn't ring a bell to me right
 3   that particular complaint.                           3   now.
 4       Q.     Let me ask you this, we'll move           4             I must tell you that part of my
 5   to a different subject. Did you know Jaffe           5   inability to recall things specifically is that
 6   Pickett before this?                                 6   for the past three weeks I've been engaged in
 7       A.     No, I did not. I had never met            7   another workplace investigation, and my brain
 8   her.                                                 8   is full of emails and writings that relate to a
 9       Q.     Were you provided the email that          9   totally different agency.
10   she had sent to Ms. Battle in August of 2017        10             These matters occurred two years
11   that was complaining about Mr. Davis?               11   ago. My best response is, I could have, I just
12       A.     I have no recollection. I may            12   -- nothing here -- nothing that I'm looking at
13   have. I do recall being provided a host of          13   now rings a bell one way or another.
14   email exchanges that were relevant. And if it       14        Q.     Okay.
15   happened during the August term, I'm confident      15        A.     If I had to guess, I just don't
16   that I probably was because I specifically          16   know. This does not look like something that I
17   requested any email exchanges or other writings     17   got, but I may have; I just don't remember.
18   that triggered all of the complaints.               18        Q.     Okay. And the -- Let me ask you
19       Q.     Let me see if I can pull it up           19   a follow-up question with that that you may not
20   for you.                                            20   recall either. Did you ever have any
21             Well, let me ask you this, if you         21   discussion with Ms. Pickett about an email that
22   recall: Do you recall Ms. Pickett discussing        22   she claimed that she did not send out?
23   anything with you about that email of hers?         23        A.     I don't know. I don't know. I
                                                                                            16 (Pages 58 - 61)
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                                                Page 62                                                 Page 64
 1   mean, I don't recall discussions with that            1   was undertaken in August, it may have stayed
 2   degree of specificity. My recollection is that        2   with me through that year. But I promise you,
 3   my extended interviews with her were on the           3   when 2018 rolled around, I had far too many
 4   issues that I was investigating.                      4   other things on my mind.
 5             And as I am wont to do, when I'm            5             So I am -- I'm just sorry, I
 6   interviewing anybody, I recall asking her to          6   don't remember the specifics of discussion or
 7   share with me anything in writing that remotely       7   specifics of a particular email. And looking
 8   related to the subjects of my investigation.          8   at this Plaintiff's Exhibit 6 just does not
 9             So to the extent I may have                 9   refresh my memory.
10   inquired about an email she didn't send, I           10        Q.    I was just making sure.
11   don't know the context. I would have had to          11        A.    Sure.
12   have known that the email existed, number one,       12        Q.    I didn't see anything in there
13   or received it, to even raise with her the           13   about it, but it may be significant down the
14   authenticity. So I'm afraid I can't help you         14   road for us about this email and about the
15   with that. I don't know.                             15   alleged breach of security with it. And I was
16       Q.     Did anything come up in a                 16   just wondering if any of that had come up in
17   conversation with her about an allegation that       17   any conversations?
18   she made that somebody had breached the              18        A.    I just don't know. I don't
19   security of her emails?                              19   remember.
20       A.     I don't recall.                           20        Q.    Okay. I didn't see -- And,
21       Q.     Okay.                                     21   again, I can't remember everything I read last
22       A.     That is to say, I just simply             22   night or the day before about this, but I do
23   don't remember. It may have, I just don't            23   not remember seeing anything about you
                                                Page 63                                                 Page 65
 1   remember today.                                       1   interviewing Michael Fortin?
 2       Q.     Well, did anything come up, not            2       A.    Michael?
 3   just with Ms. Pickett, but in any of your talks       3       Q.    Fortin. He's the Director of
 4   with Ms. Battle, or anybody else, about the           4   Advocacy.
 5   fact that they had hired a company called Sword       5       A.    The name doesn't ring a bell. I
 6   and Shield to investigate potential compromise        6   do not remember interviewing him.
 7   of the email system?                                  7       Q.    Okay. Did you interview any of
 8       A.     I would not remember today and I           8   the regional managing attorneys?
 9   do not remember today.                                9       A.    I cannot recall interviewing any
10       Q.     And just so -- In the event it            10   of them.
11   helps any, there has been -- this email that         11       Q.    Okay.
12   kind of launched everything that was shown in        12       A.    Those were clearly people to be
13   Exhibit 6, Ms. Pickett claims that she didn't        13   interviewed for the item I opted not to
14   send these. I'm just trying to come --               14   investigate. You recall there was an item on
15       A.     I have no idea.                           15   the board resolution that related to purported
16             MR. VREELAND: Object to the                16   dissension in the workforce among staff
17   form.                                                17   members.
18       A.     I have no idea. Just -- I am not          18       Q.    Right.
19   -- Just to be clear, I am wont to forget             19       A.    Surely, had team permitted,
20   investigations once they are concluded, unless       20   interviewing all regional lawyers might have
21   I have prior notice if there is a reason to          21   been something I would have undertaken.
22   remember.                                            22       Q.    Uh-huh.
23             In 2017, when this investigation           23       A.    But sitting here today, I don't
                                                                                           17 (Pages 62 - 65)
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                                              Page 66                                                   Page 68
 1   recall that being a subject that I did              1   clear to me. But I know that I did interview
 2   investigate. So, no, I do not remember a Mr.        2   her at her request, and she was in the fiscal
 3   Fortin or any other regional attorney.              3   department.
 4       Q.     Okay. Any of the people that Mr.         4       Q.     Did you interview Gary Gilmore or
 5   Davis hired, any of the attorneys he hired, did     5   talk to him?
 6   you interview them?                                 6       A.     Gary Gilmore?
 7       A.     I do not recall. And I don't             7       Q.     Do you remember him?
 8   have -- Only my time sheet would show the           8       A.     Gary Gilmore? Do you remember
 9   people I interviewed. But I do not recall           9   the position he had?
10   meeting -- Let me take a look at the people        10       Q.     He was the CFO.
11   that I reference that he hired, and I can state    11       A.     I don't believe so. I don't
12   that conclusion with greater confidence.           12   remember ever seeing him. I remember
13             And for the Record, I'm looking          13   interviewing somebody in the financial office
14   at a table of content under hiring and             14   but his name does not ring a bell.
15   compensation decisions. I'm looking at the         15       Q.     Okay.
16   subtitles for the names of the people who are      16       A.     And I would remember, because I
17   referenced here.                                   17   don't think I interviewed any males.
18             And now I can answer your                18       Q.     Okay.
19   question with certainty. I did not interview       19       A.     Just coincidentally it would
20   any of the people hired by Mr. Davis, I do not     20   stand out to me, because I don't remember
21   recall.                                            21   seeing many male employees when I went to the
22       Q.     Did you interview, as far as            22   workplace and interviewing any. I may have met
23   interview, not just casual talk with them, did     23   him, but I don't remember interviewing him.
                                              Page 67                                                   Page 69
 1   you interview any of the board members?             1       Q.     On page three of the Executive
 2       A.     Did not.                                 2   Summary, under Roman numeral two, paragraph A,
 3       Q.     Did you talk to any of the board         3   the second paragraph where you state the
 4   members, other than Ms. Battle?                     4   confusion, resentment, and anxiety abound
 5       A.     Did not.                                 5   within the LSA workforce.
 6       Q.     And you didn't conduct an                6       A.     Uh-huh.
 7   interview of Ms. Battle either?                     7       Q.     Can you tell me the names of the
 8       A.     I did not.                               8   people that you interviewed that led to that
 9       Q.     Did you interview any of the             9   conclusion by you?
10   administrative personnel? I know you've            10       A.     I cannot. I can tell you that
11   mentioned Ms. Mason, Ms. Graham, Ms. Pickett.      11   they were identified on whatever time sheets I
12   Did you interview anybody else?                    12   kept. I can tell you that they reported not
13       A.     I did. Their names, I do not            13   only their individual concerns but concerns
14   recall. If you'd like, I'll take a look at the     14   that had been reported to them. I can tell you
15   report and see if it refreshes my memory on any    15   that I recall that some of the employees who
16   of them.                                           16   made those reports were in the central office.
17       Q.     Please.                                 17   I can tell you that my recollection is that
18       A.     I do know that I interviewed some       18   some reported complaints that emanated from
19   people in finance or the fiscal department. I      19   regional offices. But as to the particular
20   do recall that during the course of my             20   people, that would be part of work product
21   scheduled interview for either Ms. Mason or Ms.    21   somewhere, and I don't even know if I retained
22   Graham, someone approached and asked me if she     22   that work product.
23   could be interviewed, and her name still is not    23             MR. MENDELSOHN: Okay. It may

                                                                                           18 (Pages 66 - 69)
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 1   have been in the documents but I don't know         1   started on August 28th, continued actively
 2   whether I've seen it, the billable hours.           2   through September 8th, with comprehensive
 3              MR. VREELAND: I don't think I've         3   in-person interviews and analytical scrutiny of
 4   seen it. I don't know. I can get it for you.        4   voluminous personnel policy and fiscal records,
 5       Q.      But to jump ahead, the billable         5   et cetera. Let me just take a --
 6   hours would show the people that you talked to      6             Well, here it is. The
 7   or interviewed?                                     7   investigator personally interviewed five
 8       A.      I'm fairly confident that my            8   witnesses with personal or probative knowledge
 9   itemized invoice would show anybody I               9   of the investigative issues and documents. In
10   interviewed, anybody from whom I got records.      10   addition to the witnesses named in their
11   There were -- I hope I'm mistaken. I'm trying      11   complaints to the Board of Directors, two
12   to remember if I tried to retain anyone's          12   central staff employees volunteered interviews.
13   confidence because I began each interview by       13       Q.     Okay. Do you know the names of
14   emphasizing that their disclosures were            14   those two central --
15   confidential.                                      15       A.     I do not, if it is not there. I
16              My recollection today is that my        16   don't have an independent recollection today.
17   itemized invoice would show the people that I      17   That is when it might be on my itemized
18   talked with.                                       18   invoice.
19       Q.      Okay. Because like if you met          19       Q.     Okay.
20   with somebody for an hour, you would normally      20       A.     I know one was -- I can tell you
21   put it in your invoice?                            21   what department they were with, I don't know
22       A.      I met with them for five minutes,      22   their names.
23   I'd put it in; if I had a phone interview, I'd     23       Q.     Okay.
                                              Page 71                                                   Page 73
 1   put it in. Because if I'm going to bill, I'm     1          A.     One was involved with fiscal
 2   going to include a description that's fairly     2      matters, one was involved with IT matters.
 3   detailed of what I did.                          3          Q.     Do you recall what the IT matter
 4        Q.    Okay. What I'm trying to figure       4      guy or lady was about? I mean whether --
 5   out is the best way for me to figure out who     5                Let me just back up. Was any of
 6   all you talked to would be to look at the bill? 6       that conversation related to some type of
 7        A.    I think that's an accurate            7      unlawful intrusion into the IT system?
 8   statement.                                       8          A.     Oh, no. Not -- The matter that
 9             MR. VREELAND: We'll produce            9      you asked me about earlier?
10   that.                                           10          Q.     Yes. Yes.
11             MR. MENDELSOHN: Okay.                 11          A.     No. No. No. I am confident
12        Q.    Do you know approximately how 12             that my investigation did not include anything
13   many people you interviewed? Are we talking 13          about a breach of security. The persons I
14   about five or ten?                              14      interviewed all focused on the issues that I
15        A.    You want just my best judgment       15      defined in my scope of investigation.
16   today?                                          16          Q.     Again, I'm just trying to
17        Q.    Yeah.                                17      separate what you did and didn't do, not
18        A.    You know, that should be in my       18      suggesting that you should have or shouldn't
19   report. I'd give a guess at six or so, but I    19      have.
20   am fairly certain in the course of              20                But we had talked earlier about
21   investigation, I would have referenced --       21      Ms. Mason and I guess it was Ms. Graham who
22             Let's see. I'm looking at page        22      said that their claims about being harassed had
23   six, course of investigation. Fact finding      23      been solved. Did you look into any of the
                                                                                           19 (Pages 70 - 73)
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 1   disciplinary action that Mr. Davis had taken          1   about him disciplining those two women?
 2   against either of those two women?                    2       A.     Well, I certainly didn't have the
 3       A.     When you say look into, I recall           3   opportunity to interview Mr. Davis, so I could
 4   that it was disciplinary action that triggered        4   not judge his credibility on that issue.
 5   both complaints. So, yes, I do recall asking          5       Q.     Right.
 6   both the affected employees, and I recall that        6       A.     I did interview the subjects of
 7   everybody else I interviewed either volunteered       7   the discipline, I did interview persons who
 8   information or I questioned them about it.            8   were in the workplace at the occurrence of the
 9             Even the two central staff                  9   discipline. My investigation wasn't so much
10   employees referenced there, whose identity           10   was discipline justified or not, it was the
11   wasn't made known to me, but I did interview,        11   more general question of whether a hostile
12   both had observations about their complaints.        12   workplace had been created by Mr. Davis as it
13             So I do recall that everybody I            13   related to the claims of those women.
14   interviewed had something to say about both the      14       Q.     Okay. And I'll, again, check
15   discipline, the reaction, and the overall            15   your billable records. But I'm just asking you
16   complaint of hostile workplace, both as to what      16   if you remember. Did you ever talk to
17   Ms. Mason and Ms. Graham characterized and to        17   Charlotte Rand, do you recall talking to her?
18   how they themselves characterized the                18       A.     She had left the workplace. I
19   workplace.                                           19   desired to speak with her, because my
20       Q.     Okay. Mr. Davis, of course, had           20   recollection was that she and another person
21   the authority to discipline employees?               21   whose name escapes me, were supervisors
22       A.     Is that a question?                       22   purportedly involved with creating the hostile
23       Q.     Yes.                                      23   workplace or contributing to the hostile
                                                Page 75                                                   Page 77
 1       A.      I assume that he did.                     1   workplace.
 2       Q.      Okay.                                     2       Q.     And, again, just from your
 3       A.      I don't recall seeing anything in         3   recollection, and I'll verify it with your
 4   the handbook that took away the authority of          4   billable records, do you remember if you ever
 5   the executive director to discipline employees.       5   interviewed Christine Davis, if that was a name
 6       Q.      And the mere discipline of an             6   of --
 7   employee does not necessarily create a hostile        7       A.     No. Actually, page seven
 8   working environment, does it? No employee             8   confirmed fairly easily the persons
 9   likes to --                                           9   interviewed. It said I interviewed five
10       A.      Merely disciplining an employee          10   people.
11   does not, in and of itself, create a hostile         11       Q.     Okay.
12   workplace. True.                                     12       A.     And in addition to the persons
13       Q.      Did you make any determination           13   named, it said I interviewed two other folk.
14   about whether Mr. Davis's disciplining of these      14   And today I have recalled that those two other
15   two women was inappropriate?                         15   persons were at the central office, one in
16       A.      I made no determination that is          16   fiscal, the other in IT.
17   reported.                                            17             Now, as to Christine Davis, the
18       Q.      Okay.                                    18   name doesn't ring a bell, but I'm fairly
19             And just to be clear, and I'm not          19   confident that I would not have reported,
20   trying to be cute, but you're not in a               20   having interviewed personally five people, and
21   position, like you were when you were a judge,       21   interviewed more, without disclosing the
22   to decide who is telling the truth and who is        22   identity of those others.
23   and not telling the truth on any accusation          23             Did Ms. Davis hold a position in
                                                                                             20 (Pages 74 - 77)
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 1   either fiscal or IT?                                 1   in fact, as one of his -- Mr. Davis's memoranda
 2       Q.      What's -- I'm sorry?                     2   referenced there had been an amended handbook,
 3       A.      Ms. Christine Davis, was she             3   so that's the context.
 4   employed in either fiscal or IT?                     4             I do recall that among the
 5       Q.      No, I don't think so.                    5   writings I received, attributed to Mr. Davis,
 6       A.      Then the likelihood is that she          6   was a memorandum, and apparently was dated
 7   wouldn't fit either of the other two witnesses       7   August 17, wherein, he did make the statement
 8   I refer to at page seven.                            8   that there was a 2016 handbook reflecting
 9       Q.      Do you recall anything being             9   amendments.
10   brought up during your investigation about          10             Now, I don't remember much more
11   Eileen Harris?                                      11   about the memorandum. It may have been one
12       A.      I don't have an independent             12   directed to the board or -- I just don't
13   recollection. The name certainly is ringing a       13   remember anything else about it.
14   bell, but I don't have an independent               14       Q.      I guess I'm just trying to figure
15   recollection. Perhaps if you'd tell me the          15   out something. Well, let me tell you what I'm
16   position she held, that might ring a bell.          16   thinking, that may be the easier way to ask the
17       Q.      She was an operations director          17   question. It's my understanding that there was
18   before this.                                        18   no 2016 handbook, and that that was blatantly a
19       A.      I do recall her name. As to the         19   typographical error in the memo. And I say
20   context for any reports to me or complaints or      20   that to ask you, you never saw any physical
21   allegations, I just have no memory.                 21   evidence that there was a 2016 handbook or any
22       Q.      I brought this up earlier, and          22   other handbook, other than the --
23   neither one of us were -- have a good               23       A.      No, I did not. In fact, that is
                                               Page 79                                                 Page 81
 1   recollection of it. And just since I mentioned       1   the conclusion I reach at page ten; and it was
 2   it, I thought I'd follow up with it.                 2   a conclusion necessitated by prior writings
 3             If you look at page ten,                   3   that seemed to suggest that there was, in fact,
 4   remember, earlier I'd asked you about a 2016         4   a policy handbook or employee handbook that
 5   handbook, I think, and we didn't remember it.        5   post dated the 2006; and that the assertion by
 6   This is where I picked up on that, was on page       6   Mr. Davis had been that certain provisions in
 7   ten.                                                 7   the 2006 handbook had, in fact, been amended by
 8        A.    Okay. I'm sorry. I don't recall           8   one in 2016. So, yes, I focused on at least
 9   your question earlier.                               9   trying to determine if there had been
10        Q.    Well, I'm not sure I had one.            10   subsequent amendments.
11        A.    This does refresh my memory about        11            And I made the conclusion at ten,
12   a reference to a 2016 handbook.                     12   at page ten, that I found no witness to verify
13        Q.    Yeah. And you mentioned there            13   or confirm its existence, and I otherwise found
14   that no one had ever heard of this reputed          14   no evidence that there had been a 2016
15   edition, that was in the last sentence?             15   handbook.
16        A.    Correct.                                 16       Q.     Okay. And that's why I was
17        Q.    Yeah. And the only thing you saw         17   making sure, because I don't know if there's a
18   was from a memo that he had written, in which       18   2016 one either.
19   he referred to the 2016 handbook.                   19                (Off-the-Record discussion
20        A.    I may have seen something else           20                 was held.)
21   referring to it. But the question here was          21       Q.     Were you aware -- Let me ask you
22   whether I was correctly relying on the 2006         22   this: Do you know who Dave Mowery is?
23   handbook, Plaintiff's Exhibit 21, or whether,       23       A.     Dave Mowery?
                                                                                           21 (Pages 78 - 81)
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                                               Page 82                                                  Page 84
 1       Q.     Big old guy, six-seven or so,             1   or any directives that he was required to do
 2   he's a political consultant.                         2   these?
 3       A.     Do not.                                   3       A.     I do not know his motivation.
 4       Q.     So I'm assuming that you didn't           4       Q.     But as far as -- You didn't find
 5   know that Legal Services hired him around the        5   any like policy or requirement that directed
 6   same time that you were hired?                       6   the executive director to do this?
 7       A.     Did not.                                  7       A.     I did not look for any. I just
 8       Q.     And nobody mentioned to you that          8   noted that he had instituted a policy of making
 9   Legal Services had provided your report to Mr.       9   monthly reports. I requested monthly reports
10   Mowery?                                             10   upon noting that to be his policy, and I read
11             MR. VREELAND: Object to the               11   them as part of my investigation.
12   form.                                               12       Q.     And those -- Would you agree with
13       A.     Did not. I've had no                     13   me, those were pretty thorough reports?
14   communications with Legal Services or anyone        14       A.     I don't know that I can agree or
15   else about how my report was circulated,            15   disagree. I recall reading the reports for
16   distributed, provided.                              16   analytical scrutiny of some issues. Today, I
17       Q.     You viewed it -- your report as          17   don't recall the specific issues that concerned
18   confidential, attorney-client report, didn't        18   me. I believe, to the extent I made any
19   you?                                                19   conclusions about them, they would be in my
20       A.     Absolutely. It is stated in the          20   report.
21   terms of my ultimate engagement. In fact,           21            I recall today that they
22   there is a -- There is advice to me to be           22   certainly were more than a page. So if you
23   mindful of my electronic communications; and        23   mean by thorough, did they seem to address a
                                               Page 83                                                  Page 85
 1   all of my reports, both of my reports, clearly       1   number of relevant issues? I think that they
 2   characterize it as a confidential report. As         2   did. But I don't have an independent memory
 3   to what the board does with it, I did not            3   today.
 4   engage in speculation about that.                    4        Q.     Did you -- and you may not
 5        Q.    Right. But the client can                 5   remember this either. But did you recall
 6   disclose it or not?                                  6   anybody providing you with any information
 7        A.    Sure. Sure. I definitely did              7   where Ms. Battle or members of the board ever
 8   not make any disclosures.                            8   reprimanded Mr. Davis for work that he was
 9            MR. MENDELSOHN: Give me a moment            9   doing?
10   to look over some notes. If y'all want to take      10        A.     I do.
11   a five-minute break or so.                          11        Q.     Okay.
12            MR. VREELAND: Sure.                        12        A.     But I don't recall the specifics.
13                 (Recess taken.)                       13   And I don't know that reprimand would be the
14        Q.    Just a couple more questions. I          14   proper word, or discipline would be the proper
15   believe you told me that you had seen the           15   word. But I do recall reading writings. I
16   monthly reports that Mr. Davis provided to the      16   can't tell you today if they were emails or
17   board?                                              17   letters. But I would characterize them as
18        A.    I did.                                   18   either challenging or raising questions about
19        Q.    Were you aware that he is the one        19   some of the work that he was engaged in.
20   who instituted the practice of doing monthly        20        Q.     Do you know when that came up?
21   reports?                                            21        A.     I have no idea right now.
22        A.    I recall reading that as a fact.         22        Q.     Okay.
23        Q.    And it wasn't because of a manual        23        A.     I have no independent
                                                                                           22 (Pages 82 - 85)
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                                               Page 86                                                  Page 88
 1   recollection. I know that in the course of my        1   there appeared to be or I found there to be a
 2   investigation, I did receive writings and            2   dispute between Mr. Davis, as executive
 3   records, mostly emails, I believe, and that's        3   director, and the board of directors on the
 4   the way I would characterize some of them.           4   scope of his authority for personnel matters.
 5       Q.      Okay. Do you know who they came          5       Q.     Uh-huh.
 6   from?                                                6       A.     That is, whether he had complete
 7       A.      I don't remember today.                  7   authority, absent any supervision or direction
 8                 (Whereupon, Plaintiff's                8   of the board. So that is why the conclusion I
 9                  Exhibit 22 was marked for             9   make is there needs to be some consensus on
10                  identification purposes.)            10   that.
11       Q.      Okay. Let me show you Exhibit           11       Q.     Right. And as you were
12   Number 22 and ask you if you recall seeing          12   discovering the lack of consensus on that, did
13   that. It's a six-month report that he               13   you review the letter or the offer of
14   provided?                                           14   employment that was sent to Mr. Davis, setting
15       A.      This looks familiar. I do               15   out what his authority was?
16   remember a number of monthly reports, and I do      16       A.     I don't recall if I did. It is
17   believe that there was a report caption             17   likely that I did if it were provided to me.
18   six-month personnel update. I can't swear that      18   And I don't know what particular letter you're
19   I received this precisely; but just looking at      19   referring to, so I hesitate only because I'm
20   the caption, it looks like something that I         20   not certain if I saw that particular document.
21   received. It's directed to the personnel            21       Q.     Sure. Let me see if it's in
22   committee, and that's the only thing that gives     22   here. I know what it is, but I'm not sure if
23   me pause. I believe that all of his -- most of      23   it was an exhibit yet.
                                               Page 87                                                  Page 89
 1   the monthly reports I examined were directed to      1             It was a letter from Phil
 2   the entire board. But it's quite possible that       2   Mitchell that laid out what his duties were
 3   I saw this, because I recall requesting any and      3   going to be. You don't recall that one way or
 4   all reports he may have made to a board or a         4   the other?
 5   committee.                                           5        A.     I do not. The name Phil Mitchell
 6        Q.    And on page three of your                 6   does not ring a bell to me. But, again, I
 7   Executive Summary, which is Exhibit 19, under        7   waded through just literally hundreds, if not
 8   that subparagraph A, the third paragraph down.       8   more, records. And whether I received his job
 9   Needed consensus is lacking on the comparative       9   description, I couldn't tell you.
10   authority of the executive director and the BLD     10             Is that what you're referring to,
11   concerning these personnel matters.                 11   Plaintiff's Exhibit 4, job description?
12             Can you explain to me what you            12        Q.     That's something different than
13   meant by that?                                      13   the letter.
14        A.    Well, it references the preceding        14        A.     Okay. Is this the letter
15   paragraph when I am relating the ending of the      15   attached, Plaintiff's Exhibit 5?
16   probationary period for new employees. And it       16        Q.     Yes. And that's my question, do
17   relates to the overall conflict I found as to       17   you recall seeing either Exhibit 4 or Exhibit
18   whether Mr. Davis himself, as executive             18   5?
19   director, had the entire authority, independent     19        A.     I would not recall today, and
20   of the board of directors, concerning personnel     20   looking at it now doesn't refresh my memory.
21   matters.                                            21   I'd just have to guess. I do not recall
22             So the statement needed consensus         22   whether I saw his job description or this --
23   is lacking, is a reference to the fact that         23   What is this, a hiring letter --
                                                                                           23 (Pages 86 - 89)
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                                                       Page 90
 1       Q.    Yes.
 2       A.    -- outlining duties,
 3   responsibilities, compensation. I do not
 4   remember. I may have, I don't know.
 5           MR. MENDELSOHN: I don't have
 6   anything else.
 7           MR. VREELAND: I don't have any
 8   questions.
 9   (The deposition was concluded at 12:09 p.m.,
10    March 4, 2019.)
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                                                       Page 91
 1            REPORTER'S CERTIFICATE
 2   STATE OF ALABAMA,
 3   MONTGOMERY COUNTY,
 4        I, Angela Smith McGalliard, Registered
 5   Professional Reporter, Certified Realtime
 6   Reporter, Certified Court Reporter and
 7   Commissioner for the State of Alabama at Large,
 8   do hereby certify that the above and foregoing
 9   proceeding was taken down by me by stenographic
10   means, and that the transcript was produced by
11   computer aid under my supervision, and that the
12   foregoing represents a true and correct
13   transcript of the proceedings occurring on said
14   date and at said time.
15        I further certify that I am neither of
16   kin nor of counsel to the parties to the
17   action; nor in any manner interested in the
18   result of said case.
19        Signed the 14th day of March, 2019.
20
21        <%18307,Signature%>
          ANGELA SMITH MCGALLIARD, RPR, CRR, CSR
22        AL CSR Lic. No. 98, Expires 9/30/19
          Notary Expiration 9/17/19
23

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                          20:13 21:21 22:17    60:10 61:8 80:5
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                                 Freedom Court Reporting
 877-373-3660                      A Veritext Company                       205-397-2397
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                   Alabama Rules of Civil Procedure

                  Part V. Depositions and Discovery

                                   Rule 30



      (e) Submission to witness; changes; signing. When

      the testimony is fully transcribed the deposition

      shall be submitted to the witness for examination

      and shall be read to or by the witness, unless such

      examination and reading are waived by the witness

      and by the parties. Any changes in form or

      substance which the witness desires to make shall

      be entered upon the deposition by the officer with

      a statement of the reasons given by the witness for

      making them. The deposition shall then be signed by

      the witness, unless the parties by stipulation

      waive the signing or the witness is ill or cannot

      be found or refuses to sign. If the deposition is

      not signed by the witness within thirty (30) days

      of its submission to the witness, the officer shall

      sign it and state on the record the fact of the

      waiver or of the illness or absence of the witness

      or the fact of the refusal to sign together with

      the reason, if any, given therefor; the deposition

      may then be used as fully as though signed unless

      on a motion to suppress under Rule 32(d)(4) the
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      court holds that the reasons given for the refusal

      to sign require rejection of the deposition in

      whole or in part.



      (F) Certification and filing by officer; exhibits;

      copies; notice of filing.

      (1) The officer shall certify on the deposition

      that the witness was duly sworn by the officer and

      that the deposition is a true record of the

      testimony given by the witness. Unless otherwise

      ordered by the court, the officer shall then

      securely seal the deposition in an envelope

      indorsed with the title of the action and marked

      “Deposition of [here insert name of witness]” and

      shall promptly file it with the court in which the

      action is pending or send it by registered or

      certified mail to the clerk thereof for filing.




      DISCLAIMER:      THE FOREGOING CIVIL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

      2016.    PLEASE REFER TO THE APPLICABLE STATE RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                VERITEXT LEGAL SOLUTIONS
      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
 foregoing transcript is a true, correct and complete
 transcript of the colloquies, questions and answers
 as submitted by the court reporter. Veritext Legal
 Solutions further represents that the attached
 exhibits, if any, are true, correct and complete
 documents as submitted by the court reporter and/or
 attorneys in relation to this deposition and that
 the documents were processed in accordance with
 our litigation support and production standards.

 Veritext Legal Solutions is committed to maintaining
 the confidentiality of client and witness information,
 in accordance with the regulations promulgated under
 the Health Insurance Portability and Accountability
 Act (HIPAA), as amended with respect to protected
 health information and the Gramm-Leach-Bliley Act, as
 amended, with respect to Personally Identifiable
 Information (PII). Physical transcripts and exhibits
 are managed under strict facility and personnel access
 controls. Electronic files of documents are stored
 in encrypted form and are transmitted in an encrypted
 fashion to authenticated parties who are permitted to
 access the material. Our data is hosted in a Tier 4
 SSAE 16 certified facility.

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 State regulations with respect to the provision of
 court reporting services, and maintains its neutrality
 and independence regardless of relationship or the
 financial outcome of any litigation. Veritext requires
 adherence to the foregoing professional and ethical
 standards from all of its subcontractors in their
 independent contractor agreements.

 Inquiries about Veritext Legal Solutions'
 confidentiality and security policies and practices
 should be directed to Veritext's Client Services
 Associates indicated on the cover of this document or
 at www.veritext.com.
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                                                                                                          PLAINTIFFS
                                                                                                            EXHIBIT
                                                                                                            (c2

                                                        Delores R. Boyd
                                                       Attorney Mediator
                   3 Notth Alum Chin                                                         Morugouiecy, AL 36105


                                                           August 21, 2017

                   Atty. LaVeeda Bartle, President
                   Board of Directors
                   LEGAL SERVICES ALABAMA
                   2657 Fairlane Dr., Suite 300
                   Montgomery, Alabama 36116

                   RE: ENGAGEMENT Letterfor Workplace investigation

                   Dear LaVeeda,

                   Confirming our phone and email communications, I hereby agree to undertake a workplace
                   investigation for Legal Services Alabama pursuant to the Board's August 18 Resolution for an
                   independent investigation of specified issues and concerns arising from management decisions
                   by Executive Director Artur Davis. Thanks to you and the Board for the opportunity to conduct
                   this investigation for an organization with a mission 1 passionately embraced during my active
                   law practice, as evidenced by my service on the founding Board for the original legal services
                   program headquartered here in Montgomery.

                   Conflict QfInterot
                   This letter also confirms my verbal representation — after reviewing the background information
                   and records you supplied — that I perceive no conflict ofinterest in undertaking this task. I am
                   acquainted with Davis and Sylvia Mason, a complainant but have no personal relationship that
                   poses either an actual or perceived conflict of interest. arn also acquainted with some of the
                   Directors and LSA employees identified on the LSA website but have no relationship with any
                   which would implicate a conflict ofinterest. I became acquainted with several during the course
                   of my active law practice (1976-2000),judicial service through 2007, and professional activities
                   since.

                   Fees and coils
                   Responding to your requested notice of nty feesfor this investigation: 1 arn happy to reiterate
                   my willingness to perform these services at an hourly rate of $350; that is a discounted rate
                   below the 5375 - $475 hourly rate published in the state baris mediator roster es my u.sual range
                   for mediation, investigative, and administrative adjudicative services. You can also expect me to
                   favor LSA as much as 1 can in billing judgments. 1 arn willing to proceed without any retainer,
                   and I will not bill for investigative travel or copying inevitably incurred for my personal
                   evaluation, exhibit preparation, and draft reports. You have advised that this investigation can
                   be conducted entirely in Montgomery. The Board shou]d expect me to submit my written
                   Report along with an itemized statement and invoice for payment within two weeks.

                                  334-590-462,4 - judgeboyd@knologymtt        boyddelorm4pialleorn
                                       US. Magistmate Jude(2001 - 2006) - Litigator(1976 2001)




CONFiDE-rsi-TIAL           Service, Alabama   Ar(ut Davis - Docs t rociucK) by Defendant
                                                                                                                       ID)U62f,
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                Timefor Completion

                I projected a minimum period of 30 days to complete and report this investigation which
                presents a myriad of distinct and substantial issues. You have advised of the Board's urgent
                need for an expedited Report, and I will do my best to meet your deadline. I will inquire then
                conceming the quantity and format desired for the the written report. Should the Board desire, I
                will be happy to make an oral presentation to ensure an accurate understanding of my
                investigative findings and conclusions: hopefully, any such appearance can be scheduled at a
                mutually convenient time; as a courtesy to the Board, 1 will not charge additional time for what
                should require no more than two hours of my time.

                Comrnunications; Retention of Recorda

                1 acknowledge the confidential nature of this investigation and thc completed report. 1 will aim
                to limit electronic comrnunications as much as possible and to otherwise to safeguard all records
                delivered to me. I suggest that 1 be permitted to retain all investigative information and records
                for at least 30 days in case the Board requires supplemental reports or clarification which will
                require my refcrence. I will await your instructions for the Board concerning final storage,
                retrieval, or other disposition ofthese records.


                If I have not addressed any matter which should govern my services, please advise. Otherwise, I
                would appreciate your signature below accepting the terms stated, and I am prepared to
                undertake this investigation promptly. Be assured of my commitment to render my very best
                services for LSA in this matter.


                Sin


                Delores R. oyd

                AC5PT/E:10 for Boar              rectors, LSA:


                    aVeeda Battle, P

                Date:            --e_c —2-0        7



                                  334-590-4624 - judgeboyd@koologyact - boydricloresr@grruil.com
                                      U.S. Magistrate Jude(2001 - 2006) - Litigator(1976 - 2001)




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                                  EXECUTIVE SUMMARY
                                                         FOR


                                     CONFIDENTIAL REPORT

                                     INVESTIGATION OF WORKPLACE
                                      GRIEVANCES AND CA)NCERNS
                                   NE Executive Director's Management




                                                   WORKPLACE

                                        LEGAL SERVICES ALABAMA
                                    CENTRAL OFFICE - Montgomery Alabama




                                                INVESTIGATION
                                      August 28, 2017 - September 8, 2017

                                               REI'ORT COMPLETED
                                                September 1-1-, 2017

                                            REPORT PREPARED FOR
                                   Board of Directors, 1.egal Services Alabama




                                              INVESTIGATOR
                                                  Delores R. Boyd
                                       t'nited States NIa,gistrate Judge 4RET.
                                               Montgomery. Alabama
                                              judgeboyd0 knology.net
                                                  (334)590-4624




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                                            XiftalVF Sl'N.IMARY !OK CON! WON 1 1.41. REPORT
                            investigation of Workplace Grievances and Concerns re fl‘ecutive Director's Management
                                             prepared for Board of Direelors - Legal Services Alabama
                          INVESTRiA FOR: Delores R. 13os.1(LIS Magistrate Judge, RE1                September 1 4, 20 1 7


               I         ISSUES INVESTIGATED'

                                 (I)      Hiring and Cororknsation Ded2i6iong
                                 (2)      Hostile Workplacc Complaints
                         .1 hese two, issues directly address the concerns munliercti (1), (2), and (4) in ihr
               authonzing rusolutitm lot this independent investigation. The imperanves for complenng thin
               invesugatum wttlUn three weelis did not allow tnr any meaningful analysis of hudgetam effects from tile
               piesti4 ined hiring and compen4.ation dectsit ins.


                                  (3)     Revisions in Personnel Policies
                         initial interviews readily revealed this significant issue of seri+ ius and continuing concern for
               employees: /be i'.veadirt Ditraorli sio.ihmoal trilmon t.ypaionntl                                 wilLora hodni appmpal, in a niannet
               which tacilitated hire and pay decisions and also contributed to workplace tensions and diminishing
               morale. the concern proved                         founded and warranted analytical findings and conchisions for the
               Board's notice mid evaluation.


                                  (4)          Conk-1<mA Framework

                        The investigatitni Licari% established thp drivhig tore(' for the lixectitne Director's quesninted
               acts: hi, lived ofir110I1 oN IL( JOIN' qj           exaitfily mamwmelti atrukillir abseil/ 3urrimitol 17),           niAt In,       godi4
                   1,Vadorx l hs tundamemal cotiffiet wit h Ow ill                        I   Al tltls IssuC — Cotiplvd %kith   continuing contusion
               and anxiety created within I.S.N from Davis's widel% circulated viewpohn -                                          the Investigator's
              outline of thc controlling tact, in sectioll 1 1,




                               conmirocing          IlivCI'llratit 2,n ini August 26, the Invesugaior adv 1,411 ilk. 1)i3,-11 4.1 l'oesidtrii

              Rank thal ihe mandate ft w 1.4           In %VIE hill               ,cut'old Make it unpcissiblc tr, ct induct Ctlinpiric
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              and careful inve:;ugation of another subsiatinal is,in specified 111 the lioarcfn authon7ing resolution:
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                      approved 1”, tht Ho.trd,                         env                            do.       M.P. h.i% c had ari

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                                                  EXECU'l !Vt. SUMMARY FOR CONl IDLNIIAl.
                                 Itf~etitigntion of Workplace Grievances and Concerns re Fsecutive Director's Management
                                                    prepared for Board of Directors - Legal Seri ices Alabama
                               N              TOR: Delores R firn(jtli,ti. Maeistraie Judge, Itt-           September 14. 2017


               11.        ANALYTICAL CONCLUSIONS

                          A.         Summan'Conclusion

                          1,.1'S published '1 :ore Value Statements—                  integrity, professionalism, teamwork, and
               compassion — are all implicated ln issues and concerns arising during Davis's tenure, l he investigation

               disclosed continuing eficci:, from Das is's policy revisions and his hire and pat decisions.

                           (....onfusion, resentment, and anxiety abound within the LSA workforce cimcorning the

               continuing application of substantial changes effecied m job standards and pohcies which pruirlisM

               (a)faii and equal opportunities li,r hiring and promotional advancement: and 0)) salary settings .intl
               adjustments premised on (air, uniform, and consistently applied poheies. Davis's act in ending the
               probartimary prn(d tor new einplo)(Ts threaiens the integrity of previous standards designed to cuisine
               competent and coinpassit mate employees to serve I                     clients and to maintain its administraiive
               bluetit nis.
                          Needed consensus is lacking on the comparative authonry of the I..xecurtve Director and the
                        concenung these personnel matters. l'he                      iandbook is no longer an instructive guide
               becansr ail die              changvs ).:1     Waal' sel'IV   mit posted for uniform nonce, tiOnIc \VCrc not posted
               at all, and some policies have ilcert either arbitrarily holt( wed or enforced in an arbitrary, capricious, or
               lax manner.
                         Managing .Autonlevs hat e received instructions in              Davis which empower them with at i
               arid   discretionart authority in dealings ccttit            pre•-s and employee recnutment ,.,upporr
                                                                                                             :'      personnel

               generally have kit dunuushed anti disresperwd,an(1 morale has diminished. 1 atlplr rt ers Who 111:4% t'

               aggrieved directly or indirectit ht 1)avis's conduct remain apprehensive about I,SA's intent to address
               and remedy then er int-erns.



                         13.          Substantial Revisions in Pcrsonnei Policies
                                     1.      Davis substannulk revisetl uqabhshud 1 landhotils policies concerning Public
                                             Relations Guidelines, employee hirings, and employee evaluations.
                                             These changes Ns err ithldu ith,             appri p‘        Ut prior notice 'Ell,




CriisiFiLYENTiAL - Legai Services Aiabarna - Arita uavis - Docs Produced oy Defendant                                               D00149
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                                            f XLCU1 IVI- SUMMARY FOR CONU1DLN HAL. RLPOR
                             Investigation of Workplace Grievances and Concerns re 1.secutive Director's Management
                                              prepared for Board of Directors • 1 .egal Services Alabama
                         1 NVI-S1 R in I OR: l)elores R Bo> cl ((LS. Magisirate Judge. RE r.)          September 14, 201 7

                                          the Boatel of Directors. in his monthh reports io the Bf ). Dto.is did not
                                                   these substantial policy revisions.


                                 (2)     ReN ised policies tin Public Relations Guidelines were estalihshed 1.)1
                                         inctnunisidtml and  not posred on the 1 .S.1 Portal. Two policy chit OWN were
                                         posted on the 1 .S.1 Portal Ina nor communicated to all 1.5.1 staff in a timely
                                         manner:
                                                 •recisions in hiring processes fincluthng, inlet (did, ending the
                                                 requiremeni       "jf oppirt-untry” pc istings" and anthoriAng t hc
                                                 Execudy c Director's unprecedented participation in hiring pn.icesses;

                                                  'revisions lrl evaluation processes by ending tlic
                                                  probatitmar) period for all employees.

                                 (3)     Sonic of these policy revisions, effect changes which appear inconsistent viith
                                         values, standards, and goals published in the 1 landbook as protections secured
                                         for(mph ccs and clients.


                       C,        Hiring anti Compensation Decisions
                                 1. Summary
                        Because the li()l)is well aware of 1 .S.X's fiscal slams prior lo Davis's appointment 1n Deceinhei
               2t116, as a contextual backdrop for his cpwstiiiiiable hiring and compensation decisions, this sumnian
               statement shotild suffice: the Ft:slims year had been marked hy staff layoffs and office closings, and
               thc 2017 budget (approved ni December 21)16) reflected appropriate modifications to restore Ow
               agcnev's fiscal hcalth.
                        Notwidistanchng htr noucc ofl.S.Vs fiscal concerns, tile investigative record amply estabhshes
               that 1)avis proceeded quickly ro make several hiring and pas decisions -- without Board input c ir notice
                 which buttress reasonable and serums concerns :du wi (a) unnecessary,incompetent, preferential, or
               in hens Ise inappri ipfiare hireep,- (b) Jahn71.. and i,uri ad/n.ihmrob approved in disregard of exit...tiny re,
               scales, budgetan        allocanons         )1)established nnperatives; (c.), faiarie.i and .1,1,1ari
                                                 - ,.
               appros ed arbitrarily, for impermissi nie nu qivations,    rein    dricrminativi.• regard for rhe agent.%'s

                    intCrt-AS.




                                                                       4




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                              FAUCUTIVE SUMMARY FOR CONFIDEN11A1. RE.POR 1
               Investigation of Workplue Grievances and Concerns re Esecuti%c Director's Management
                                prepared for Hoard of Directors -1.egal Services Alabama
                  S f iA 10R - Delores R. Boyd (U.S. Magistrate Judge. R1-1 .)         September 14. 2017



                      2 IN ESTIGATOR'S NOTE
          Privacy and confidemial concerns — and preserving thc Board's discretionart.
          authority to decide how to disseminate, evaluate, and respond to this Report —
          support the Investigator's decision to exclude from this Exrcutire Summarvanv
          portions uf her comprehensive analysis (Rep.0, pp. 58) which identify thi decisions
          by Dm is and the affected employees.


          D.          Hostile Workplace Complaints
          -111c Investigation included complaints from 1            A's two longest-serving employees. After Das is
resigned, as aid two uthcr prnicipals who reportedlt contributed tu create these grievances, the
Investigator separately probed each emplt wee to ascertain                  the impact of these occurrences on the
workplace; Al            thi: star US a   the questioned diselplinar sanctions imposed against- them; and ibirei,
the natiirt of ally remedial action carli            desired front the II( /I). '.ach confirmed — voluntarily, and
absent am input Intim the I livesugator — that these resignations, especially Davis's, had completely
restored a positive and productive workplace: dint 1 ,S,\ had :dread% atiud to their satisfacnon to rescind
the disciplinary action Davls took, reportedly m order tit force each tit resign ol rellre: and that neither
requested any further remedy of a monetarv, equitable, or am uther character.


         F.           RECOMMENDATIONS
                      1. Personnel Matters
                                   empiorro itir;thfieri In "hwiiir. Imorkpiaa. ,owljamb
          lht BOD should confirm with each employee thi. Investigator's representattons that their
"hostile workplace'. cimiplaints have [wen rem ed         lox satisfaction lir )ar rec.ip lotion and that
the fl( )1) rime constder their complaints "closed and resolved' withom arn consideration uladdmonal
remedies of any kind


                        Lo the ins estigators Note at SeC. C-2. till: hr%cstigator exciiiiie• the text tri   all

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                                           t.M.t IVL SUMMARY FOR CONFIDENTIAL RI,POR
                            Investigation of Workplace Grievance% and Concerns re Excl.:wive Director's Management
                                             pit:pared rot Board of Directors - Legal Sem ices Alabama
                         I NV1. STR;AMR. Delores R. Bo)d(t1.5. Maeistrate Judge. RI.1.)              September 14. i 7

                                        '4 le'utted
                                              n     :lc*. 2, 1 Imadmiewil) missed in eillith'ice- "4" lid' Ihe Rrit•odi

                                    (5) The 13( t- l) should evaluate the proprict.)of action in respemsc to significant
               changes which have been posted (for all employees) in the I landbouk policies governing hiring
               processes and the probationarv period for eralitation.


                                       (6) The BOD should evaluate thy proprietr of action in response to the
               significant change made in I SA's Public Relations Guidelines by Davis's "I.S.1 press policy", a
               revistom tied posted but circulated to managing attorneys.

                                      (7).1 11r BOD should evahiatc the revised and posted "Funeral Leave"revision
               referenced in this Report to determine it it mandates concurrence or revision.

                                (8) The it( tI) shoukl act expeditious!) to plan for a comprehensive review uf
               the 20%Employee Handbook for its revision to incorporate appre ipria le modifications.


                                2.       FISCAL POLICIES, PRACTICES,& CONCERNS

                                         (l)'l he l Iandbook's policy for "hiring notice and personnel action notice"
               &nos ((;h. 2, § lit) requires "approval" signatures by dic 1 )irector ( yerations, l Inman Resources,
               Finance, and the 1..xecutive Director. The policy was revised — ht email and practice in mid I:ebtuary
               and the investigation disclosed significant practice deviations thereafter, v.:a-ranting the BOD's
               consicleratieln (dilly underlying rationale for this policy and whether am action is warranted in response_
               to its change.'

                                      (2) I lie I nvestrga tor received credible triton-min in and doeinnen ta !II that the
                landbook's "Outside Employmene' policy (Ch. 3, § (>) has,: been maierialls breached in two
               instances and the polio. may warrant operational clariry.4


                                         (3)The llls estigatt or received credible information and documentation that the
               t       a ils's "trivrtirnepcdiciffl((;hap. 4, 3)and"leave-time"certifications ma\ ;lave been revised,




                        ipon request. the his est igutoi u ill prepare j ithin     days) an outline of the de)cumeniat ion
               produced fur this polic:/14 change.

                       In lieu of detailing here the reported breaches. the l cstigator will. upon request, prepare
              (within next 30      s)ii suinmar) of reported findings along s‘ith the e\hihits produced.

                                                                      6




CriNFIDENTiAL - Legai Services Aiabarria - Ariur Davis - uocs Produced by Defendant                                           D00152
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                                             EX ECU IVE SUMMARY FOE< CONFIDEN                        REPOR1
                            hivl:Nliiniiion of Workplace Grievances and Concerns rc Executive Director's Management
                                               prepared lor Board ul Directors - 1 egal Services Alahama
                         ii\1'[,S 1 !GA IOR Delores R Bovd ti. S.'      /14,1agisirdte Judete. RE1 A     Sepiember 14. 20;7

                b\ email guidance from 1)avis.'



                                 3. POLICY MATTERS

                                    ( inv estigauve reports and documentation %%arrant OW 11(           , review of its
                                                                                                  ), :WY!

               contract attorney policyt0         any breaches and    iierd fur cla n flea tii m.



                                       (2) invone
                                                esn        reports ad n docuentatio
                                                                                m       n V, Arra m the BOi Ys polio
               guidance un grants management, specifically clarifying questions raised by significant changes
               implemented without Boaal notice of approval, including but not !united tir, the nature and scope ot
               "priority" grants and tile use of grant funds for expenditure's beyond tlic pimp()se or scope of thr grant



                                        71) III% esliga l n e rept orts and docuinelna nun mat vs Arran t that the lit )1)
               irs frecIlli)' approved pay plan, to confirm the integrity ofDaris's representations concerning
               the borms-pay/incentive




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                       CONFIDENTIAL ItEPORT

                    INVESTIGATION 01= WORKPLACE
                     GRIEVANCES AND CONCERNS
                  RE Executive 1Arectors Management




                                     WORKPLACE
                            LEGAL SERN'ICES ALABAMA
                       CENTRAL OFFICE - Montgomery Alabama




                                   INVESTIGATION
                                         September 8, 201 7
                         August 28. 2017 •

                               REPORT COMPLETED
                                 Septetlthier 1 2017


                             REPORT PREPARED FOR
                      Board of Directors, Legal Services Alabama




                                  INVESTIGATOR
                                      Delores R. Boyd
                                  States +iiigistrate Judge RET.)
                                   Ntontgomery. Alahanta
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                         (      Dccernbei 5, 20i 6, Legal Seruccs Alabama                          hired Amur Davis C'Darii")

                   f.Accutn e Director. Created in 2004 as a non profit statewide agency, I.SA reptesents the nwrger

               of Alabama's prc exist-mg Legal Sell-Ices programs m "North Central Alabama, Metro Bietninp,,hatn,

               ancl the Legal Services(:orporation of Alabama

                          Nlidway into the eighth month of his tenure, l)avis became the focal potnt of thereasitig,ly

                               flicts with (lentral Office empkyees, triggering grievances communicated to the Board of

               I )irectors ("c5( rjthrough its Presideni, ,a Vccda Battle r                   '). Notice oi these grievances, agamst

               The backdrop of previonsb conummicated reports of allegedl‘ unauthorized management decislons,

               prompted emergenes deliberations IA thc Board's Execudec .oxranei tuc,

                        ( atl August          2017, the Executive Committee — i11 Resolution duly approved hy the liOD -

               placed Davis on "administrative leave, with pay'', pending an                    estigation (4 specified complaints.

               Davis ammunced his resignation III a letter ernatled on August 22 . and three days later he penned a

               commentan                            _•fiahama kJ/ 3-er7ieo pn,o,roi", m the online newspaper (A1..cinn) based in




                         nits Board authorized investigation C                      on   ugusi 2'6 and thc investigator submits bus

                       )R1 .as outlined in the •Jable Flf (,ontews.




                                Includes the kesolnlion aionp            the icuer-nouce to      is. his resignation. and COMIncillar).
              io the   pres-




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                                or approval by BOD

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                                his prcfcrrcd methodology rathcr than
                                Handbook policies with which hc disagreed.

                      e.        Authority for Executive Director's unprecedented                            11
                                participation in hiring processes.

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              1.   INVESTIGATIVE FRAMEWORK

              A.        Issues Investigated

                        The Board's autholizing resolunon (Lv,                      ulelmfiri these six categories of "serious Issues and

              alleptions- to be investigated "caiefullIvi- and "fully" bv an independent Investigator:


                     (I)"concerns that there may lie siginficant spending decisions made by Ow
                     Fiseuotive Director that arc outside of the budget approved bv the Bunt] tor
                     additional staff positions not included in the budget, and other items not traditionally
                     included in the budget";

                     (2)"iwhetherj _the Executive I)it-cc-tor may have crcated new employment
                     positions, that ate not included ii) the budget and that have not heen noticcd or
                     advertised, and ,w.iet.ier,,
                                      I     I     thc new emplovinent positions and/or the salaries for such
                     positions may have a budgetar) impact that exceeds the I.S.\ budget as approved by
                     the Board";

                     (3)"Iwhetheri "new ItlitlatiVeti which have ht'eti communicated to the Board ofiliv
                     aft-er implementatiiii, without prior Boani input Or approval" ..."may he outside of
                     the priorities previoush established and approved      the Board, and [vhether] the
                     environment created by these decisions may have had an impact on thc core case
                     work of ISA as thc number of cases being reported within the Board established
                     priorities may have dhninished";

                    (4)"complamts l[rom LSA staff] of harassment and the creation of a hostile work
                    envintnment by the Executive Directtir;"

                    (F)) confidential communications from I .SA staff members which indicate that "a
                     hi)stik wofk environment may }lave hcen created ln the Executive Director's
                    management style of terrorizing experienced staff when informed about J.'S:\
                    protocols and pritcedurc,; demeaning support staff; munudaung and thieatening
                    'AA IT with retaliation unless the,. agter to keep the Board uninformed about matter,.
                    itiy.)1ving I.S.:1; and

                    (6) "repoits that du            Duet tor has staled that la would '(;estroy I .S.\ a he
                    15 challenged l,l the Board on tion tit hi,(lei-1qt ins."

                    f      Bouni Pre,itient         iscci Chu                         (3,1 ):111•27, resigilatic)11               (.i du' urgent need


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                       li csugatol. Odor( R Boyd 0   MapNII,Nit judyt-, R1-..1)Dat, !sepionbcr 1-1, 201.-


   lr a completed report within three weeks. f lis resignanon triggered urgent prriaities foi the Acung



 Director which delayed her scheduled interview. The Int esugaior then advised the Board President



 crt   hCr inability to ciniduei a ['WI-Chill anti ciimprehensive investigation into abr of tllc iderinfied atcas



 within three weeks. The Board President accepted the investigator
                                                                 ' s recommendation to focus



 ci,inprehensivelv only on issues numbered (1), (2) , and (4). Investigative findings for these issues



 are iepoited in Section         IV Hiring and Compensation Decisions, and Section                             V   Hostile
 Workplace Complaints.
            Initial interviews readily revealed            a related issue ot serious concern for employees: the



 hyrintily 1)nTemr..1 sllbftanti prwsion              perxonnel pv1lilPJ, witiwrif Bvani apprimii,in a   manlier winch



 facilitated hire and Imy (let-Bic ns and also contributed to workplace tensions and diminishing



 morale. .1 be eimeern Foxed well-founded, and the investigative findings are detailed in Section 111



   Rcvisions in Personnel Policies ,

           Vct :mother drivnig force          ft ,r       F.Necittill: Director
                                                                              ' s disputed actions decisions           was his

fixed opinion on thc st(rpc of lits. eaelusive management atubt.ritY absent supervision b‘,



t(>, the Board ot l)irectors.          His tkincianicritai conflict 'aid, die BOD on this issue provides a needful



"Contextual Fraineworle which                   warrants the analytical findings detailed in           Section 1 1.




 B.        Course of Investigation

           1•3( 1   finding irir this investigation started on         August       and   conumwd activelt through



-..eptember
:                   with comprehensive in person interviews and analytical serunnt oi 1 .4mM:too&



personnel,                     t1SC:11 11'1      (lilt             entails, and 1. CirrCps       11C1' 161( 11 spanned thc



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                                      prcpaled foi      Bond of Directors • LI X;.), SER VICES ALABANLA
                              Investigatot. I-Mows R Boyd (1.).S. NI:q!istrAte Judi-4c,      .) Date. Seprember 1 4, 201 7


               probative know iedge rrf thy investigated issues and documents. In addition to the witnesses named

               in their complaints tu the 13i )1), two Central Staff employees volunteered interviews. The

               Investigator combed hundreds of!:upplcinental emails anti assorted records produced throughout

               thc period set for anal)tical deliberation and preparation of this report; supplemental inter% iews by

              phone, text, anci email were also required to clarify analviical questkins.                  exhibits cited in this

              report derive from investigative records, and they arc submitted in a tabbed attachmern.

                      "le investigator and Board President dehberated earnestly their ultimate decision nat to

              !AA an interview or other investiga dye input from the lixeciitive Director after his resignation.

                      10 that decision were his conunuing and divisive conminnications within ISA networks as

              well as the strident tone and text of his published conunuincations. Nioreover, Davis cogently

              ()whiled his ptision on ihe disputed issues and his defense of specific alkgations tn several

              memoranda, reports, and myriad ernails produced for tins investigation i lis documented

              "testimony' is cited in analytical context and the attachment inciudes sonic exhibits, ati apprOpiiätc,

              also reflecting his pertinent views.

                      The allotted time fur this investigation also Cild         11(11 c>,lend   to personal nitcrrirws W1111 (Alio

             employees with likely probative information, inciuding two since-resigned principals threoly

                 olved with identified grievances anti concerns. As is the case with Davis, this Report does citt

             periinent "testimony" documented in similar writings by these 'witnesses.

                            UV:dilative   process flit WitileSti Interviews paled in comparison to the rigorous

             rxAminatti    dui/landed fig    I he 11V1114.11dt it's   quantity Of personnel. policy, and liscal "papers"

             produced. lilt'                   !line expended on synthesis and tritical ;mak sis fur this jm)dticutin


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                                     priurrs1 for.   Board of Direcior -                               ALABAMA
                             Int e•tvior. DchFICS R Boyd (11.S Nflosiratv luau, kV.])Dm, September 14, 2017

               was unavoidably necessary Nonetheless, thc Investigator does readily acknowledge herein het

              inability to make definitive Findings on some questions within the allotted tune for completion of

              this li,eport. Time constraints did not allow, for example, this investigator's ‘vmpleir analysis uf the

                         mcern fur decisitms rnAtir "out sidu of the budget approver ur decisions with a

              "budgetaty impact that exceeds the LSA budget.- .A complete analysis of those issues should be

              predicated on extensive Uncrviews with the agency's chief FIIVAIlltai office!, auditors, and the

              directors assigned ua supervise Fiscal matters. The Investigauir also received probative

              documentation for Davis's material deviations from estabhshed 130D policies which appear to

              impact the intcgriry of personnel safeguards or reflect imprudent fiscal practice; tlw Investigator-

              identities these concerns in Sccrion VI for the BOD's evaluation

                      Norwithstanding the hmired investigative time which curbed complete analysis of all illy

              BOD's concerns as well as significant issues proximately arising from the narrowed issues

              investigated, the investigator is confident that thc investigative findings and conclusions submitted

              are adequate to guide the Itioard's own assessnlents concerning ail these matters.



                                             11. CONTEXTUAL FRAMEWORK

                     Indisputably at the core (dill the invcsUgative issues was(and perhaps is) Davis's fimdamental,

             fiseti, anti impenetrable viewpoim that his authority as Executive Ditec Tr A- encompassed the right to

             govern I.SA free from supervision by the board uf Direcnus.                     ils understanding of the nature uf

             dceision-making           exclusiveh    maicr   his "day-to-day immagoncra" rillicrcd significantly from not

             only clearly aro( ulated advice In thc crtniran !tom the itit ii) hut also dead% stated guidance ui


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                              Imrshgator. Dclorc, R                                 \I.v•or.ito.tritlgt. RI I Datt. :›i-pteniber 1-1,2 11 -

               governing dl)cuments

                       This investigation produced considerable evidence that throughout his tenore, Davis

               underscored his viewpoint to his Inanag('munt team, 1 S:1 attorneys, and support staff; he did so

               consistently, trequeffil), arid with apparent persuasion on several fronts. ln                                    a   lengthy mem(nanduin

               emailed to the 1;N:et:lame lot nunttre ¿in .August 1 7 (h\....), he teatfirmed his guiding interpretation Of

               "1.S.A pt;hcies anti procedures for Board engagetnent with management deci,ions." Subsequent

               communications to the press and within the ISA network have perpetuated his viewpoint, with die

               foreseeable result of confusion or skepticism about the Kiard's asserted uttliority.

                        hough not specifically directed tu investigate this fundamental divide, this Investigator fitals

               it needful to preface her analysis of the invesugated issues with i statement of relevant findings.

                7nderstanding die contextual framewoik for this investigauon should scrvc to guide the Board's

              consideration of (a) anv needed modifications in I.SA's 1'..mpioyee ilandbook; and (b) any remucU

              steps n; correct   Crli Mu(           1:4)1111inillWalinnt
                                                                       ,                           FACCI.Inye IhteCIOCS authonn

              A.      Thc Amended and Restated Bylaws of ISA, Inc., adopted June 16, 2015,
                      includc thcsc provisions concerning powers of the BOD and its Exccutivc Director.

                                 he 1)ll!..1111:S!        the 1,urllnratirsla shall be managed by its Board of Diteetors,
                                                 ,and affairs

                                The Board of 1 )irceturs shall have control and general management of the affairs and
                              business of die coepr minim, and shall deternune the policies of the corporation and in
                              general assume responsibility for tllc direction of said policies, including thc
                              promulgant and adoption of such appropriate guidelines and regulations as it mav
                              deem neeessarc and proper to carry OM HS 1.11.1nt!.., and 110( Mc(in!sistent With these
                              Amended anti Restated Bylaws, the Restated Articles (of incorporation, the laws of the
                              SUM' of Alabama and the Aegal f.-,ervices Corporation Ici and regulations issued from
                              time to time thereunder, in each case as the same mai be amt.;ided from time to rime.
                                (Article I. Section l I

                                     Bo;[rti ofDitectors shall emploN all uNlcilin thief:1[01 (d Chu U.111).
                              NCI-A t' at OW              the Board of Directors. 1 fic exec inn e dircetot shall he in.nle

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                             Imcktiploi 1)vIoTe:. IZ Bovd          NIaposau juklyt.RF          Scpsymbui 1-1, 2111 -

                              iesponsible for the general operanon of programs including supenision and direction
                              of the day 10 day affairs 'if the Corporation,includmg the hiring and clismissal of staff
                              isubjeci to grievance procedures AS established bv thc Board]. In the event the Board
                              shall hue othei full-tune emplereees, shall adopt a formal personnel policv establishing
                              the terms and conditions of employtnem.


             B.       The "Employee Handbook" dated 2606 remains in force.

                          hivesugann found no support foi Das is's assertion in hts August 1 7 menu orandum

             that ,:',;/1/4 has a "20i 6 handbook" with "amendments made in recent years'', to material pnwisions trt

             the 204) handbook. No witness interviewed had ever heard of dus reputed ednion, and a requested

             investigation failed to          cr any requisite posung for an) updated version, Davis received the 2006

             Employee I lancibook attendant to ins hiring. Review of selected personnel files confirmed witness

             reports that the .106 i iandbook rs referenced on the "per-simnel file checklist."and rcinains apphcable.

                          2006 1;rnplovee 1 landlui,ik        iandimok')is the source of the citations winch it illow and it

             is also the source irf references m this Report along IA ith the excerpts prepared AN L'A'. 3.



             C.     "The Board of Directors i5 responsible for establishing policies which govcrn the
                    operation of LSA. Thc bylaws establish a hroad framcwork for the Board and LSA."
                                  [Chapter i 701 1 J

             D.     "Matters not covcrcd in this Handbook may bc determined by thc Executive Direcior
                    in a manner consistent with any policy adopted by thc Board of Directors and/or prior
                    practices of LSA.-            taper 1 -S(a. 21



                     )thei I landhook pi()) Imo        delineate rusponsikilues nt the Lxecutn C I'llYcctcrr and the1“ )1)

            tur     procc,,c.s ;Ind pri   ctimu, Mud)r(r,          n tvet Hitt/wilt, hiring, performance, compensation, and

            benefits lot cmplo‘t cs,      hese pi‘ istons will he tclrlltslta ilnarlalytic.flcn]]text:sImtl:ir11 reser,,

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              "in context analysis arc any "prior practices c,t ISA"' Ch1C tO hc Conswiticd                         ilw i.xrctlti. c 1-)itec54

              I4   A1.I1                      Oil "matters not covered in this Handiviok.




                                            III.       REVISIONS IN PERSONNEL POLICIES

              A.           Summary Conclusions

                           1.       Davis substantially revised established 1 landbook policies concerning Public Raitions
                                    Cluidelincs, employee hiring , and employee evaluations. These changes were made
                                    without requisite approval frown, or prior ncrticc to, the Board of Directors. In his
                                    nicinthlt reports to the BOD, Davis did not disclose these substantial policy revisions.

                                    Revised policies on Public Relations Guidelines were established by a memorintkirri
                                    and not posted on thc 1 ,SA Portal_ Revisions in hiring anti evaluation processes were
                                    posted on the       hirtal bni not communicated to all I,SA staff in a timely manner.

                                     gric ot these       rct isit ins effect changes which appear enctinsi5.irra with
                                   standards, and goals published in ihe Tiandbook as protections secured for employees
                                   and clients.

                                   Revisions on the landbook's l uucral l.cayc Policy- were made without prior notice
                                   to, or approval by thc Board. The change grantcd "discretion 1101 all employee's
                                   supervisor or manager to iipprove leave based un death Of family members not
                                   considered to bc inunethate family." This revision was timely posted to thc SA Portal
                                   and is included wall this report (Lx 1(I) io pro ividc notice to the lit iard,



             B.        Public Relations Guidelnes

                           1 he subjeci of Daviss first et-7s:4 in in poticies, "1_3. I Pr;',../,,V2,1.-. covered a matter described

               the 1 landbliolt as "Pilbh.•Re4/oull.,              iim         i          raw'         -    ITICMOtalldUID dated)antral-)

                                    (i Iv. 4), includes lin,material admission.


                                3. Handbook. t'hapicr 3-`;(ton Standards anti itireedures)




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                         pre:pared !or        Board of Dircctor, LEGAL SERViLFS ALABAM
                 Inve,,ripator Dtignrc,R Bo% d tl S MagistrAte                           Scptcrubcr 14, 2111



         "David asked at the Managers ini,Leting ii wc could have sl imc new          tc 1,SA's
         press and media policy. While I  have   not  seen the current  policy in writing, this
         email sen'es as the policy going fornarth"
                       (emphasis added)

         Davis emailed thc policy only To 1.S,1's managing at tonal s anti management staff.' While thi

 Investigator could tlut determine if Davis instmeted them to disseminate the revised policy to other

 employees, The evidence uncoveied ample supports thrcc factual findings conccrning the Dr/tice

 for this revision of policy:



        (1) The revision was not posted to the /..S.•i ,Porlai pursuant lo the                       YoUniliz   pracnce for
        communicating changes to The Pc,srrtlnrl llandhook.'

        (2) Davis had ncr pricrr cnlisultaticni              with    ale   14( )I)   or arn director and gave no
        contemporaneous nonce tr)

        (3)'Ihr monthly reports to the BOD (captioned "Alonllyj Repot ppm Eveallwe Direthe) sent
        tot each month between December 2016 and It& 2017 did not give notice (if the change.




         'Staff Directories identif) these addressees as Anuiging Artornees David Webster, Anti Bromn.
Holly Ray..1 racie Melvin. Willie M.Jones, Stephanie Blackburn. Dehra Iansen. and Laura Clemons; Jaffe
Pickett. Direcior ol Development cK Sfiwiegic Parinerships; and Michael Forton, Direcior qfAdvocacy.

         'f;x. 5. No w itness interviewed recalled an) mai ied notice to aii siaff for this revision, and all
complied with a request to access the "I.SA Portal'.that each identified as the means ofcommunicating such
changes. Thc imess with primar) responsibility in Januar) for posting such changes. the Information
S)steins Coordinator, did not receive thc rckision for posting. The Investigator requested that she and all
witnesses interviewed undertake diligent portal and email searches fcw the      ision, hut none could be found,
     produced a consistent page for all posted changes to the llandbook between Januar) and August. That
page is attached as E.v_ 5,

        ill a SecliOn    Captioned -PuiVie Engogemem               . Davis describes in the Jonnao report his
newspaper inten      s            isits lo Selma and Nlobile arid his    c on :tit inters icsv" to the I ox NelkkOrk
affiliate in While.-

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                                nvestigAtoi Di.lows R Bo!. d (U.S. Magistrate Judge, RFT.) Date. Septcmber 14, 2A )17

                        Critical anasis ofDavis's substantive deviations from Thou/book policy also supports;

               three findings offact:

                       (1) The lamThook poi/9 contempiateci its distribution to, and complifuice by, xil staff, as
                       evider iced hy this int roductoty admonttion: "-lbe folhrwing guidelines represcnt the LSA policy
                       for     stairwhyn denting with the various news media. Any deviation from this procedure
                        will be considered a serious infraction ofthe LSA policies." (Ey. 3 at 3-6;emphasis added)

               Four of the six provisions ni die Dam,po/ier are directed to "Managing Attorneys- while only these two

               ate stipulated for all staff; neither has a parallcl in thc 1 jandbook


                               • Nio USA staff personnel, including Managing Attorneys, are authorized to
                               engage or respond to press on subpects related to pohtical developments, or
                               broad policy questions about LSA or thc lxgal Services Corporation. Any press
                               inquiries in these categories should bc reported to the ExecuUve Director and
                               thc Director of Development and Strategic Partnerships.

                               • All LSA personnel are pernUtted and encourawrl to exercise their rights of
                               speech and association in non work trine, m any forums or social media
                               conducted on non 1.SA accounts. All personnel are reminded that to the extent
                               that any personal, non work titne communications make reference to your status
                               as an 1.SA employee, that temperate, civil discourse that would not reflect on
                               1.SA in a negative way is expected.


                      (2)'flit- Namlbook pok9 declares that Nix! "1:.xecutive )ireett it and the President of the hoard
                      of 1)lreetors arc the only official spokes persons for the organization." lbe Paph pair) does not
                      include this designation and tnakes no provision at all for Mu President or anN other
                      repm.entauve of the BOD.              v. 3
                                                              at 3-(i/ A)


                      (3) The                recluires "advance notice- to thc Executive Director, or his deF.ignee,
                      for "information on all cases uf potential newsworthiness being htigatcd in court . so that
                      news reporters may be alerted and/or a press release prepared for dismbution following the
                      court appearance. As Illustrated by the following provisions. the DariA polio provides wider
                      latitude to Nlanagmg Attorneys, OT their designated staff attorneys, while reserving sonic
                      restrictions for cases in the category of "pint:Tina] newsworthiness. .




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                                hiveNtigators Derl)re!, R Buyi.1 (11.S Mawhiraie judge, RFT.) Date: September 14, 2fl17

                                      1..SA Managing Attorneys arc authonzed to engage local media outlets for
                                 the following purposes: notifying media of outreach or community education
                                 events conducted by yonr office; responding in routine informational requests
                                 about Alabama law in Our coverage areas; answering routine questions about
                                 outcomes of matters handled by LSA; providing in formatiomil interviews about
                                 Alabama ]aw in your coverage areas,

                                • Managing Attorneys are reminded that any Case matters or representations that
                                inv4 rive mailers of potential news controversy or widespread pubhc concern
                                should always by identified ro the Executive Director and Director of
                                Developmeni.




                C.      Hiring and Evaluation Processes

                        This section identifies and analyzes i.)avis's significant changes in the hiring and evaluation rules

                for employees. The Investigatnr readily concluded that these changes served to facilitate or to provide

                after the fact justification for decisions approvcd hy Davis in the context of new kres,salaries, a t id pay

                adjustments. 'lire relationship between these policy revisinlis and subsequent operational decisions is

                ccintextually analyzed in Secuons 1V.


                        1. Hiring Processes

                        Barely two months into his administration, Davis announced 1)y invinorandum In) ITcht way 12,

               ar a:11 prn, "revised hfring nues"which affected ail I ,Siv staff. As shown in the analytical findings

               which foilOW, these revised hiring rules

                               (a)   addIVSSed      pettionncl     slaildards    and policies       whiCh   aTc   spccificak   and

               comprehensively Covered itt the Handbook;

                              (b) wcry Ist,ucti lt,r implement:16cm without prior nonce to, consultauon with, or
               approval by the Board'.


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                                   prepared for: &aid of I )ireetor: LEC.11.SERVICES Al-ABANLA
                            Invesugainr: Ddows R. Boyd (U.S. Magystrale ¡Like, RET)Date Septernbcr 14, a)!

                             (c) were mit cominuniented to ali staff until April posLings on the 1.S A ptirtal,

                             (d) expressly relied solely on his slated disagr •ement with llandbook processes and his
              preferred met hi id()logy;

                              (e) authorized his unprecedented parucipauon in the Inring process with insufficient
              restraints on his discretionary authority;

                           (0 materially undernnned Handbook standards and protections: secured for LSA
              employees and clients; and

                            (g) tnggered at lrast one identified employee complaint premised upon the lack of"job
              postine for a new hirc, a complaint which is credibly supported.


                             a. Handbook policies and standards: hiring processes

                     Chapter 2ot the I la ndbook,captiolied Hiring and Emphyment,includes 14 sub-sections Which

           specify policies and stanciards governing ail employees, including, in/if aba, qualifications fur Atonic.)

           hiring (0); responsibility for recruitment and staii selecnon (VI); job opportunity notices (Ve;);                and
           applicatitni mid hiring process (§,9).

                     The stated subject in the February i 2 email from Davis is "revised hiring rules"; the subject uf

          the atiachmenis is "Alemo tn MAS nu h                 ptvre,ii datx; allofilfy hiring mks.dor.v",- anti the slx-page

          memorandum specifies "Re: 1 titiq Pmess a/                   " There can be no reasonable doubt that revisions

          in the iurnig process and rules di 7 not constitute "matters not covered in tlici 1 landliw A," which would

          empower any Executive Director to aci solely un ins authority ui disreglad of tlic                        )11 r.




                    'EN.6. incorporates the email and attachments 14-pp. memorandum and it‘ o pages from Regulations
          (lithe 1.cgal Services Corotwation, Part 1616-Allorne, Hiring.)

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                                 sr, cAlg.lrol         1 )(         R Boyd             Llymtnilc              .) nate Scptciribut14, :11/1 -


                                  b, Lack ofprrnr notice to, consultation with, or apprOVai by BOD

                               l uvrstiganir &mud                           ,    tie,ilia! Davis consulted with the Tit. )1-)(hi,              Prestdent,

                Persi innel(anmuttee,or an\ other director) poor to preparing or announcing his "1 eviscd hiring rules";

                not is there any evidence ot the Board's prior notice or approval.                                 Monthly reports to the I',01)

                 keendiei and January gave nu                       flOtICt' Of lilt MI 01      make the revisions. in fact, lus 1 )ceenibur 2016

                report rcferenccs his apparent awareness of ancl eotnphance with the l landbook hiring process                                         it

                relates to "pili postings" and "interviews". The january report                               2p17earS to   note his similar awareness

               and compliance as relates to idling an attorney vacane.°

                         After-the- tact mince is non-comphant with the Handbook. After a thorough examination of

               all the monthly reports hetes veil Fehniary and April (when tirt rerimd ni/rA wen, finally poskd

               Pevia0   the investigator found no disci+ isures by Davis of his announced revisions for tite                                    pmcs

                          Mc"New Personnei l pdate" in the l'elmiary report announces two non attorney lutes and

               two attorney hires without an\ reference to the hiring prOCCSS. In a sectlUn

               Retention/Recrunment lssucs, Davis includes a tune inn- report on LSA's "continuing ...trend

               regular turnovcr in the tanks ut uur younger ;it                        /111Cy      )11   thc iemainder of this paragraph he reports

               "another    c hallengr    that is apparent when                   W(   post positions for attorney slots .. struggling to          Al


               lateral candidates who arc ready to untnediattly carre a case'kiad, or wilu have broad experience ltl 'note




                        Concerning \-acaneies in the Operations Director and 1-;name positions. Das is remarked:"[ wjc ha\
               received a significant number of responses to ourjoh postings for these two slots and will bc conducting first-
               round inters icws. .

                      'Under his -Personnel t petite- section. Das is notes: -One of nut law!,ers. Putricie iones. announced
                  tesynation I late Deceinhei,        has led to our posting for a 110... stalf attorne in Moritgonicr.-

                                                                                         lb




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                   complus. auti povetry hugation
                                               'Davis then hints at developing strategies winch iinplicate

                   hiring and coiniiensatir in processes.'




                                  c. Delayed noticc to all staff(in April) of revisions announced in Febniary

                          1 he revrsions announced by Davis only to I.SA Managing Attorneys and three members uf the

               tnanagement ream plainly indicated his it Irvin that they become effective munediately. "' Though the

               changes a ffected all staff, nothing in the published announcement imposed any dury on the addressees

               to rhsserninate the new rules to staff attorneys, suppi in personnel, and all other cropil iv yes. Not did the

              Investigan ir find evidence that he evcr had his hebruary memorandum circulated to ail staff.

                          The ISA Portal did not post thc fori-nal policies prepared by thc Operations I )irrutor pursuant

              tri )avis's memorandum until April 6 ("Aadirecy 'aiaisoc.1 ", z‘,. 7) and April 2I ("Char/yes tu Probahona

              1),1 rhwi   Nell'            g).        inerheless, the interim weel;s between I.ebruary I 2 and tile April         ings

              saw a flurry of hires whose selections reflected Davis's immediate implementation of the changes he




                        `Davis's pertinent remarks: -This program has not historicaliy adjusied pay for new hirEs lo
               experience, and the fact that so many of our openings are tied to restricted grants is not appealing to lawyers
               who want the opportunity to develop a broader practice. As we develop out strategy to retain and recruit
               talent, sse w ill he evaluaiing the option of creating two LSA t rial Attorney slots, paid at the low cnd of the
               management tier. who w ill lead Our itlIcrr1211 trial ath. ocaey efforts and who will he assigned to jury or bench
               trials around the slate '-

                        "' See Fx. 6 tthe Davis memorandwn) Regarding the new rules announced for "hiring of siaff
               attorney     Das is did note that "I I The handbook at 1.SA ill he modified hy Char lone to track thc rule."' lie
               did not, however. announce any deli-o, in implementing thc rules, and in fact. he reported that they were
               already in effect as relates to his active recruitment and titling "in thc context of one hirc that is underwas
               right now.- FOr the rcs ism] rules ending -the 6 month probationan rule", he sct WI ellect e dale - Januar!,
               3. 201 7 sk hich plc-dated Ilrr February announcement,

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              announced in !Throaty."



                            d. The revised hiring policies mandatcd hy Davis reflected solely his intent to
               implement his preferrcd methodology rather than Handbook policies with which hc disagreed.

                       )avis's inemoiandum (Lx.(i) purports to be responsive to requests from Managing Attotheys

              for clarification of t}te LSA process; that the revisions reflect his unauthorized revision of that process

              is clearly stated in his introductory paragraph:

                       "Literally half of you have askcd for some clarification of out process túr hiring
                      attorneys and adminisi rative staff, so ] thought it would be a good idca to advise you
                      of what thc rules are under flew leadership." (eMphaSil added)

                      fhat he \vas aware of, but disregarded the propnetv of, exisUng pohcies for hinng and rerArieing

              attorneys" is evidenced by his summary description of that "fairly rigid formula" and his conchision that

             "not a single one of these features is contained in the actual 11,SC regulation)." which he attached to the

              memorandum. Without regard tor whether the Handbook policies reflected a considered judgment that

              LSA pohcies woukl extend beyond the minimum standards required by 1..SA Regulations,1)avis cavalierly

             announced that Mlle handbook at 1..SA will iw mochficil „.to track the 11 „SC) role."

                     Nowherc in the entn.ery of his Memorandum does i:favis recognize any Mterest tri Input by the

             11( )1) or any of flit. enTlovec stakeholders.



                             e. Authority for Executive Director's unprecedented participation in biting
             processes.

                     Davis's nes% hiring roles foi    atti         advised of his ultnnate hiring authority and promit•ed


                      'These new hires arc identified in the analy sis of Daviss hiring and compensation decisions.

                                                                        1X




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                               Invv,tvior                                  MapAralc Judgt, 10.7[ i i7.irc, Scricsribei 14,

              Inteivention would bc in limited circumstances, as follows.

                        ...in Yen hnutud cacumstances that relate to my knowledge of Ali 5rtA :mil that requile
                      immediate ;ten( in, / will reserve the right to rrear a given selection different*:Ind
                       to conduct thc process myselfin direct consultation with the executive tearn.
                      '11-int is happening in the context of one hire- that is underway right in    211d I have

                      disCUSSed tt with the ielevant Managing Attorney. It will be thc exception to the rule.-
                      (emphasis added)

                      Noncthelcss, he followed that advisory with an unequivocal pledge io exercise perceived

              authority in the sekction process for lawyers and staff:

                     "1 will also be transparent with you that i view recruitment of high quality lawyers and
                     staff as part of my role as ED. Yes, I will talk perrochcally to potential candidates who
                     are interested th     eves if Melt   immediale openiq. Wheii there are openings,if 1 have
                     contacts in an arca, will rcach out to them to identify candidmes. If I have an mformed
                     opinion of 2 candidate or received a recommendation or reservation about a candidate,
                     I will lei vou know. (emphaR:r added)

                     The invesugatoi characterizes this stated level of participation as -unprecedented" because u

             is not accompanied bv any assurances of the mieguards included tn die Handbooli to                              gtiaid


             impermissible exercises of discretion (c.g.,pre ielettion)as well as the standards dicreln embraced WI-Oleo

             salutary goals in the hiring protess (e.g., I:I:0 pati). To be sure, thc }landbook identifies the 1;.:.i.ecunve

             Director as "the hiring and tiring authority fin all ...hiring decisions aside from his own (I                    3, Ch 2 rj.

             It also dehileates (at         2-7, A 1...) responsibilities for (idlers In the selection pri)cess.




                                                IleW   hiring rules materially undermined ilandbook st3ndaid-6 and
             protections.

                    • A,a prc lace          the '1 lump and 1'..inplo) mem- p,lines                   h    c cicta iled ut (. haply] l, tint:

              iondb,m rh srin s             fa; himr Poit:} -as a guidny principle:

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        ull                    demo77,qratc,1 andfulenhal rfulfc and elbIllth aitd of prondinE equal employment
              fl,e liafid of bulb
        Optiorfienthe.i lo ailpersons regalAcsLs of St}; or SUN 1 la ofient2       race,       (rued, national
                             sical handicap, political affiliation, or any other consideration prohibited
        bk law.. Its recruitment and hiring policies reflect 1.S A's Equal Opportunity and Anti
         )iscriminanon Policy.-
         (emphav, whIrd)

         hc referenced                   )policy in Chapter 3, includes this Affirmative Action )4oal

       "I5A is dedicated t(> a comprehensive recniting plan to ensure that qualified caildidalt:
       of divcrsc backgrounds arc informed of job opportunities and become part of the pool
       of candidates considered."


Akin to these guiding principles arc thc -1 .SA(:ore Value Statements" which are stated not only in the

ilandbook hut rc stated on the 1.5A portals; in pertinent part tor this analysis:


       "Our core         vOlUes     arc reflected in thc following core value staternent:,1
                    .A. IntegritV: Wc are honest, ethical and accountable in        our (Alden ors."'


       • TA, i 1anid.W1.4                                       <town joy Arlorne) 1 firing-, niniduced pvm 1.hapirl                  3,



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                     a.(;mid         academic training and high academic perfOnnanee:
                     b. Prior legal experience, preferabl)' legal services fnr low-income and other needy
                                 people;
                    c.. A knowledge and understanding of the lcgal problems and needs of the                                                   client
                                community:
                    d.    f
                          Prior working experience in the ciient communth or other piograms that                                                help
                                low-income and need) people;
                    c.    Fluency in a foreign language commonly used by i.SA clients:
                    f.     Appropiiatc special hiring requirements of a funding ageno :
                    g. Needed cultural understanding:
                    h. Character and professionalism; tnd
                    I.   Other relevant factors



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                                ovestigalor I )einrus R Boyd (11_S. NIag*trair judgr, RFT)Datr. Septymbel I 4, 2017/

                 seiedrd wnelidale.

                     • 11.1(                 requiternents for the content oijoi,posthm cif attorney and staff vacaticiCS are

            outlined ut a chapter captioned 'Yob Opportunity Notice"(1:.x. 3,§ 8.at 2 5); both thc caption and thy

            text clearly promise would bc applicants of an “oppornmily" to apply. In pertinent part, this SoreLlcul

            mandates:

                     Notice Reqtnred: Notice of a position vacancy shall contain a description of thy
                     position and shall state the necessary qualifications,salary,application procedures,closing
                     date ....The announcement will be prepared for all vacant regular positions hy the
                     Operations Staff. However, position notices for temporary attorney and non-a tiornc)
                     positions and ctintract attorneys will not he required.

                     Notice to Staff: Nonce of vacancies will be distributed to the staff frcnn the Human
                     Resource Department; in written form on the ISA portal and website at thc time the
                     notice of vacancy is submitted foi publication,


                    '111c   ,rpised pobeie; posted b1 the Opewlions Dirrdor in April (E.v. Sj altcrcd, as follow, both thy

           requirement fOr flOtICC and thy CfMtellt Of thC nOtke.

             C:• ..oneernmg the"salary and "closing date" descriptions in posted minces..i itc revision allowed the
           posting to indicate "sa/ðro. ur "Rdary to he determined based on rApoienee", and to indicate "'closing dare or
           "until filled";

           • Comerniny the person; authorized to pIrpa& job naives, reylsions altered the requirement iliat "the
           annotincement ...be prepared for all vacant rcgular positions by the Operations Sin fr, proviAing instead
           for preparation by "supervising personnel or executive staff."

           • Regardins the employe position; exempted jruni rl,e "posted notie," replanted, thy revisions expanded the
           category from only "temporary attorney and non attorney positions and contract attorneys'. to include
           a new category': "posilions tis prumm man,Ner of 1-V,•1 recipientgrants"

           • The Irt7Se1! fAV treated dricreliollan anthorik/Or posiiirss pj 'in./minis/nil/re   position;-, providing:

                     While a shall bc tl,c orditiarv pr.:lc:Ike: of 1.SA to post on its welistte adnumstrativc level
                               .supervis(,.ry perso                   includc managing at Itimcv.F and department
                    directors, May fill an acinunrstrati>c lcticl vacancy without advertising or posting the

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                                           preNtrd toi    Roard of Dir“ ion.        FG At. SERVICLS
                                    lnresry:oot Dclo“.. lio)1.1 (l1 S. NJ.keltstl    Judqt.. RET) Mt Scpkinbci 14, 2u1-

                            position upon obtauling approval from            FNet'lltn.              oi Din:cif it of
                            Operations. . .       atnendmenr shall apply to FR isitions that have just vacated or that
                            have been vacant for an extended period.


                           • Davis's revised rules also changed the location and duration requirements for Postilw

                notices, 111(.0)1 signlitcmitiy lirtlaltiliy the l landbook's promises of wide dissemination and maximum

                posting time for vacancies in bi id) at:time) rain attorney htrings.

                           i•or "regular staff opening for attorney positions , the I landbook directed that "pubiicawm

               minanums ...include advertisements Saturdm              .a Sunday over a lour week penod in at least one
               newspaper ot a statewide distribution, local bar associai ion (s) in the countv m which thc \ acanev exists,

               anti to kiw school placement offices."

                           in his February memorandum Davis announced the change to Managing Attorneys in this

               manner:

                                 when we hire ne" attorneys, we win post the position with the local hai and on olir
                           website, hut it will be at oar discretion whether to post for 14 days or 341 days. Beyond
                           that, each managing attorne will bc responsible for reviewing the applications and will
                           havc discretion to devehip a process rhat works for you ."


                           .1 he pubhshed lx,licti — prepared and posted by "rperations Director Rand in Apiil            pro\ ided.:

                          "The minimum requirements for posting an am irney position are that it be listed
                          lrrcal bar association (s) in the el allity in which the vacancy exists and on I..SA's website.
                          The 111111111111M rccltnrctrte ttt I rt 1}(.14tIng an CNC(  department leadership position is
                          that it bc listed On _LS.VS u ebsin.                              mai. be publIcind on LSA's
                          Portal, local antl statc newspapers, NI .                  and other relevant websites at
                          managements disuretion 1 he ciur.rriSHt of A pi l!.,1111011 posting is at management
                          discretion." (1 8)


                                  g. Davis's revisions authorizing thc end of job postings for new hires ath erselv




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                                           1)cloti 1Z. Boyd         7\1•Apmr:ot jiltlyt, RFT.) Dail: Si:plc-cube! t 4, 201


            affected at least one identified employee whose non-promotion complaint was timely presented
            and is credibly supported.

                      Beyond the handful t)i- w ilusses inter\                   this investigation    did nnt afford time to probe the

            by( iader workforcu to evaluate reactions to sip mficant policy revisions posted in April. The likulthootl

            ts   strong that many shared the one word         Mac tli)11   elicited from cach witness          11
                                                                                                                    snocking. It
                                                                                                                     1   1




                      -1.he Investigator recc cd permission fri nil one witness, Sr. Accounting Clerk Christine Davis

           ,an employee sincc 12/16/2013, to report how both the re‘ised "tub posting" policy and the delayed

            nonce to employees adversely unpacted a promotional opportunity for which she qualified."The

           Impetus for her grievance was notice of Mary Aphn's luring ofl May 30, 2017, as Grants Managet, at a

           "new hire" salary of S47,000.'



                     'Included in this consensus is the Information "I echnology Coordinator("Burdettel who had thc
             primar) din) prior 10 these revisions of posting joh notices pursuant to established Handbook polic. and
            the practices ofthe employee who trained her when shc lost her post as part of LSA layoffs it) 2015. As will
             he discussed in the context of"hiring and compensation" decisions, Operations Director re-assigned those
            "job posting" duties to a "new hire", and liurdette was tasked with training her. Reacting to the changed
            "jot) posting- policies, Burdene remarked: !just believed a change that hig had to he approved hy the BOD
            ...it looked like ihe changes meant they could hying in whoever ¡trey wanwd without donig o proper
            interview:      like.favoritisin, and it 'sjust nut healthy, es/Yeeially when it deals with money_ ljust wondered
            how we wentfor layoffs in 20!.5 and closing Offices to making all these changes, creating new positions.and
            paying raises.-

                    ''During our initiai inter\ icw Christine did noi disclose this grievance and instead provided
            information and records lielpful to the Investigator's understanding ot LSA's fiscal operations and thc
            spending decisions in controvers\ . Days afterwards, the Imestigator uncovered among a hatch of
            supplemental records deli% eyed for to. kw the pertinent entails which relate her grievance. prompting a re-
            interview.

                   'fhe recruitment and selection process for Aplin began weeks before her actual hire. and it reflected
           significant components of the lc% isCd 'ilk:, first announced in Davis's Yebruar) memorandum. Aplin -s
           hiring, compensation. and performance arc core issues in the anal% sis of questiomible -hiring and
           compensation" decision        the I-‘eculk e Director and his alleged creation of a hosiilc workplace
           Accord Mgt!, detailed here arc CM Slid) matter,occessari, 10 understand how the re% ised -jot) posting- Riles
                                                                          '1 3




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                                           prcparcd for:      Board of DTTI: ti,t!- LLGA1. SLRVICES Ai..-0.01.1
                                 !HA ...Alt!, tot IN:low:L.12 Boyd (t S Nlapstrary Judgc, RET.) DAR. Septentbt t 21U -

                        ChriNittic's ;wet      Ini; duties   Ciuring the past four years         pruicipalitt ttnuhct1    "Grants

              Accounting' and LSA budgetary functions.' The current Acting VAL-naive Director, whose ptimatt-

              thity ft a over a dozen years has been gcncratuig grants revenue, unconditionally affirmed (Ihrtsitne

              superit    qttailitc-artotH,


                        Prior to Aplin's hiring,(iiristine had applied for a posted"fmance officer" position , but Davis

              advised of bis intent to recruit "outside" for that position and m fact hired l}plc Burkett, whose tenure

              ended al ter a month for pt‘rsonal reasons. In 'ate April, as word began spreading of -interviews- being

              eondtwied for another position within (:hristine7s capabilities,she decided to express her concerns jin an

              email to()permions 1)ircetor(...ha dotte Rand ("Rand")on Nlay 9(injuded in I               9      whereniath rrfewnced

              krnin). Christine anti Rand had discussed 4m several occasions Christine's disappointment in being

              passed over for the "Imance officer post, f :bristiness strong desire for promotional advancement, and

            ',stand's awareness ot, and consistent praist, lig Christine's perform:owe."'

                        Christine's email renunded Rand of their specific liIM'llsiO1P+ in April about the potential for a



              victimized Christine Davis.

                              invesugaior has assigned a First name reit:tenet to t Irisiinc Davis (ic., "Christine") io
              ;A void reader confusion,because she shares a suriumc volt) the Exeeunvu I)  1recit cr ("Davis") who ls thc
              primal-) siibjeci of this investiption.

                         Christ ine's "hiring' job description is included in Lx. 9. 13efore our initial inteRiew she had been
              identified to me h) all other witnesses as a critical!) necessar) part 4)114 leant which maintained operational
              duties in the Central Office following thc depanure oldie former f :xecutive Director and prior to thc hiring
              of a Chief Financial Officer. A sign on thc respect for her capabilities is that anothei witness who also felt
              herself qualified for the position given to Aplin. stressed dim had the job been posted, she would have
              deferred to Christine before_ appl)ing.

                             f his email also questions pay raises bv 'hrist int: to a less-teiluied emplo)cc. a matter rcser‘ed fur
              1111i1 tilti ill context oi compensation decisions

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                            prepAred tot  liwid of Diret tort. 1.17.( ;.11. SFRVICFS A1_113 lt1.t
                     Invcstko     Dukns R. Boyd (ILS N1Amr.or Judgt.,           )1)att: Septembr? 14. 2017

  newly created position it) Grants Adnumstratton and her cm-twine:it with the (fppi trtunit‘ t(J apph . )f

 paineulai relevance to the "joh opportunity notice" eliminated la) l )a's is's revisit ms iti the "job postings"

 policies an. these excerpts fn            (ihristine's

          .4 in Monday, 4/24/2017 you informed/notified Mc that wc were hiring a Chief hi-land:a
           )flicer, 1 asked about the Gram Administer position and made you aware that 1 had been very
          excited to be able to have the opportunity to apply for that position; but you stated that we wcrc
          going to put this on hohi anti irt the Chief Financial Officer make that decision. I made you
          aware that I was capable to periortn those duties with the grants (budgeting and allocations ....


         •lf in the future, if lhar šinc mg plan., lanng a Grant /1dminister; I Iowa Irke the opporlyni) Iti appb.
         I firing outside of thc organization not only declines in house dedicated staffemployees a chance
         for promotion and/or advancement but it will (ni) prolong the late subnUttals on reports; the
         new person would have to be trained. You know as well af 1 do, the grants and reporting takes
         longer than overnight to learn. 1 already know hmt tti prepare these reports, .1 afreal) have basfr
         knonledge the reports 3ou are submittin.g and hame even prided)011 on bow to prrpan thew. 1 already
         understand the rules, procedures,and what the fundet expects, guidelines, hudgets, etc. on each
         individual grant and/or report. I would only need vers. little training on the administering grants,
         such as, regulations and comphances,and the narratives. With that being said,some trainMg will
         hc needed regardless, if it is an in house empkiyee or a new conwt.
                          (empbaus added)

          .hristinc ended the three page nonce of concerns with this explanation for her continued pai;sion

foi I.SA notwithstanding her lack of advancement:

         When y(:u and i)vrle came ab4)ard, 1 was asked "ii you don't normal1) do this, why arc you doing
              I done il for he otgattization, to hclp us stay abovc our threshold, to tr) to keep us from
         losing any more grand funding. 1:undo's are tired of us subnuttmg late reports. I done it because
         no one el3e nor how to do it. !ham Nen ali/e to pride ,llid pnaïde mu with wjormation concerning the vatifs
         and riporb he/p)orr aehiere. Thr.$ JAY                       han1     roarrciandiny the dowse ey.       fia-
         adminiilermg vani.c. Thank t ou for your WM and if I., in would like to discuss, please let /Ile knc
                          (empliasi., added)

         in a conversation with Christine the ilex! dal, Rand apologetic allk tulci                   "they were looking

at !“)incont. dA'c   with -writin.i.; experience- for             tin: runloicd   po,im In ,nri   lu)slcd of   described for

other applicant,. t hristin(• pioiested that ,he could 1)(. trAmed tir write u luir :i             vim   hirt from ouisiek




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                                            prepared for:       Boat(' Diro..tor,, LEGAL SI'AVICFS ALABAMA
                                    ItivemIgisnr: I Vlort5 R Boyd 0.!..S. Nlagistrare judge, RFT.) Dmc Sepienthfr 14, 2017

               1M's grants funding operations would need much more training. Her f( Alow- up email (Fx.9) thanked

               Rand for being "honest ...about the original plan had changed " and tor making her aw are of the

               interciew that day tor the position. The fact that someone - presurnablv, Aphn - was then being

               interviewed for the un posted position pronipted this closing inquiry by Christine:

                          -Which leads me to my next question: How and/or whv are we interviewing for a position
                          that has not even been posed? Our LSA Employee Handbook underjob Opportunity
                          Notices on page 2-5states that allpositions will beposted. I wasjust makingyou aware
                          ofthis." (emphasis added)

                   :hristine's entail attached the 1 landhook provisions referenced, Rand's mitt inse the next day advist.a,

              in rcicvant parr

                         The amendments to the handbook niade a few weeks ago have changed the posting
                         requirements. Posting is now at the discretion ofthe executive director. Please take a
                         look at the portal for clarificadon (emphasis added)


                         .l'he Inc ustigator's fact -finding in this section 15 nu/an evaluation of the merits of            clairn

              for administrative or judicial resolution. Rather, 11 is designed to facilitate the BOlYs evaluation of

              Davis's significant revisions in hiring processes.



                         2.        Evaluation Proccsscs iprohationary period]

                         The Handbook outlines in Chapter 2. at                  9 a probational-) period and preparation of

              probationary evaluations              13-14 As is the casc with Davis's rek isions of hiring rules, it is cicar

             (pursuant        tr., the Findings   made, siipm) that his revisions to end the probationary period (a)

             required, hilt riid nor receive, the _Board's prior notice, inpur, or approval; and (b) were not

             communicated to die entire .SA stali until cn April 21 portal posting of die Operation Director's April




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                                             1)t                            lagistrdri:          RFT.) l)a.re   Sertrini,tt 14. :411 -


              18 memorandum       re'.1 :bnillidliOn   14 1..5 .1   Proharnind9 PC,Pive/         7..N. 8).


                      'Ilse posted change included no rationale lot eliminating thc pnibationary period and described

             the change as follows:

                     ljteItne immedralell. new empiuyee3 arr no low,. Jui!je(l 16 pnibithonar) penod ofan)ieng1h 100Pi
                           PMballonar) I:'thilliations alirr monmi of employmeill        thereiore no low be an IS- 1
                              (Aver 2, „Vedionf 13 and 14 am Meted"ram lbe employee handbook Nounng Mir
                     amenebgenI 10 the employer handbook slull eonslrfted lo aber Mt al         nalmr ot an) cmploymen1
                     conharl al 1


                     lri his l'ebruary memorandum to Managing Attorneys and the management team, Davis

             described thc probationary rule as"a rule which is flul present in LSC reguianons and winch is ihirdIV

             IlcceSSO ry in an at will state'

                     Ending LSA's well-established prohationary period for "all new regular employees"

             materially undermined thc staicd purpose for this employee benchmark:

                     7' 14' proballondly peryodsbail Ue rlll MiVaipari O/ the   cxammation rind ,,rierhon prrsie.,j antblur;!lit
                             uh' .171peniSOr lo obsern- close!)    emplom:$ work. and 10 Itarn and rid              emphÝ)ee m
                     ad,ru.wq to the poJitron 1r, .21.1414 Shr Ari been .3elreard.

                    Enforcing a SIN month probationary rule of "actual service "to ensurc that its (hem population

             bc served by- only competent, trained, and ISA mission driven staff is clearly consistent w th "1.S A's

            Core Value Statements- along with its published expectation of -ethical and appropriate belias jot, as

             Well as high standards of performance by all employees- (Handbook, Ch."; 1)



                      '"Aptil a posted elimination ol the probationary ruic did not include the language tn Davis's
             memorandum ending the probationary rulc for "all anorness and executive level staffdirectors and officers
             who started employment oriel Januar) 3. 20)      hile maintaining it -for administrative les el per:simnel and
             an) anorne) personnel who started prior to Januar s 3. 2017... (Ex. Gj. I his ins estigation did not determine
             enforcement ot this pros ision More the April postings. nor did it seek to determine Das is s objective basis
             for selecting Januar\ 3. 2017 as a eut-olt date.

                                                                             ?7




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                                   ut           I)ulou R li.o.)d (L. S 1Lrlt lratr Judys, RI.1.1.) I Sclucinbct 1 ), 2)11.-

                        MiCed, the qUestion               "C(impoicnce-          is at thr ("fire' of several allegations which invoh-c 1 Xivis's

            hiring and compensation decisions for new hires whom, q ualifications were exempted from the lens of

            actual service for a prsibationar) per



                                        IV.        HIRING AND COMPENSATION DECISIONS

            A.         Summary Conclusions

                       Because             )r) is   well aware of l,SA's fiscal status prior to Davis's appointment in December

            21)i 6, as a contextual backdrop for his questionable hiring and eor»pensation decisions, this si:immarj

            statement shoukl suffice: the previous year had                          been      marked by stafi 'layoffs anii office closings, and

            the 201 i budget (approved in December 2016) reflected appropriate niodifications to restore the

            agcnq's fiscal health.

                       Notwit bstanthng ins notice or I ,SA's fiscal concerns, the investigative record amply estnbInslies

            that Davis proceeded tjuickh to make several hiring and pay decisions                                  without Board input t,t [1.01riCe

           - which buttress reasonable and serious coiicerns about (a) unnecessary, incompetent, hrcfcrct7tial,trt

           OillCrW1SC    inappropriate iwinsi; (bi               Selid170           .valatj   aiOistmenh    approved in disregard 01 existing pa\

           scales, bildgetary allocations atttlliOD cstaltli,llctl impel tiv vs; (c) miarics aoid                             a4;m1Nanh appi          ed

           arbitrarily, for impconissible motivations,                        Of withutit         dCILITninall“     regard for the       agency's   best

           interests.

                        inic            ins              investigation simpic dki not allow this int usligann 10 determine

            )1- IIMA   each or :ill of Davis's det isions had                   a      nidgcta n imp.ict that exceeds du_                    budget   fIN



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                                  invesnietu)r. I7clurt. R But.              Magistrate I orige, R1=-1_1 ILI,: September I-4, 2(11 -

                 tindings which follow detail the hiring anti imt tiecisti sris during Davis's tenure which cka riv support

                 Mese scri(nts concerns. Because hiring and pay concerns are interwoven with many ot the employees

                involved, tile smaist ira) framework necessarily examines these concerns by identifying the emplu)ee (or

                the s milady treated group of enq lovees.




                B.       Pay Adjustment on January 23, 2017
                         Joycc Hall, Administrative Assistant

                         Davis made the earliest of many questionable pas decisions on januarj, 23, 2017, and the

                documentation for dtis decision (L.v. 111 denionsirÀ tut, Ow capricious approach wbich would guide many

                of his subsequent decisions. i .S.A's Managing tit Jrnev for the Montgomery Office C'the MA") es-nailed

                a request that Davis -picase consider Joyce Hail tor an numediate pay increase", describing het as a

                —stellar administrative assistant' employed by LS.'s or its prydecessors 'for (ATI. 27 years."                         Among

                other justifications for requested tatse, the M.'s noted:

                        Joyce has taken 011 extraordinary duties as our lone administrative assistant in the
                        Montgomery Office. ln 2015, her responsibilities doubled +sliest the Montgomen
                          Kfic u':•• sccond administrative assistant was laid off.... I  nos bore von with the long
                        list tif all of her dudes, bus will be happy to pruvidc you with one if needed.... I believe
                        that joyce is worth hcr weight in gold to the Montgomery()ftice and 1.SA generally.
                        Howes-yr, arrl dUcply I:MCA:MCC] dial shc does not feel appreciated and will leave the
                        LSA fantils.

                        1);is is responded ;it 10:08 a.m., bards 1            minuses after receiving the

                                     t0.1   gctong   this tO Mc,    ft is approved. What is the specific increase yoo
                        recommend?                                      addcd)

            "        NIA responded,         pertinent pltr-

                        Dur to ict ze's orkload,                                     and hur t•uriem stlary, believe a .Sbin)
                        pay mcn.....1sc wouki be appropriate. /3”..'                        csprii,.• am/ nor",    wo

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        n•sp(rnded promptly:

         ..glad to do a raise for Jcwce but can't go as high as 53500: wc nrc trying to squeeze 4)-ca
         spacc for another attorney hirc in Selma and arc just in the margins right now. 3500
         would t'3Ir a little too deeply into the lltllr we found. We can do 51500.


         Davis authorized thc requested raise — from $28,411)2.81 tr r$?9,,i't)?.iiU. with a retroacnye effeet-ive

date   VI inf Mar)    -- without prior consultation with either of the etnplovees then responsibk for

 -Inman Resources and Operations (Jaffe Pickett) or Finance 0 Itistine Davis). I:.stablished polio, and

prat.!Ice required their approval" signatures, along with the itxecutit c Director's, on the Persorini:1

Action Nonce form ("PAN") prescribed co document the rate change.

          Neither Pickett nor Davis concurred, however, wrth the ments of tins decision; and then

concerns had nothing to do with I fall's exemplary seri. ice or her MA's advocacy on her behalf. Instead,

their concerns undersetacd the impropriety 1)F bruit thc /wow and the r-,.$itit The Investigator found

these concerns, stn.-cult:CI% summarized for this analysis, legitimate and compelling:

        • The process was uninformed by any consideration          the existing pay scale foi, OF actual
        salaries of, either Administrative Assistants, or long tenured,   hard working, and deserving
        support personnel, at least twu of whom suipassed 1 Ian iri actual Years of service;

        •'file process established an expectation that      yr, wtnllci nrll r unilateral pay decisions based

           whim,caprice, or advticacN, rather than t rn col isidera Ins 4if fairness, equality and CC rnsisrunt
        treatment ot all l.SA employees;

        'Sala r‘ increases for all 1 .S.1 emplo‘c.c.s had been postponed bu y eats due to budgetary restraints,
        notwithstanding, a consensual desire by all toi pay raises: and

        • Fllipif      had lir MCC 1.0 expect in 2ti1T au nrdcrh and t                  c analysis Of the
         ompulisnion plan for all empl,,,ves, sulting in modifications that IA( ruld likcly include pav
        ruses foi all. ln fact, picliminap, steps on this stud\ had ahead \ In'en takcn


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 open pustnons.


            sick Iron) Davis's pattern of scheduling interviews irrespecuve of vacancies,


 documented several troohling patterns- in his recruitment unuatwes, including (1) referrals of -rob

seekers to him from friends and Irsrlttical acquaMtances,(2) solicit:1min hy Day is to lob seekers solely ni

response to requests by friends,(3) Davis's preference for hiring employees without posting notices,(4)

his willingness to create slors tor desired employees by shifting the duties of existing employ ees, find

most rroubling for Pickett, (5) Davis's dishonest or misleading reports to The BOD which falsch

sugl.tested Pickett's responsibility for, ur concurrence with, questionable hiring decisions.

        Pickett had already advised Davis of her senous concerns about his revision of luring yide, and

salary decisions which lacked prior Board input. As she increasingly questioned Davis's recruitment

campaign, particularly his capncious use or grant funds for salaries, and suggested that hc seek guidance

from the BY ), their relationship deteriorated and he relied on his newly hired Operations Dircvtur for

assistance in his hiring and compensation dectsims.

        1 his backdnip is relevant to die questionable hire and pay decisions inglihglited through the

attorney hires identified in Scclaill V-i)and the non attorney personnel discussed iu Section IV E.




      'A Januar) 26 email to Pickett about Davis's interest in recruiting a former public defendei in
Birmingham (redacted hcie to (unit confidential names and information) is illustrative:
      "1 had an our of the bor idea: does ]strike you as someone Nv ho could potentially serve
         prograin manager for the prison reentry grand and the broader community de% elopment
      \sod, in the spring'surniner phasc ofthc ROA project? *** She has her detractors and may
      see this as step (ink% n. hut 1 have heard she is cry, bright and very hard Ns orking. ***
      briefly thought of het for OPS a 1-t:+k ‘‘eiks ago


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             D.            Salary Adjustments For Existing Attorneys
                          [prior to BOD-approved pay adjustments in June)

                           Before the lir mrd -appri wed conipensa non plan, made effective his year iniune,Da\                        )))))ovcd

             salary adjustments tor thrcc slat t attorneys: Tun Kingston ("Kingston") on Aprd                             Nleteasa 1 lenders( rti

             (''l lenderson") on April l 3; and Rachelle Grereyil ("(;recnn”) on Niat 22.

                          1, Kingston

                          1         on September 7, 2016 tur thc Mobile office, Kingston started with the $38,0011 salairy

             prescribed c>n the pay scale for new attorneys l'out months into his tcnure, on April 5, Davis 4:mailed

             this request to Si. Accounting Clerk Christine Davis : would J.DIt pietile do a per.)6.0/61

             Kinpion In Ihe Alobjir office to S-10,600, 061ive rnmirdiatei'ye'               ..hnstine responded in the affirmative, but

             mundful ui the probationary pert()d tot new employees,she also cmailed thr Operations staff abuut thc

             usual practice followed r0 enforce 1 landbot                   portcy:

                         Nil the past thc super\ isor would have to request to have the          tem()\ ed from
                         probation aftcr 6 months. They would perform a 6 month review/performance and
                         remove the ernplo)ce from probation and sometimes they wouki leave them on
                         probation. I Ilt(Lileen) Would do a PAN to file in the employee's filc removing from
                         probation by manager's approval. So, I would probably ask Ann Brown tf shc would
                         like to have hUn removed and/or ask Charlotte how she would like to handle and how
                         we will handle the probauon period going forward. Ilas he been here (r monihs yet-r' If
                         hc is getting a raise, 1 would assume there would be no reason for lum to still be on
                         proba lion.


                                  'pi -Li   His 1 ).H-coti    rcsponsc         m.-d:


                          tie idft WI jolip 1 droll), a proimtionan pc-17eu7 /0i rmpiltjet,. 1'his isn't tvt roartive but Tun Ica s
                         been hen: longer than 6 months. 1 just talked to Ann Brown and she said 'Jim is no


                       hc ema i I indicated the subject as                     adjustment- ;Ind reflected copies         K ingslun.sivlAtAini
             Brown) and finance officer DI. de Burkett.

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                                Inv( stIpmr: )elores R                  Nlagistratt ludge. RE1.1 1 bre- September 11, 2017

                        longer on probation and she sent an email about it n few- wecIss                               tespondcd
                        inmwdiately: ‘,wiplta cif added)


                        This email t oustituted Chosttne's initial notice ol this revised Elc,hct. Since the ()perations

              Director did not post it 4 )11 the portal until April 21, it is evident 11)111 this example that both Davis anti

              Managing Attorneys cimsidered his I•ebruary 2i memorandum announcing the end of probation lit have

              been cffcctivc on that date

                        2. Henderson

                        'Jlic pav adjustment for     Huntsville staff attorney Meteaso             lenticrson,        the 1,SA workforce

              since(ktober 3, 199.4, was also generated simply lit an email from Davis to the Sr. Accounting Clerk,.

             }ler salarv increased from $.19,976.04 to $55,0011, effective Aprii 13.

                        3. Greczyn

                        1 liredluly 2S,2016 in the Dothan office, ;rec;lti's S3S,Nin starting salary increased to '3210,0W,

             eficcti‘e May 22, 2ni 7, pursuant to mailed instructions Innti Da\




             E.        Attorncy Hires

                       Davls
                           ' s tC11Urt- lisiWtrd   itl   I(i   newly hired, full tune attorne‘   (All: i,l   anuary; t}rrrr in March', ..a)e

             111   April one in May; twu       lily, and isxo          \ tigust. in ins ni,inthly reports to the '6oar41 through

             Davis notified them ot the hiring dectsHins                   He Rpicalh priwided iautlaton descriptions 4,1 then

            backg,rotintis and potential value to 1..sA, but tiinitted from all the reports inv mention of the salaries set.




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                                 Invcsugaror. 1)clorrs R Boyd (U.S. NI:igIZArarr )udgc. REV.) Datc. Septrinlirr 1 4, 20 17

               4 Unhke his predecessors, Davis did not provide the HOD with the quarter-1) statistical reports

              mandated, as follows, by Handbook pohcy, thereby depriving the BOD uf an alternate source for

              information on salaries for new hires:

                         "To insure compliance with ail equal opportunity policies, ihe Execulive Direcior
                         ,shall submit to the Grievance/Personnel Committee ofth Board quarterly statistical
                         reports of-the race and sex of-all employees hiring during thc quarter for which thc
                         report is submitted, in addition to race and scx, the report shall identifj,each new
                         employee hy ?lame, office. position, salary and ejjective date of employment.
                         Promotions and effective datcs thereof shall also be rcported on a quarterly basis."
                           (l landhook, 3-13, § 1 7) (emphasis added).

                         Thejanuary and March hires do mit rc itect questionable hiring or pay irregularities which warrant

              analysis     Nor can the Investigator find any serious concerns about thc hiring process or the salaries for

             the attorneys hired in July and August. They arc presumably consistent with the new pay plan approved

             by the Boarci tn June.2
                                  'The Investigator's scrutiny of countless records of job postings on the I.,SA

             Portal and elsewhere discloses that some form of notice was posted for ail of these job hites.                  but. thc

             January hire appear to have been governed, however, by Davis's revised                           niles which relaxed the

             requirements governing content, location, and duration*.



                     'The glaring omission of"salary" information in Davis's HOD reports parallels his policy revisions
              making "discretionary' the mention of"salary in job notices.

                    `All three ot thcse stall attorneys had starting salaries of S.38.000: Whitie). ilaii, hired March 6
             (Montgoinery); James Rich, hired March 13 (Anniston); and Flinheth 1Io11ic. hircd March 15 (Selma)_

                     "The Jul) 3 1 hires were Andrea Bolton(Birmingham; ia4 3,000)and i..litaheth i-aull;(Montgomery,
              $50,0001. Both August hires were for staff attorney positions in the Montgomery office: I lilairc Armstrong,
              on August 14 (5,40,000) and Valynda Jerome-Williams , on August 21 (S45,000)

                         The 1-1 coordinator. tasked principall% with posting job notices. produced for this investigation
              cNeinplars()Nu: notices shc posted on the 1.S A Portal and assorted ,rb sites. hut her posting duties had hecn
              shifted to a ne hirc in March

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                                              1)Elory:. R      (L.S Nlag;sir:If.g. judge, RFT ) Dalt. Scrtum.6.1 i 4, 11.

                      Both loinethan Blocker's ("Blockei") hiring on \lay 3, as a Birmingham staff attorney, and

                    Pettways ("Petrwav-) hiring on April 3, as Nlanagnig Attorney fur the Selma office, warranted

            furl her Anal)lit. al scrutiny. Closer analysis of the hiruTs of Blocker anci Pettwav ts not intended, and

            ;tumid mil Ire considered, as an assessment of either attornc\'s competence, chanweet, en t alue to 1-S,1.

                   issues :4re beN mid the scope of this investigation and this Investigator did not search frrr, oi

            filly basis to recenntnend   such au inquiry. In reporting on the selection of these attorneys, then s1.11aries,

            and related 111.1es, this Investigator's analysis examines Daviss conduct only and the allewetions of

            miproprienes atirthlitcd     io   his decisions on     illcse ithlitert;



                             Jonathan Blocker

                             a.       Hiring Proccss

                    Mocker's hinng resulted directly from "Javls's per:sent:4i recruitment efforts, which began al least

           as early as Febniary 21, whcn he entailed to Pickett              his   resume for review. The resume scr‘ed as het

           introductieni to Blocker, with whom she had no prior acquaintance or knowledge. Pickett did nt )1 'know

           of i posted   atIOTIll'y vaCallty in   Bhmingham but found Davis's direct involverneni consistent wiIh his

           February 1 2 pledge ni actively recmit "high quaLity lawyers and stair' irrespective of opcnings.                At

           Blocker'. interview,, she. learned       (if 111s plif                       with Da\ is through common political

           acquaintances, and Bioe ker named one who referred him to Davis.

                    Blocker accepted a hiring offer on .\-11-1 I 2(1, and i)avis' mailed the "good personnel new,
                                                                                                                s" ic

           the BOD president (cop nig its Pers, mewl( einnunicc (:.han and Piciecti) 1 hs email praised Mocker's




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 quahfica wins. , and timber mite&

           You may recall from my last monthly report dial one of our Birmingham staff attornelt N 161
           leavmg. We eecived today an official acceptance from our first choice hire.... I would normally
           not burden vont inbox with a staff attorney hire, but thought tim ouM both want to know that
           Jonathan becomes our first A frican American male hire mixt. 201 l.


           lt is this statement in Davis's closing paragraph          "Jaffe was vely r't2strttmelrtalitr recruiting

Jonathan..." that triggers a material investigatory inquhy Does that der-kir:num rcikct a stvioni c7jutrri

imppner)        Dans? Still evidencing her strong offense when intemewed,Pickert unequivocally described


it   as ",thyobtfekirdw - anti "r!         MtcHpli'm7ileittnn 10 1k BOO",     designed solely tu secure suppcni for

Davis's hiring decision.'

           When Pickett read     )avis's sirrltlar   representation 111 his April Monthly Report,she felt confident

that shc had not Over reacted to Ins email. Davis gliiwingit reported Blocker's                          beginning May 3,

"Joining our Birmingham office, occupt nig the slot that Jonathan Bedwell vaCated, arid ended:

          "By thc way,Jaffe Pickctt deserves grcat crcciit for helping recruit and close the
          deal with Jonathan, who was weighing other options."


           Pickett reported that het only rolc ui Worker's selection consisted of reading his resume,

scheduling and attending his first interview. and making the lollow tip phi me or cmail el meads iequested

by Davis. His false representations about her involvement confirmed het doubts                        Valkri     1'1.1'0,11 j.tra




           In pertinent part. Davis stated that Blocker -a former prosecutor in(irlando. has a superb record
as a young lawyer and has a strong commitment to making economic justice the next stcp in his career. Ile
came to Birmingham Iasi ear w hen his w ife was assigned lig her residenc "

        :"'Pickett described numerous statements Iron Oat is indicating his belief that the FWD reposed
superior trust and confidence in Viekett; that 1)in is did not nust the Board or desire to establish grcatcr fines
of communication with them; and that Pickett should reduce her informational disclosnres to the 1301).




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                                 itn.c,Ivror I )clorcs IZ lintici (1. NIzeisti2ty ud)?„.         .t I ).ittL picnik-: 14, 21'1.1 -

              ,owment,a11Unil Inini Dam elunqllit month( bilore              kre) about l)ails's characIrt fot litithfuhie           and the

              integrity of hts communications with, and concerning, the                        )1) :mil         staff.

                    .1,wr en:     nmstixatori einalymLaifiniims                      p1V,'W:    the                Allegation .iiirromthq

              Blot-Loh                   the oire Of LS -1'3 Con 'aim- Stellementr: Davis's dishonesty,evidenced by blatant

              and knowing mis-representations to the BOD on matcrial and consequential mattets.

                                 b.        Compensation

                         Not surprisingly, Davis set a starting salary for Blocker.$47),000, without seeking an% input from

              Pickett, and without apparent regard for the new compensation plan then being de;eliTecl

              implementation in two months. The salary exceeded the usual $11-1,000 starting scale and made Blocket

              then thc highest paid (fi lilt' 1 ..`iA class of trial attorneys.' Unlike most starring attorneys in that class,

              however, Blocker joined Ltia as An experienced tnal attorney:                            His resume listed               e trial

              cxperience In statt- and Irdtral ciiutts since 2107, publications, and(:1                      pt.esentationt,. Whether the

              starting salary for Blocker can he justified is not an investigative issue,. instead, the analytical

              concern is the propriety ofDaris's unilateral decision in April with notice of LSA's current

              budget, attorney pay scaks, and the new pay plan then being prepared, in part, to update

             compensation for all attorneys in a fair and objective manner'



                        'tor this finding the investigator relies prineipailv on Pickett's informed representation and the
              lin est igatur s examination of a -sa larN resiess report'. for all .SA      ees (dated 1 1 0/20 1 7).

                       "Davis's"l'ebruar)'Zenon to the ROD did pro% ide a doe to his rationale for pa)ing a higher starling
              salar% to more experienced "lateral candidates-         Blocker:"Mis ogram lICIN not historically adjusted
              pa) jar new hires to eAperiem e. ***. .ts we develop our Atrah,gy to retain and recruit talent, ti c will lie
              evaluating the option of creating two I S.-17     -ftun no slots, paid ell the low end uJ the management tier.
              who will lead our internal trial advocacy cflOrts and who       be            lojury en- henth trial.% around the
              gate.' It) an email in filo,:ker on Mai ch 29 Da% is indicated his Emarenvss dun -kin 1 internal !ask ihirer on

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                               I ovr,nr,ortr. Dclorr.:, H lio)d (1_ .S. MAgy,,rialc udjo..,      ,r 1)atu: Scpternbur 14, 2017

                               2.        Felicia Pettway

                      Fehcia Petrwav's hiring on on April              as Nlartaging A[tomer in Selma and her $70J00 salari

              unquestionably presented the most tioulihng allegations Mx oiving Davit's -hiring and pay" dr& isnms.

                                                   Hiring Process; Conclusion

                      APalyricalconclusion:-1-he nvestipuw found a l'ictlible basis for reports that Davis personally

              and aggressii eh. recruited Putt way with a determination (a) to -remedy'. his failed effort to htte her in
                                   ,
                                 n ot tree, mid (b) to use Pet rway's perceived pohncal connections in the lilack Belt
                 former congressioal

              as a means to rebuild his own political rcptitatinn. Pre Selection anti preferential treatment for

              impermissible motivations can iw teasonably attrilmwd to Davis in this instance.

                      Analysis:

                      Davis's bebruari Report described "the challenges in Selina", citing us "history ot turno% yr and

             contentious departures and Pow) Scri tcr kvelS.. alld lts Mains as a .'workplace that desperately needs

             more management attention and better limier:, Concerning ins plans to fill thc vacancy created by the

              MA's resignation, he advised, in televant part:

                     We have also identified several strong managing attorney candidates in Selina and will be
                     conducting final hiterx iews thts week I believe we are on the verge of finding the right lawyer
                     tn direct our effort in this impoverished part of our state.


                     On February 28. Davis etnailed 11 staffer Burdette a "job description"                               ir this vacatio,

             instructing her to -post tomorrow on the ebsue, and with the Dallas County Bar .1ssocia non."' Davis's



              compensation issues is Lurret0 draliine a plan for cm:cut i‘e and board approNai.

                      - Di1X is ."fuzatinn   instrth:tions reflected his l ebruar )2 revision of hiring rules nut Itrilltllv
              published on the Portal until April. I llc Ilandbool, polict required publications "in at least one no“paper

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                              Invešqator. Dcleacs         (LIS Mapstrate judge, REV)Darr: Srrembur 34, 20)7

              notice ("Ex. i 2), so a "salary range sci $55,000 S60,000" with an "open until filled- application deadluie.

              The Investigator confirmed the postings made by this employee but couki not determine whether

              additional notices were created ur posted by others."

                      len days after Davis sent thc job descr ption fin posting - and while the priming on the MAD:\

              websit(• retnamed active still on 3/24) Davis sent a letter offer tu Penway for thc position, accepted

              hv hcr on March 13." In relevant part, Davis made this offer:

                     We are pleased to offer you the position of Managing Attorney at our Selma regional officc in
                     Selma, Alabama at an annual salary of$55,000.00. This offer also includes the additional position
                     of Rural Project Manager of Our current foreclosure project which offcrs foreclosure and related
                     legal assistance tn rural areas including thc Black Belt. You will be hired tu perform this annual
                     contract for Rural Project Manager at a sum of 515,000, to be paid in 2017 disbursernern of
                     57500 each,on the date you begin employinent, and a subsequent datc six months after thr date


                      you begin cmployment. This role of Project 71Ianager is contingent on your employment at 1-SA.
                          schechilrd start date is April 3, 201 7. Should you choose Iojoin LSA.,you willperform the diaie,
                     elovribed in .--Illachments A awl 13,


                          Personnel Action Notice(PAN) whtch documents Penway's hire on April 3, describes hcr

             title as Managing Attorney/Rural Project Manager, and salary -"$55,000 & $15,00(1 contract). 15


              of a statewide distribution, local har associatioms) in thc count~ in which the vacancv exists. and to iaw
              school placement offices."

                       "trom the records reflecting "job postings- personally created by IT stailer Burdette. the
              Investigator Found postings on (a) the 1.SA Portal (last modified 3/14/2017); (b) the N1,ADA website,
              updated 3/24/2017); and (c) the Indeed.com website (created Mar. 1 with thc status as"2 active candidates,
              2 a&iaiting reviet% ").

                      ..'The signed letter-offer and acceptance. akmg ith the referenced attachments - secured by the
              Investigator from Pettway's personnel file - comprise thc second recoid (4pp.) in composite Ex. 12.

                      Ehc PAN (1. x.12, ree.3). is signed only by Charlotte Rand. for Human Resources and Director of
             Operations, and it is non-compliant w ith I Iandbook policies(not forinall)' revised and posted as on the 4/4

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                                                 Boyd (11S tAgy,tr.ritt                   Datt: Scptcinber l4,'_0l -

 Un Apni 3 Davis entailed to all                  sialf a "welcome announcement- for Pertwar. describing het

 experience , which included her prior post "as the executive director of the Voting Rights Muscum in

 Selma:' I )avis's March report to the BOD advised, in relevant part:

           1 am pleased to report that after nnich effort, we have found a Managing Attorney fin- the Selma
           Office. Felicia Petrway is a longtime commuMtv activist in the Black Belt who went to law
           school in mid carccr after time as an award winning coiporate sales manager at (1F. and as the
           Fxccutive Director of the Vofin); Rights Museum in Selina_        I believe that Felicia Pettway is
           an authentic leader who has credibihry in the repot- and will br a major part of OUT movement

           into the community/economic development space.


Davis omitted ;my reference to the salary sct for Pettway, and this Investigator uncovered no

documentauon for timely reporting of this material tnanct through other means.

           Against this straight forward chronology of Pettway's hiring,the investigator turns to the reiev:nil

backdoip fOr the first-stated conclusif




                                b.        Hiring Proccss: Factind Background

           On lantian: 4 l'ickett received thrall) fonn Petmay her cmailed resume with this ticrtc.

           it was really good seeing you lodin . 1 ha% c at larheil a copy of tny resume for your TV% 1cX1/4 . i Inn
           intcrestcd in employment opportunities with I.egal Servn es,and upon your review cif mv resume,
           1 welcome an opportunity to discuss am finurc opport[mines.

This transmittal reflected Davis's outreach and noi                     retjousi                twai to Pickett The tic   da


Da   IS CM:10(A NACU:




signature date) which mandates "appow al" signatures also from the Fxectni‘e Director and the l inance
officer.

           "}-%,.. 12. rec




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                             think Felecla Pettway capable arid I icarh hired hut in my congressional office .1          Can see
                          her as an eventual Black Belt addition if wc gut ncs.v sic ns there. I do have a vague memory that
                          //ii rap on ber Mal she does noi /Ike to be sitpenVsed so 1 don't know how she and Laura would engage.
                          I don know thai her r.-epetrrre shonG lll an) 0our cwrtaxi area; hut perhaps it is.
                         (emphaJi, tidcird)

                          1 )avis contlmied Ins recruitment outreach    wah Petrway m telephone and email correspondent e


                        ch Pickett was not privy ,     )avis dal include Pickett in his interviews with three    other applicants

                  for this post. on February 28, March 7. and -I\larch    K37




                         Pickett recalled     participating wnh Davis in three interviews with Pettway.'"              At   the initial

              interview on January 2,1, Davis remarked (MI his missed           opportunity to hirc Pettway when she          applied

              fcrr wtork in his congressional orrice. I".iovis's conduct then and thereafter left no doubt for Pettway that

                  Thvis had pre seieeted hcr tt>r the MA slot m Selma. ,Ikt        finothcr m person interview on Match 9,


              Polway told Davis that hcr hottorn line salary was $75,000, and IYt.c.-.01 gleaned that the two had potr


                     uss1,tn.   about thc S55,010 S01,000 salarr range posted for the po:,inort. Shc           reported Davis's


              response to the effect that she rPettwayj would he too 'valuable" to 1              and lie did not wain -to lose


              her.-

                            tcr Lltirs AtilltAltwed i'ctlwav's •scieetton on April 3, ht: authc m/cd Peilway's planning of an


              I       funded "open house" at the Selina office. Reminded by Pickett ot the -meet and greet" reception




                        'Ali three candidates expressed satisfaction with the published salary range for this post ($55,600 -
              .560.000)_ Pickett was favorabl) impressed w ith the candidates ink:FA iewed on March 7 and 8 hccause each
              was then working in jobs exposing them to l,SA -s cl ien t base and sers ice in regions w hich included Selma.
              Immediately after each interview. Davis remarked to Pickett on their lack of"flf for the post. The candidate
              interviewed on Fchrtrarn 28 had worked in Davis's congressional office. Follow ing her interview. Davis
              commented that site had "issues- there which would not make het a good fit it) Selma.

                             hc meeting dates for her recollections from the meetings cited are confirnied h.!. entries pointA
              1”. 1)as        Ilk 1 SA oniee calendar

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                                            Dclonl, It 11.0)d   ,`3 MagIstr.th. judye, R1 l.Y DAL! Scplember -I, 2(11 7

               already hosted Own: in January, Davis explained that Pettwas               :is   not Olen the l'slA and the planned

               reception would by -bigget and betterf
                                                   ': Pickett received an emaded invitation prepared by Pettwrrs und

               sent   ZU   a Lige group ot comniumn activists, public officials (mcluciing council uneinbers rind

               irgislanirs).' 1 bvis seemed well pleased wnh the reception. Pickett knew of no pret edeni for any other

               Regional Otiic r having such an "open hoilst). recuption for an MA and 1:,xecutivc. Director, parlicularly

               so soon after the convening of a "reception" designed for thy same purpose.

                                c.      Compensation: Conclusions

                       Analytical conclusion: •Ilic starting salary Davis sct for Penwar, $70,0thl, made her 1.SA's

              highest paitl Managing Attorney. II was a negotiated salary - short bs onh $5,000                           the amount.

              Pettwav denunded. Davis "officially' reported -- and personnel records it-fleeted                    Pettway's starting

              salary as only $55,1100, describing the .S15,000 supplement as funded                a grant pursuant to which she

              would perform additional duties. Thy descriptton was rms leachng and                        false.

                                       d.       Compensation: Analysis

                       Pickett witnessed the interview during which Pyttway madc clear that it would take $75,000 for

              her to accept the MA post in Selma. The salaries posted for 1.S.Vs Managing Attorneys as of January



                         'Das is had mandatory "meet and greer receptions at each of 1.SA's regional oflices allei his hire,
               NA ith participation by thc MA and regional staff- as well as invited "communit) partners.' The Selma office
               hosted its reception ofJanuar) 4: the morning session, held ai the Black Belt Foundation Building, attracted
               about 15 eonuntinit) partners for a round-table session also intended by Jaffe, the Selma MA and staff. The
               afternoon meeting convened at the Selma Office. w here Davis met with staff and conducted press interviews.

                      "Pickett auended arid tOund the 50 or so artendees(ali identified 11) Pcn‘s ay)to he a different group
              from the co:mut-tits partners at the Januar\ meeting. She recognved State Sen.!tank Sanders in the group
              investigative documents con firmed a meeting scheduled between Davis and Sanders that same da) as well
              as tiscal records for Seri Sanders' paid iadio -spots- for the Voting Rights Initiative launched b) Das is
              timing this same period_

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                                                1)(1riri R Brlyd (1.:.!.• Magistrate hidge. RVI.) l)ate scptcrohi 1 ?I);

              ift confirms that none matched Puttwat's

                         Davis never accurately or tulb, ruporied tu thc BOD the following ma renal facts regarding Oh

              $15,1.100 gram supplementation that by described on hiring and pav documents As OW consideration 1ur

              this Matiagthg Aitonwv's -additional position of Rural Pri;No Manager of 11.S.1'sj current foreclosure

              project" Thc Investigator found thcsc facts to he weil-documented and credible:

                     • Petrway       WAS ill       TiqpitTd ft)         perform, anti did not perform, any addithinal duties and

              responsibilities for the Ma imgcmcnt of this grant. To thc extent that Pctrwav rendered am management

              services relating to the purpose of this grant - foreclosure and related legal assistance to LSA clients in

              mral areas     such scrvices were reasimably expected to he in consideration for her Manag                                      rriley

             salary. Payment for any      sIllrh sun          lees by Pctrway simply          Was WA allthririvuti    lit the grant.

                     • The preparcr or this grant, laiic Pickett, did not include in thy grani submission rirIV additional

             money for an "attorney grants manager. Actual grants managetnent fur this grant flowed from he; 1i-int,

             which never required, or received, any material assistance tnlm Petrway. Pickett has prepared and had

             approN ed curtain grants which tio include express authorization 'tor payment from the giant hinds ol

             all Or a significant porrion of salaries to attorneys whose work wili compnse the core of the                                  stated



             plirpusc.        ACCTSS to justice Attornyt,                        attornes ,       Domustic Viokncy Attorney). The giant

             identified :is suppluniumatirm compensation for grant-runded services in. Grant W:o.                                           AMU



                    •    The grant   in (.41111kivurv          it-presumed -part 2" of the First               grant                   prepared

             Pickett tor thy same purpose ill                                              u did not                 dedicated funds fi       paid




                       ''Birmingham MA Dm id Webster, S 65.000; 1 )othan \AA I rat ic Melt in, S.50,0O0. Mobile MA Ann
              lirown, S57.009: Iluntsk ilk MA I lolly Ray. S50,000; Monigurrier MA Slephanic Blackburn, $52,000, and
              I ,aura Clemons (Pettwat -s MA predecessor in Sclma). $50,000

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                        pieparcd for.       Board of Dircciors 1.1s,G AL SERV1(7PS ALABAMA
                 Invcsagator: llelorts R Boyd (11.S. MvstrAtc                    RET.) DAN! Srprrmlwr 14, 2/117

 management by an attorney. `Hie lIuntsville Office conducted the foreclosure prevention services made

possible by the grant, anti its Managing Attorney did not receive ur request supplemental pay.

        • Davis's authorized disbursements of S15,000 to Petrway raiscci serious concerns front I .SA's

in house finance department and from its auditors. Though ool hired wild .-1fitil 3, Penuvy rraived a S 7500

check on March 30, described cm the payment invoice as "commuino, outreach'', pursuant 10 the

Operations Director's instructions advising:

        Arrur informed me that we need to cut a check for a contract to Veheia Pettway, the new
        Managing Attorney in Schna. Shc will be doing a rural outreach project outside of her normal
        duties. This check is hcr first installment of $7500.

Pursuant to Davis's advice in the letter offer prepared and signed by him, the second installment of

$75{10 was pa}'able six months after her starting date of employment. No investigative record or report

provides any corroboration for the reference to Pettway's performance of"rural outreach project outsiik*

of her normal ditties.




        NON-ATTORNEY HIRES

       Davis approved     six non attorney hires. .1.1xcluded from this total arc two sclections vvInt'h were

pre-approved hy the WA/ Charlotte Rand, as DU-ector of Operationsi2, on l.ebruary 6, and GArc



        'The investigator found. however. that Davis recruited Charlotte Rand ,acting solely on an mailed
referral from an executive director at the Montgomery office for the Girl Scouts of Alabama_ Other
documentation an3ply corroborates reports for this scuirce as a friend of both Davis and his wife. Similar
docUnientation confirmed that the same friend referred and strongl, encouraged Davis to hire tw o other non-
attorney seleetees, Mary Aplin and Takcnya Rogers. As anal,zed elsewhere in this report, the investigatm
found that the hirings of Aplin and Rogers played a significant role in creating staff tensions and
grievances.

        1 he investigator also hitind thin Da% i, acted alone in sating Rand's salar pursuant to their mailed

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                  1m t                        d       nisistrAir 1uatu. RFT .) Rik* "..cptcmhyl 14. 2017

Gilmore, as t hid Financial t )11n er rrn MaN 1 5. Finance Officer Dull: Burkett, selected in February, is

also excluded trr am tins analytical analysis based on his abbre‘ iated ienrae.44

              remamin).•, t1r,11 attorney htres are:

         •Takrm,i lielet:;, March        Administrator(' Assistant

        • ¿Vitae "layinr, Niarch 27: Development Assistant/ Administrative Assistant

        • Twmira brad, April 1 2 (a re-hire): Administrative Assistant

        • Mary 1p/in, May 3(1: Grants Manager

     hiring and rno processes forall except Tamara } larole                   mint analysis for allegations .agAinsi Davis

concerning their hiring process, the adverse dicers ol their selections on existing staff, :and thetr

compensation.

         rhe investigator b4ns this analytical sernon, however, with a discussion ot two questionabk

pay adjustments to two existing emplui              cacli Madu tirdiatcrailV            rhaotte Rand and sanctioned


negotiations.

         "i)avis's January Report to the BOD announced I-ebruary 6 as the startii% dale for Dyrie
and his April Report advised: "...we received the disappointing news this month that our new Financial
Officer. Dyrle Burkett. experienced a family emergency in his home state of Florida. After several weeks
of consideration, Mr. Burkett dccidcd to leave l.SA to return home.-
           he Investigator notcs that the Sr. Accounting Clerk Christine Davis's grievance about promotions
does reference her "missed- opponunn) to compete for the Finance Officer position after Day is declared
his intent to hire from the outside:(sec 1- x. 9)

         "Investigative time simply did not extend to a iitemally credible anal‘sisareported allegation that
the re-hire salary for .ramara llarold as an Administratke Assistant in Mobile, $25.000, exceeded the
applicable pa) scale. The lnv estigator's re\ icw of her personnel file disclosed a 1;22.000 starting salary when
Ilarold joined 1 SA in 2005. Other documents raised reasonable questions whether anv job postings for a
‘acancy preceded her re-hire.

       ' 'Dav is's pa) adjustment in .hinuary to a third einplo)ee, Adnunistratise Assistant Joyce Hall. is
iinaly/ed al the onset of th is Section anak7ing 1)as is's questionable lining and compensations decisions.




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                  Invcstirmoi klmvs 1-z, Boyd 11 S MaristrAtc )udy,4 , RI-.1 1.).th Stpirrniirr 14,

 in Davis in response to management and staff complaints.

                  l.       Pay adjustments for Existing Empkiyecs
                           Desiree Jones & Christine Davis

                           Analytical Conclusions

                 (a) Within         days after Davis hard thc Director of Operations (Rand), situ unilaterally

decided to implement"merit raises" for Act minting(                 Destreejones Clones")anti(Ihristinc Davis.

Norw.ithsiartehng her seniority,, experience, and proven performance of multiple duties (inclu(ling thosu

assq,
    ,ned to lones), Chnstine Davis rece vcd only a $1,000 pay raise while Jones, whom Christine vt. as

required to train in several tasks,received a S3,tifiel raise. hariti's ducisii in was unnuthormed by Hatitibt n ik

policy , subject to challenge under federal EL° laws, dcmonstrabh unfair, and unjustifiable. Hand's

dec sion consiituted Unpermissiblv differenuai and otherwise diseranniatory treatment of thuse two

umplety(vs.

                (b)Rancrs     discriminan ay and unauthorized decision demoralized (:hrisiine )avis, and

it caused a significant, cc twinning adytTsc impact winch raises the pia:anal ot a remedial cause ot action

against   ESA

                                          iirccn or did not have prior notice of Ran(i's dccIsi.4             '11011   timely

nonce by 1...SA's Acting 1.Accuovc )irector prnir n,                 hire, At mg with nthcr Central()ffict. staff,

Davis refused to rescind Rand's decisit            alai instead 4'\illy:sh sanctioned it as           an ad             'nut



management authont‘ Tins decision V, ws plamh wiong anti reflected an abdication                        4)1   his dotv 11,

 irgilard the interests of all I,SA emplo!,ecs, pursuant tit illy jolt standards and values pubhshed it, die

                  Unpassionvd dcfctIst.     of Rand also crcatt d     reastinaltie perccpuon among employ ees

    ht !ay        acid would d:scritranate 111 las ol                   Vitirulivt:r, Dal 1,'S a(thinS



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                             frwcorpiol: Wore:, R     Boyd (1.1.S    Maglstrawludge, RET.)                Seplymber 14, 201 -



             substantially to an increasingly tcnsc woriKplaCe In the Central Office.

                             Analysis

                     1,SA hired Christine as an Accouming Clerk on December 16, 2013, with a starting salary 01

             Si5,700. Shc is now the "Senior Accounting Clerk." 1.SA hircd )Ones onluly 20,2015,as an Accounting

             Clerk on 1nly ?Cl, 1015, with a ,S28,000 salary.

                     At approximately and March, Operations Director Rand instructed Christine ti) train Jones in

             payroll accounting, a funcUon uniquely within Christine's duties, which also then included accounting

            for a then-ongoing merger of I.SA's accounting systems.' During 1-nnance Officer Burkett's shoit

            tenure berween February anci April, personnel records identify linn as the Supervisor for both employees.

                    Christine, who also performed as 1 SA's Payroll Clerk, received a Personnel Action Form(PAN)

            which authorized a salary hike for her, effective April 5, to $36.7C4 As shown on the form daft:3 APril

            7(Ex. 13), thc approval showed only a signature from Rand.. in response to Christine's inimetliate,

            person impriry, Burkett described the hike as a "merit raise" and advised hur to expect another raise once

            the B()1) approved thc new plan then under develtrpment. Christine reported her "very surprised" but

            "thankful" reaction, explamthg that she had worked 4.5 ycars without a raise but undersiood die reasons.

                    On April 10, Takenya Rogers (newly hired on March (r                     as   Rand's AA) emailed :hristine two

            PANS for pay adjustments: ChrisMie's and another fiir Jones, it lcreasing :Jones's salarv from S2g,000




                     "r]lrtu< dld prUvIde simic "fill in' payroll help b)r Davit, b) )IF11C. Chi('f hinancial ')ftieer

             ;ilmorc confided tcl Christine some concerns about jones's readiness bin ncJnetlieless, he proceeded
            in Junt- I() ',,ThSigt1 tri loncs the priman dudes lor payroll accounting.


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                              111k t.-11E,trol I Mori,R iiovd S .11apj.strAv Intim                 Supwsnbct 1-1, 2i Y1'

                       elk( live April 4.4   (111St n    reported that she was "kind cif disappointed- to seelones getting

             a S3,000 raise while hers was ordi S l,illH1, especially in view ot her longer tenure and her ability to EA in

             to perform lorit s's ciuttc• aitiic Jones t otiid not tcciprncatc kr Christine.'

                     Witiun the same week, (Itistine met with Rand and requested an explanation for the

             discrepancy. Rand assumed sole responsibility for Ow decision, noted that she knew she w

             lot of people questionmg her, and uttered this rationale: that :pules was underpaid and she wanted to

             bring her up to a certain level. She also assured Chstinc that she wt uild get another raise when the

             ROD approved the new pay plan.

                     I.otther evidence of Christine's frustrauon with Rand's decision is documented in her lengthy

            email on i'vfay I l to Rand. 'Ile ent re email is Included at Ex. 9 in the conical of a separate analytical

            issue. 1.or a fuller, irr context appreciation ot Christine's grievance as it relates to her disparate treatmtnt

            frtnn R211(1, tilt: iiivestigator highlights these exeripis

                     •I ani yen thankful for the merit raise I received; however, Desiree recei%(Ai a larger raise
                    I found this unfair, ha. a er .-worker with fewer respimsibilines, lcss knowledge, and experience
                    ot the organization Iccelve a higher merit over seniority, experience, and inore knowledgeable.
                    l can perform !IR duties, Payroll, Grants, PA I, Vendors, Accounts Payable, en- and 1 atn liuM,
                    training Desiree of dus knowledge and she tuecives the lughei merit.




                           PANS fur Junes also showed a signature only by Rand., on April 7 (Lx_ I 3, rec. 2)
              Rogers's email indicated 1fpdated PAN's-)on the subject line. and the attachments were dcscribed as
             "Jones Desiree rate changc 04.04.2017; Da‘ is Christine rale change 04.04.20/ 7. 'The Investigator failed to
             resoNe the discrepancy between the April 5 effective date shown on Christine's PAN.

                     "Christine's investigative interview yielded this further explanation:
                     "Ilonestli, I ow the ro-to person Itere. Ilben(liarlutte was lured .she was.suppo.sed to have
                     on the ex)rerience in accounling. grant!, eurcl IIR. but sk' had none. She coldhl not do the
                     grains IndKelinK and A') hod to litre a(TOfrir            . Ahe ti trs 1101 011101ther.1 person unil
                     ,she eh/willed that to me




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                  In% r,,Iliarccr Iklures R. litp,(.1     Niapt.trateludge, Rh."1:1 I )ak.. September t1, 21/"

         ▪ he prior accounting clerk's salary was S4S,00ti. I arn stdi making less rhan what she was ond
         performing morc duties

         •Some of luv workload is supposed It) hi: shifted 1rr i1e-slrcc, due to me bung oscntiadvd and
         gtants administering takes up a lot of tin time. 1 find myselfspending more timc training Desiree
         than freeing up any time. To date, nothrng has becii shifted.

         • l live also stepped up and helped where needed to help ()tilers aclueve then very own
         respiinsibihnes.


         Shortly a((yr Christine niet with Rand in April about this pay gncvance,she shared her concerns

with Pickett, who "tried to smooth it cut," telling her to "bang in there ...maybe the                           )Wiii dc

something."' When Plckett confronted I )avis threctly about Chrisnne's grievance. Davis reportedly told

her that hc wouh.1 not have done what Rand did but would stand b) hcr "as a manager" because he had

told her that she could use her uwn Judgment in such matters. Pickett complained that she, as a nianaget

could not sunilarly act tO ralSt thr SAW;DI 'OW grains coordinator who had worked at I..SA fot iR %ears.

Pickett s viewpoints failed to persuade Davis to rescind Rand's order.                          Instead, following this

eon.ersatum, she event:need being -shin out- increasnigh by Davis from - manaEurnent icwi"

CC/Uhl-010:S. DO.VIN 21150 reacted by removing much of her previous authority in grain applicant wis and

management.



                 2.           Takenya Rogcrs

                              a.    Hiring Process; Conchisions


               IS0111C:dsci        jitr c rPnrcrn:
                                                 ,Willi I   )(troth   Grabanl, and     volunteered to [he        usligalor
thc ocilstderable bA.7,11-• icir licr cicu that Pickett and Graham had kept the                                  flinat flu
sek cral months beton. , And (c,riffilillng          1.11/11.1 Davi.,:s 4)1 Rand's lurnw,




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                           prepArcti for.     Board of 1)ircriors Ja;Al. SERVICES Al..-1s13:11Lt
                  love-stignior: kkrec R. Boyd (U.S. Nlagiwate )ticlmr, RFT) Date: Septembri 14, 2017

         (a) Davis personally recruited Takenya Rugers (`Rogers")              referral from a friend, for an un

 posted yob oilportunity unmatched by any pnoriry           or   pubhshed need   at   I.SA's Central Office. Davis

 and/ot the Director of Operations assigned Rogers to the Operations unit for supervision by the

 Director.        hiring of Rogers on March ft, and her comparatively high srarting salary, supports a

 reasonable suspicion that Davis created a yob specially for her with an expectation of unconditional

 loyalty in return.

        (b) Davis mis-prescnted to the POD and staff that Rogers's hiring served to help Pickett's

oyerbtudencd Resource Devehipmcnt unit;.

          c) Davis's hiring of Rogers triggered the transfer of an existing AdnUnistra live Assistant from

the Operations Department to thc Call Center, Rand and Davis, in communications sent ttt the entire

ISA staff, materially misrepresented the reason for this transfcr. The transfer and its publicity affected

the transferred employee, and substantially diminished morale for 1,SA's support personnel.

        (d) DRvis's"creatlon" of an un-posted position to facilitate this hiring resulted in thc shifting uf

critical duties from an existing employee and Unposed on her a burdensome duty of training.

                 h.       Hiring Process: Analysis

        Investigative records — incltiding emails between Davis and the source of referrals for °the)jub

seekers,including(:harlot re Rand and Mary Aplin — confirm that Davis sohciled Rogers upon this same

friend's request. (     1-ebruar) IS, at ICC] pm, Davis emalled to Rogers this note (redacted lir this

Investigator to ormt thc name r,f Davis's source, notwithstanding that he opted thc email to both Rana

and Pickett):

        M. Rogers, my name is Artur Davis and l am thc I',seemly(' Director at Legal Services of
        Alabama. I   fom aided your resume n me and si2p,gested that you nught be interested in an

                                                       51




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                         nvt.sirrunt:    Dclorcs                                          R VC)Datc Scpleinki I t,:'n1

               employment opportmuty 'with our Central Office tn Moing(inicn . This position would lie a
               shared staffer between the Operauons Department and Department of Development and
               tin inegic Partnerships. "Ilie duties would range from core administrative work to staff assistance
               with Nblic outreach and fundraising, to grant datakeeping, to website administ ran(           Wouki
               tt >it lel 11W kntiw it this is something YOU WOUld like to discuss with nes' executive teamr.


     Rogers's predictably affirmative response generated (-mails the next dav from Davis: first, to Revels for

     her preferred times bit an interview on the NI'or the 21''                        lit'xt to   Rand and Pickett with the same

    inquiry.

               1-he Investigator did not determine the date or details of Rogers's interview, hut hcr personnel

    tily documents her hiring within the week. Rand's Jur letter to Rogers,dared Februar) 27,and accepted

    with Rogers' signature on March 2, advised:

            We appreciate your ItItcrt'st in the Administ rani c Assistant posiuon and wc are pleased to otter
            You the po.sition at our (:entral office ... at an annual starting salary ot S27,51)0.00 and benefits.
            Your st bcduled start date is March 6, 3.01 7.

                hi the scheduled start dare Rand and Rogers also signed hcr three page job description, And

    scrutiny confirms Pickett's.; report that Davis nu) tiptnalth                 stated reason for hiring Rogers as a usiTaied

    snit ter' between Rands and Pickett's departments 1 hc jul)duscl ipt 1011 stated Rogers' title as -Assistant

    to the )irec tor of )perations.- but that deparunent is listed as her "reports to" super,.isor.                         The

    Posinoti   S1.1311111311' Mak1 1.   no mention of Pickett's supervisti in, declaring instead:

                nder   )iternyi cif(fp:rations' supervision, Wu .issistani to the Director ni Opuraijull!,
            prirnides     high-L.9,11            support to tlic Direcror (if Operations as well as the
            department and pro.ides logistic,il support foi human resources tramings/incerings.

            \ mong the spec:thud dunes listed tor 1,1( %guts rs cilic rcsponsibiliti with n Pickett's pr ovince:




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                            ¿mei sllblinti                        ¿Phi/or Nher yunite 1 purh.-               Ptekett con firmed that het long

               en erburdened staff enerscif and lit (*tilt (;rahain) received nn material ht:lp holm Rogers in this idek.

              ( )11   scs['t,=i occasions Pickett reminded Davis that he had jusuf ed Ins hiring of Rtigers, in part, to

               alleviate the burdens in her department. His unresp(insiveness confirmed for 'her h7s pattTrn of making

               misrepresentations            to the lit )1) anti staff - that were designed to establish either her involvement

               in a personnel decision or her intended benefit fr.(nil that tleciston.

                         Pickett's continuing suspicion of Davis's had-faith tuts-representations in order to advance his

               agenda at I.S.A was advanced Irk Davis's transfcr(if an Administrative Assistant,Renac jones,("Renae")"

               from the Central Office to the Call Center as an Intake Screener.                                l fired on April 13, 2015, Rcnae

               enjoyed and never requested a transfer from her work as an Administrative Assistant in the Operations

               unit. Nonetheless, on March 2                   tlic same dav Rogers signed her ietter offer, Rand emaiird "staffing

              updates.
                     'to all the I.SA staff, announcing this change:

                        lti e are happy to announce that Rena,: Ionics will be transferring from her position as
                        Administrative Assistant in the Cential Office to Intake Screencr in thc Call Center. Renae will
                        have the (     ill Unity 10 br (ill rlIt front hues nf service to Our client populations.
                         :ongrat         RenIket




              Rand sent a sr mita r ctl,aii, r=77 March G, weirt                           new Administrative Assistant to Opetations,

              Fakenva Rogers."




                       'Detailed under this dui) vi as this function which had been performed routincl!, Only by Graham
               and Pickett for hick of needed support: "gathers'compdes neccss.tn case statistical. matters and other
               informati(tn 'MOM- data and completes reports as assigned:.

                     '•As this im estigator has airead) used this surname for empiossec DeS,Ifee :tones. She opis het c lo use
               Rome Jones' first Milne.

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                                IsivcsTtgAriit            R    d II S Mapsirmuith.1,1!t. 1iI-1) Ddit Septunk)er 14, 201 7

                       Fad] of     b rui   klinICSSeS MWMCW.-cd presented these facts and each disputed Rand's suggestion

               that Reliae'S .11101"C was voluntary. Investigative time did not permit a personal interview V,lib Iteriae.

               Reportedly, she was hurt. distraught, and cried upon her transfer                                  Ccnter which      VW, 1.10

               point. All witnesses descliheej the transfer as a demotion and shared Renae's                                            reartion.

                       Davis SCrit a message to all LS 1 Staff, on May 8, which included his own misrepresentation

              about   Rcliac's transfer:

                       WC' aft blinding a culture that allows                 every level of this Organization fur lita
                       teammates who show Mitia Live. When Enke of our central office staffers, Renae Junes, expressed
                       a desire It grow,instead of giving her cliches about wt irking harder, wc gave her A chance to jou
                                                                                                                        .
                       our vinalh important call center, whcre shc is thriving.


              Davis's craft) iatninalization compounded Renae's anguish and the support personnel's thinincishing

              morale. A long tenured employee explained that new hires toutinelk son at the Call Center, as did

              Renar. Converseh,assignment as an .Admintstranve Assistant (especially within thc Operations                                          of

              the central (,ffice) represents prinnolitinal progression and a gcnunic ()pp irtunny for growth. Davis's

              mis representation reflected his "insensitive'. character                 "he just hes and dtiesn't really care about the

              program in- his employees                 all about M. Mo.is:"

                              atter Rogers' hire, Rand aist removed one ot 1 1staitcr icssica liurdet                               primar). durics,

              name's, posting nib notices, a task she had been perfin ming since the 'November 15 lai(,It r,f another

             ei nFOt 1.1'. As :1 itcmh detailed ekcwherr, ,la'cis              Rriiicd 111 hebruarv his considerAbk hangC- F. to the

               oh posoug;'          men-lent. and Rand poqed           the new poliiA u7 Apiii

                              3.           Desiree Taylor

                                                        firing Process: Conclusions




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                                       prepared fill •      liozid of Directors -             SFRVICES
                               invesligatot: Delores R Boyd              Mamislraie           RFT.) Date: September 14. 2ti17

                      (a) Ilavis personally and aggressively recruited Desiree Taylor rfavlor"), reportedh 2 former

              campiUgn worker, anti hired her on March 27 fur an un posted job opporrunity unmatched by any

              priority ot published need at L.SA's Central()ffice. i)avis set a S23,000 starting salary that reasonably

              appeared inconsistent with I.,S,Vs pay scale and budgeted priorities. ills hiring added to t growing,

              reasonable suspicion dial Davis creatcci jobs for friends anti candidates TO furiher his personal agenda

              instead of 1 .S A's best interests.

                      (b) Davis made material misrepresentations to justify this                          e:     needed support for the

              overbiirdenvii Resource Development mdi Davis approved post hiring assignments for Taylor which

              corroborate tlds tnisrcpresentation and reflect his true intent to create a new "(.:ommunieations" r,osition

              with primary duties for media outreach and his unauthorized initiatives.

                              b.        Hiring Process: Analysis

                      Investiptive rectirds        m firm that Davis aggresslve•h recruited Taylor after a Jatniary visit to

             Seltna during which he noted her recognition as a"40 under 40" community leader who "would be a

             good fit" at LSA. Febniary cmalis disclose Davis's strategic hiring plan — to present Taylor's hire as

             "development and operations help' and to expedite the hiring before the BOD couki halt additional

             him in response to projected de funding of LSC. Dam's anplicitj                                   another tam-fixated rilleption

             —    resolve not to collabotatr wan the B01)irrespective of pohcv and practice mandates, and his associmed

             creation of a hostile environment for Central Office employees who encouraged thin proto«il.

                      1)a% is started the relevaiu exchange of emails with Opetauons Dircetot Rand and Rl)Director

             I iekett (subject - Developmein anti Operal ions i kip) on February 12 by sending them "faior's resume.

             Rand did not get the anachinciu and responded initialh will) these periment concerns7


                                                                         Si




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                           I IhnIk NA shollid hc CoriSchTMOLIS of what our needs may he depending on how I, oil ebvisii
                          timdraising changing al 1.ti A. You've mentioned a capital campaign. Assuming Jaffe would
                          spearhead this campaign, I would cxpcct her to be out the do+ ir meeting with donors and
                          i..,ranti,rs Inure or less full time for the duration of thc campaign. '1 hat means that Doroth) and
                          ,
                          any tidditional staff person's job responsilnlities rnay shift considerabh from what they arc now.
                          SO we should definitely be hiring with an eye towards thc major campaign responsibilities being
                          covered. •• It may be that Nls. Tayhir is morc than qualified to meet these responsibilities and
                          would transition seamlessh from annual developtnent work to a capital campaign. Bat I'rn
                          mentioning it so that we thm't find ourselves shorthanded


                Davis's   response concurred with Rand's concerns, admitted the hkely "need to develop a staffer \\T.,

                has a range of skills-, and explained his rush to avoid BOD pressures:

                          I think we will be imder some pressure to do hiring freCic after the 1 rutnp budget because of the
                          board's skittishness, and that this kind of hire may seem hardcr to justify after March; it is not so
                          much that a 35,000 hire means a thing to the budget, but it is ingraincd in the culture of this board.
                          So,cand idly, l am trying to assernhle the parts before there is some internal pressure to "make do with
                          what we have."(As context,           was much inclined to punt to the board some personnel matters.
                          which has conditioncd a few of them to expcct a voicc beyond what it should be.

                          After Rand reviewed i aylor's resume, shc cmailed concerns to explore at Taylor. interview and

               expressed her misgivings about whether --pushing though a hire before March is in our hest interest.- When

               interviewed, Ta)lor shared with Pickett hcr prior -work on Artur's campaign.-                          On   March 1 Rand sent

               Taylor a letter offering her an Administrative Assistant position at ihc Central Office w ith $23,000 starting

               salary. When the oiler had nor hecn accepted b,!. March 4, Davis emailed to Pickett:

                       Sincc I am the onc who originalls reached out to her, 1wiii send her an email encouraging het to
                       accept thc position, hut lam riot surc w hat is going on here, 1 du recognize that you need the help in
                       your department and see no reason not to dcvelop and job description and post it if she does not COMC
                       through.

                aylor "came though-          signing the offer on March 6 and starting wori; on March 27.

                       inCOnsislent iceortis     hi Rogers personnel t11c support Piekett's repori that Pra.i• is mis-represcitied his




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                                       picpartd for_   Board of- Do-et-toff 1.T f; 11. SERVICES ALABAMA
                               Investigator. Delorcs R Boyd (U.S. Mawstiaic Judge, RM.)Ow;Septcrolici 14. 2017

              intent to post Taylor principally as support staff in her development unit                     Investigative intervievis and

              records confirmed hcr actual operation performing "communications- ser-V ices to Davis and administrative

              suppon to Rand.

                               4.       Mary Aplin

                                        a.        Hiring Process: Conclusions

                       I.)avis personally recruited Mary Aplin CAplm")upon a friend's referraL for a Grants Mfmager

              position which was not posted. Davis approvcd a starting salary ofS47,000, making Aplin                             llighest

              salaried, non - non icy (mph iyec.       The   hning process, the hiring itself, and the cmipensation raised

              reasonable questions of palpable pre-selection, blatant disregard for standards of competence, actual

              staffmg needs in 14-ranis management, and inidgeted priorities. This luring contributed substantially to

             employee conflicts and a deteriorating workplace environment m the central                                "

                                        b         Hiring Process: Analysis

                       I.:mails and other investigativc rcconis demonstMle that Davis recruited Man' Aplin in resin]]Isy

             tO   hcr resume and application sent to hun on Niay 5 bi              dic same     s011t-Ce   of previous referrals. Aphii's

             resume con films her prior employment for two t•ars with the source. 5' Davis considered hiring bet to

                  the CFO vacancy but settled on a -grants related" position pursuant to these pust interview


                         Onc "inns hirc- PAN (signed old) by 1 akenya Rogers) set her tnie as 'Development Assistant-
              and another. signed only by Rand. sct it as "Administrative Assistant-. A duly signed joh description on
              June 9. 20 1 7 described 1 aylor as a "Communication & Development Associate.- All three forms identified
              Pickett as her supervisor.

                      "Some adverse impacts of Aplin's employment arc dcscrihed elsewhere . and the analysis which
              follmss states onl) the hasics of the hiring and p,ty allegations against Davis for this hire.

                     'The investigator cannot make conclusive findings on reported elose-friendsinp between the source
              and Das is's sponse.

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                    111vcsugAtor llrinrrc     Bova {1 1      Maphirme Judgt,             Date- Sepftirthel 14, 201 -

 imilressions (-mailed on Nlay 10 to Rand and Pickett:

         M) sense that shc has less entrenched knowkd}{e u1 grants than         '1, but that at a mid fcrrnes
         price point, she is still a very capablc candidate. She has held rwo jobs that required her to nin
         the gamut from grant urn* to grant accounting to grant reporting:she also has ancillary gcncral
         financial espenence. I think that hcr personality Is iow-ke bin that she convcys a very strong
         desire to fit in and work hard, in whatever role she asked to play. I have some hngering
         concern that het- prospective title, grant manager,could be misconstrued given the eulnire of die
         central office as a more senior role than 1 tnean it to bc. I wonder if grant coordtnator might
         avoid some of this angst, 444 Charlotte and I discussed at lcngth the question of how she would
         interact with Christine Davis, who has asked to bc rc designated as a grant administrator."


Pickett responded with a cautionary note about Aplin's position and                  hu pen:is i   :


         Would it he a better fit to have this person ... in finance? Ifshe will be a grants coordinator that seems
         to be an RD role and would fit best working w ith Dorothy and myself. *** we should be awarc of
         the salary diffcrcnccs of a 13 ycar grants coordinator and a new one ... Ant 1 missing something?


        On the Ma> 30 effective date of Aplin's hire mailed all employees, in pertinent part:

        Aplin Will serve LSA as Grant Manager. "*" Mary will rcpurt to our Operations Director, ...and
        will work closet:, ith our CEO.as well... I ler dirties sI,ill include monthly report narratives, budget
        and outcome reporting, and maintenance of grant records.


        Fiscal records coot-inn that Aplin's S4 .00(lsaiar) surpassed that ofseveral more support staffis hose

records reflected more se it iorit) more experience: and pro.ious. demonstrated competence in iiic peribtinance

of their duties,'




         "Pickett remained Davis that Doroth). Graham ahead performed in the "Grant Coordinalot-
position. As already analyzed, Das is eNpressed a well-founded concern about Christine Davis's desirc for
this post_ A na 7ed in Section VII("hostile workplace complaints-)is his mistaken impression of Aplin's
capabilities in pram ss      accounting. and repot-ling,

           \ era I attorne)s. c.g , then earned on1).    -          Grants Coordinator Grahant. tenured
for 38 ears and performing the ,sork described for Apiin. earned 538,978




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                           )STILF. WOR1;PLAC:1:. COMPLAINTS

                       LS A's longest-serving non-attorney employees - Sylvia Masim. 1-,xecultiNe .1s.sistant to the

             11st-come Director( 39 yearsi )and Dorothy Graham,(;rants t,00rdinator                                           years 4)firneh hkd

             complaints ansing fioin conflicts with Davis in thc Central Office, includnig disciplinary action he

             directed following contentious incidents durimg the last week nf his employment. .1'heir grievance'', wtic

             properly construed to hc v.-ithin the scope of the ilandbook's strict prohibitions on "harassment and

             "conduct creating a in!Silk        1.
                                                ,:(irk   environment-

                      The Investigator conducted a dictiough investigation which inchided extensive interviews and

             analytical scrutiny of thc documentary record. Davis did not return ut the Central Office after August

             l 8 and the next week saw the departures and restgnations of two ( entral )ffiee employees whose

             conduct reportedly contributed significantly to these ei»pltiyees' grievances. Consequentb, the

             in cstiga tor (kid permed the significance uf these circumstances anci directly probed each einploi.ee to

             ascertain first, the impact Of theSC        OCCUITcnCCS       On the workplace; second, the stains of the questioned

             disciplinar) sanctions imp iscd against them;and third, the nature oi any remedial at tun]each still desired

            from the BC )ttt respt.msc to then complaints.(irsham and Mason separately confirmed                                          volunumly,

            and absent any guidance or suggestit              itotn the Investigator that these employee depa ri tires, especially

            Davis's, had completeh restored a positt‘c and prod rclive workplace; that thc Pi()D had aireacIN acted

            to their s.insfaction to rescind the dtsciplmarv action taken                             n       reassignment, resignation, or

            ietnement, and that neither requested from the Bt. 11) am burin./ remedy of a monetary, equitalile,

            Ain Othul di,11:,11. let




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                       Pot -.mint 10 dit'sr findings, till: invcsuigator   cowhides that neither             fisc:d interest nor the

                 )D's investigative duties unckr the I Iandborik Risufy that the investigalot ouenne for this(lonfidential

              Rept rit the precise analytical findings and conclusions for these grievances.'




              VI.     CONCLUSIONS AND RECOMMENDATIONS

                      A.       CONCLUSION

                              puhtished "(Aire Value Statements"                 integrity , professionalism, teamwork, and

              compassion     arc all implicated 1)% issues and concerns arising during l)avis's teinire. The urcesingatirm

              disc losed found conununig effects from Davis's policy revisions and his hire and pay decisions.

                       Confusion, resentment, and anxiety abound within dic 1.S.1 workforce concerning the

              crintinumg application ot substantial changes effected irt ir tb standards and policies which prorinSed fait

             and equal opportunities for hiring and promotional advancement; salary settings and adjustments

             premised I in fart, uniform, and consistently applied polirics. Davis's act in ending the pitibationaq

             period tor new emphryees threatens the integrity of previous standards designed to ensurc competent

             and compassionate emplo% res. to serve L.1-;:‘, clients and to maintain its administrative functions.

                      Needed cc nisensus is lacking on thc comparative auiluirn v (if thc I Acentive Director arid the

             li( )1)con(erning these personnel !natters. The 2006 landbook              ni lc urger an instructive guidc because

                the policy changts Davis made were not posted for urniorin 11011t.e, S01111: V‘vrt. 1101 posted col all, and



                         lie   estigatin stands ready to pro% ide such oral       w rinen anal)sos to thc BOD. tIT
              designated committee. upon notice dun further reporting lb %%art anted

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             some policies have been eithet arbitronly honored or enforced m an arhicran , capric                      it lax manner.

                       Nlanaging    ionicvs have   tucivcd instructions frorn Davis which empower them             with actual and

             discretional-% a kit)It it it) in dcalings with the press and emplo%ee recruitment. Support personnel generally

             have felt diminished and disrespected,and nu laic has diminished. I'miployees who have been aggrict cd

             directly or indirectly by Davis's conduct remain apprehensive about i „SA's intent to address and remedy

             their concerns.



                           Investigator has already outlined her analyucai conclusions tor aii of these matters (Sections

                  and IV). Consecluently, they are not here rcpeatrd. instead, the Investigator respect fully stibinns

             Recommendations for the BOD's evaluation of any responsive action which rnn                               nucessar% or

            proper in response to the analytical conclusions.



                      In tltc interest of full disclosure to Ihc BUD on matters within the scope ot us published

            responsibilities along with its lithician duty generally, die investigator includes among these

            Recommendations succint statenit•rits (it investigative findings Of fist          practic es and personnel actions

            which warrant tbe       )13's knowledge and assessment.




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                      B.      RECOMMENDATIONS

                              1. Personnel Mattcrs

                                      ( .S)/ria A./a     afid Dorralr) Grakuji

                      '1 hc BOD should coninni with each emplioee the Invesugatois representations that their

              -hostile workplace'. complaints have been resolved to their satisfaction by Davis's resignation and that

              the BOD may consider their complaints "closed and resiiived- withcnit any consideration of additional

              remedies of any kind.

                                      (2) Chrisfine Dam, 3       leechwth*

                     'Ow BOD should atitiCSS the propriety of action m response to The pro:notional and pa])

             grievances reported with hei express desire and authorizatic

                                      (3) Renae louts, Intake Screener

                       hc IR' )1.) should assess the ptopriety of acuon in response to the reported transfer cri Reciae

             Jones fun)) her Administrative Assistant position in the Central Office to the(                 Center,

                                      (5) The BOD should evaluate the propriety of acturn m response to siginficant

             changes which have been pi istrd jtt,r ali vrnpluVCCS) 11111“: I Llildinaik policies iverning hiring processes

             and th,
                  :probauc',nary pertod tor evalvarroir

                                      (h; 1 he    11)should LA:CM:fit' the proprietv oi action ul response To die sqnin7.ii,

             change made in 1,SA Public Ref:minis (.;Indelines b               is's '1.S   press pi ihey-,ir rcvis on not posted

             but circulated to maiwing rummy\ s.

                                     ()The BOD shorhl evaluate tile revised and posied                   unerai     ayi.   isiou


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                referenced in this Report to determine if it mandatei,ciffiCkirriAlcc

                                         (8)The 131 Y.1)                 act expeditiousir to plan for a comprehensn c review- of tht.

                200G fruplinec 1 landbook for its revision to incolporate appropriate modifications.



                               2.         FISCAL POLICIES,PRACTICES,& CONCERNS

                                                        šandhook
                                                               ' s      polic) for "hiring nonce and personnel action nntice" forms

            ((:h. 2,f 10) requires "approval" signarures bv the I )iret. lin of t )perations, Human Resources, finance,

            and the I',>:('CUI1vc Director. The polio' was revised -                      entail and practice ui nucl-i-ebruary and the

            investigation discht.sed significant practice devrauons thereat ter, warranting the                          M's et insideraton ot

            the underlying rationale for this pohcv anti whether any                   actli111     warranted in response tu iss change."

                                         (2) I        investigaior received credible information and documentai ion that she

            I andbook's "Outside Employment" pohcv :11 1, (i) have been niaterially breached ift mu ul,hlllces

            and dic    policy may   wartatii     operational clar         :"

                                         (3) 1 fie investigartir reeriNcti credible informant in and documentation that the

                landbook's""overnme                    (t.:hap. -I, :,_;) and 'leave trine- certrficatit riis    May     have been re\ lied, by

            email guidanc             Davis:
                                           }




                       'Upon request. the In% esi igatot will prepare (within 30 das) an outline of the documentation
                produced for this pulie) change.

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            next 3(I da)s) a summary of reported findings along with the exhibits produced.

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           and the use (if grant funds for expendwores beyond the purpow                       or scope        ihr gram.

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           pa v!nicentive phase.




           i   inal Report submitted

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               ALABAMA




     LEGAL SERVICES ALABAMA,INC.

                   Employee Handbook




OPR: Director of Operations
Effective Date: July 2006
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LEGAL SERVICES ALABAMA




WELCOME TO LEGAL SERVICES ALABAMA,INC.

Dear Fellow Employee:

        This Employee Ikindbook (hereinafter "Handbook") provides answers to questions you
may have about Legal Services Alabama's benefits, procedures, and policies, as well as LSA's
responsibilities to you and your responsibilities to LSA, your colleagues, and clients. If anything
is unclear, please discuss_ the matter with your immediate supervisor or LSA's Director of
Operations. You are responsible for reading and understanding the Handbook and your
performance evaluations will reflect, in part. your following the Handbook. In addition to
making your duties clearer. we hope this Handbook also gives you an indication of LSA's
interest in the welfarc of all who work here.

       Thc liandbook is a work in progress and will likely be amended from time to time. You
will be informed of those changes to the Handbook and will be expected to post the changes.
Your suggestions for improving the Handbook are welcome and should be forwarded to the
Director of Operations.

        The personal satisfaction and compensation gained from doing a joh wen are only some
of the reasons why people work. Other factors influence your decision to work, such as, pleasant
working environment. relationships with co-workers, and a sense of serving client needs, career
development. and fringe benefits. LSA is committed to doing its part to assure you of a
satisfying work cxperience.

        extend to you my personal wishes for your success and happiness at LSA.

                                                            Sincerely.



                                                            Melissa A. Pershing
                                                            Executive Director
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                   LEGAL SERVICES ALABAMA,INC.
                         Employee Handbook

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Chapter 1              INTRODUCTION TO LEGAL SERVICES
                       ALABAMA AND APPLICABILITY OF THE
                       EMPLOYEE HANDBOOK

1.      Description of Legal Services Alabama

Legal Services Alabama ("LSA") is a non-profit statewide legal services program created on
January 29, 2004 as the resuit of a mcrger of three predecessor organizations: Legal Services of
Metro Birmingham (originally founded 1977), Legal Scrvices of North Ccntral Alabama
(originally founded 1969) and Legal Service Corporation of Alabama (founded 1977). It is
funded with public and private help to provide free legal assistance to eligible people and groups
unablc to pav for such services. Eligibility is bascd on income, assets, and other factors as
determined by LSA's Eligibility and Limitation Guidelines and other LSA policics.

2.      Applicability of the Employee Handbook, to Employees

This employce handhook provides information to help employees and their supervisors work
together efficiently in a positive working environment and to ensure that LSA and its staff
comply with applicable state and federal law. It does not constitute an employment contract, and
it does not confer legal rights on any employees. LSA reserves the right to change handbook
practices because of changes in the law or organizational needs.

To the extent that any information in this handbook varies from the terms of anv applicable law
or any benefit plan, the terms of the law or plan will govern.

Employees with questions about any aspect of the handbook shonld rlireet the qu,stions to their
supervisor or to the Director of Operations.

3.      History

Access to justice for those unable to afford legal help is rootcd in the principles of Arncrica and
the legal proression. Alabama has a long history of providing volunteer or pro ',ono legal
assistance to those in need.

4.      LSA Nlission Statement

Les2a1 Services Alabama is a state-widc nonprofit dcdicated to providing access to justice and
quality civil lcgal assistance to cducate and empower Alabama's low-ineorne conmiunity.

5.      ()ur Corc Values

Legal Services Alabania's core values arc integrity, prokssionalism, teamwork and compassion.
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6.       LSA Corc Value Statements

         Our core values are reflected in the following core value statements.

A. Integrity: We are honest, ethical and accountable in our endeavors.
B. Professionalism: We pursue excellence in our creative. courageous and zealous
   representation of our clients.
C. Teamwork: Valuing our diverse strengths. we cooperate with our clients, staff and community
   justice partners.
D. Compassion: We are caring. empathetic and respectful.

7.      Board of Directors and Bylaws

LSA is governed by a Board of Directors composed of attorneys and client-eligible community
representatives who are supportive of free legal services for low income individuals,
communities and other vulnerable populations. The Board of I)irectors is responsible for
establishing policies which govern the operation of LSA. The bylaws establish a broad
framcwork for the I3oard and LSA. A copy of the bylaws is available in the LSA Central Office.

8.      Executive Director

Matters not covered in this Hcindhook may be determined by the Executive Director in a manner
consistent with any policy adopted by the Board of Directors and/or prior practices of LSA.

9.      Lcgal Services Alabama Funding

A.      Funding Sourecs

Legal Services is funded primarily by Legal Services Corporation (LSC). Most additional
funding comes from aging agencies and federal. state and community urants, reflecting a
partnership for justice with the government, the public and the community.

B.      Purposes of Funding

While LSA's funding pays for a broad range of services for individual clients and client groups,
some funders impose restrictions on the range of services they fund. All LSA employees.
volunteers and board members have an obligation to be aware of and to comply with these
limitations.

C.      Legal Services Corporation Funding and Compliance

All employees must comply with the provisions of the LSC Act and Regulations. A copy of
these rcgulations is available at the LSC web site. Violation of these policies and other LSC
policies may resuli in disciplinary action or discharge.




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D.       Non-LSC Funding May Not Be Used for LSC Prohibited Purposes

LSC has conditioned its LSA grant on not spending LSC or non-LSC funds for purposes
prohibited by the LSC Act and activity prohibited by or inconsistent with Section 504 in 110
Stat. 1321 (1996) and those provisions of LSC Regulations that implement those provisions. 45.
CFR §1610.2 definitions are incorporated by reference to hclp identify prohibited activity. LSA
policies reflcct the LSC prohibitions.

E.      Permissible Use of Non-LSC Funds

Tribal and public funds rnay be used for the specific purposes for which they were provided. if
the funds arc not used for any activity prohibited by Section 504. Private funds may bc uscd by
I.SA according to the purposes for which they were given, if the funds are not used for any
activity prohibited by the LSC Act or Section 504 of the FY 1996 LSC appropriation, Pub.L.
104-134, 110 Stat. 1321 (1996).

F.      Legal Services for Clients Not Financially Eligible Under LSC Guidelines

LSA may use non-I,SC funds to provide legal services to a person who docs not meet LSC's
financial guidelines in 45 CFR §1611, if the funds arc used for specific purposes for which those
funds were provided and are not used for any activity prohibitcd by the LSC Act or inconsistent
with Section 504,

10.     Application of State, Fedcral and Local Laws to LSA

All I .SA employees. board members, and voluntecrs arc bound by all relevant state, federal. and
local laws.

A.      Applicable Federal Law

All Legal Services Alabarna employees and board members are subject to the following federal
laws and the punishments relating to the proper use of federal funds:

18 USC 201     Bribery of Public Officials and Witnesses
18 USC 286     Conspiracy to Defraud the Govermnent with Respect to Claims
18 USC 287     False. Fictitious. or Fraudulent Claims
18 USC 371     Conspiracy to Commit Offense or Defraud the U.S.
18 USC 641     Public Money,Property or Records
18 USC 100]    Statements of Entries Generally
18 USC 1002    Possession of False Papers to Defraud the 1j.S.
18 USC 3729    False Claims
18 IJSC 3731   False Claims Procedures
18 USC 3732    False Clairns Jurisdiction
18 USC 3733    Civil Investigation Demands



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18 USC 3730 Civil Actions for False Claims except actions authorized by 3730(b) rnay not be
            brought againsf LSA or an LSA employee)

For purposes of the laws listed above, the LSC and LSA's funding will be considered federal
funds provided by grant or contract.

B.     Reporting Violations of Law and Others

The Executive Director of LSA or other responsible ernployee(s) will give telephone notice to
the LSC Office of the Inspector General (OIG) within two working days of the discovery of any
information that indicates that LSA may have been the victim of misappropriation,
embezzleinent or other theft or loss of any funds (LSC. non-LSC. or client funds). Such notice
shall he followed by written notice hy mail or facsimile within ten (10) calendar days from the
time of the discovery of the theft. The required notice shall be provided regardless of whether
the funds are recovered. Other reporting will be undertaken when required pursuant to federal
or statc law, specific grant conditions or insurance.

C.     Notice to Employees and Board Members

This section's notice of the applicability of federal law is provided in accordance with 45 CFR
1640.3.
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Chapter 2                HIRING AND EMPLOYMENT

1.       General Hiring Policy

LSA is committed to the principles of recruiting and selecting the best qualified applicants for
positions, on the basis of both demonstrated and potential skills and ability, and of providing
equal employment opportunities to all persons regardless of sex or sexual orientation, race, color,
creed, national origin, age, physical handicap, political affiliation, or any other consideration
prohibited hy law. Its recruitment and hiring policies reflect LSA's Equal Opportunity and Anti-
Discrimination Policy.

2.      Personncl Records

A.      Maintenance

Employee personncl tiles are rnaintained in the LSA Central Office located in Montgomery.
Alabama. Keeping employee files up-to-datc are important to pay, deductions, benefits and
other matters. if an employee changes any of the following, items, s/he is encouraged to notify
the Central Office I lurnan Resources department as soon as possible:

        l.     Legal name
                lornc address
        3.     Homc telephone number
        4.     Emergency point(s) of contact
        5.     Dependent data (additions/deletions)
        6.     Marital status
        7.     Changc of beneficiary
        8.     Exemptions on tax forms (lederal/state)
        9.     Military status

Failurc of an employee to keep this information up-to-date may affect coverage of benefits and
other issues that concern an individual LSA employee.

B.      Contents

The Human Resource department shall maintain a personnel tile for each LSA cmployee
containing current information and records including:

              Application and/or resume, dates of employment and personnel action notices.
        2.    [valuations and Professional Development Plan.
        3.    Disciplinary actions and corrective actions.




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 C.      Confidentiality

All personnel files are confidential and can only be accessed by LSA ernployees who have
authorization. Authorized personnel include: employee. immediate supervisor, supervisor in the
supervisory chain, human resources personnel, payroll personnel, Operations Director, and the
Exccutive Director. LSA employees have the right to review and copy their personnel files at
thc LSA Central Office during regular business hours. Employees who do not wish to travel to
thc Ccntral Office to review their personnel file should contact the Human Resources department
to explore other averiues for reviewing the file. Orieinal files rnay not be removed from the
Human Resources department. The employee will be notified of any adverse information placed
in their personnel file. Employees have the right to respond to information in their file and thc
response will be placed in the personnel tile in accordance with LSA policy and/or procedures.

Employee identity, job title, and date of employment are not treated as confidcntial inforrnation
and will bc releascd to third parties. Other infomiation in files will bc treated as confidential and
will not be released to the public unlcss required by law, contract, or written authorization of the
employee.

3.       Qualifications for Attorney Hiring

With respect to attorney hiring, every effort will be made to recruit and liire people who meet the
following qualifications:

        a.     Good academic training and hiah academic performance;
        b.     Prior legal experience, prcferably legal services for low-incorne and other needy
               people:
        c.     A knowledge and understanding of the legal problems and needs of the client
               community:
               Prior working experience in the client community or other programs that help
               low-income and needy people;
        c.     Fluency in a foreign language commonly used by LSA clients;
        f.     Appropriate special hirinu requirements of a funding agency;
        g.     Needed cultural understanding;
        h.     Character and professionalism; and
        i.     Other relevant factors.

4.      Nepotism Policy

Individuals who are related by blood, marriage, or reside in the same household are permitted to
\,;(ork in the same office, provided no direct reportirw or supervisor-to-subordinate relationship
exists. That is, no employee is permitted to work within "the chain of command" when one
relative's work responsibilities, salary, hours, career prooxess, benefits or other terms and
conditions of employment could be influenced by the other relative. Related employees may
have not influence over thc wagcs. hours, benefits, career prouess and other terms and
conditions of thc other related staff members.




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Employees who "marry or become part of the same household while cmployed are treated in
accordance with these guidelines. LSA will require one of the employees to transfer at the
earliest practicable time.

No member of the LSA Board of Directors, no employee of LSA, and no member of the
immediate family of such Board Member or employee shall deal directly or indirectly with LSA
for profit or gain, except upon full disclosure and after competitive bidding (where otherwisc
required) and with the express authorization of the Board of Directors of LSA. This policy is
intended to protect management integrity and is not intended to be discrimination on the basis of
rnarital or parental status.

For the purpose of the above rules. immediate farnily shall include any of the following persons:

              Husband                               Wife
              Father                                Mother
              Son                                   Daughter
              Brother                               Sister
              Father-in-Law                         Mother-in-Law
              Brother-in-Law                        Sister-in-Law
              Son-in-r.aw                           Daughter-in-Law
              Grandparents                          Grandchildren

5.     Conditions of Employment

LSA does not guarantee or promise employment on any fixed term, specific duration, permanent
or lifetime basis. All employment (whether regular, temporary, probationary. full time or part-
time) is for an indefinite duration on an at-will basis, and either the employee or the Company
may terminate employment :it any lime for any reason without notice or cause. No qupervisor,
officer, agent, or employee of LSA has any authority to altcr. modify, waive, or make any
exception to this policy, except duly authorized in writing by the 13oard of Directors.

6.     Employment Classifications

A.     Regular Full-Time Employees

A regular. full-timc employee is onc who has been hired without a predetermined terminal point
of employment; who works thirty (30) or more hours per week; and who has satisfactorily
completed a probationary period. Regular, full-time employees are eligible for al] employee
benefits.

F.    Regular Part-Time Employees

A regular, part-time employee is One who has been hired without a predetermined terminal point
of employment; who works less than thirty (30 hours) per week; and who has satisfactorily
completed a probationary period. ReQular, part-time employees who work more than fifteen (15)
hours per week (but less than thirty (30) hours per week) are entitled to Worker's Compensation,
leave, and paid holidays that occur on days on which the employec regularly works.

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C.     Temporary Full-Time Employees

 A temporary, full-time employee is one who has been hired with a predetermined terminal point
of employrnent and who is regularly scheduled to work more than thirty (30) hours per week.
Temporary, full-time employees with a predetermined employment period not exceeding three
(3) months are entitled to Worker's Cornpensation. and paid holidays which fall on days on
which the ernployee works. Temporary, full-time employees with a predeterrnined employment
period of more than three (3) months are entitled to Worker's Compensation, group insurance
coverage, leave, and paid holidays.

U.     Temporary Part-Time Employees

A temporary. part-time employee who has been hired with a predetermined terminal point of
employment not cxcecding three (3) months, and who is regularly scheduled to work less than
thirty (30) hours per week, is eligible fbr Worker's Compensation. A ternporary, part-time
employee who has been hired for a period of more than three (3) months is entitled to Worker's
Compensation. prorated leave accrual, and paid holidays (also prorated) that occur on days on
which the employee regularly works

7.      Responsibility for Recruitment and Staff Selection

A.      Executive Director. Recruitment, selection and evaluation of the Executive Director is
the responsibility of the Legal Serviccs Alabarna Board of Directors. The Executive Director is
the hiring and firing authority for all other hiring decisions.

B.      Administrative Office Staff. The recruitment of administrative staff will he the
responsibility of ESA's Operation's staff. Selection of administrative office staff will be thc
responsibility of the Executive Director in consultation with appropriate core management and
other office staff.

C.      Attorncy Staff. The recruitment of legal staff will bc the responsibility of 1-SA's
Operation's staff Selection of attorney staff will be the responsibility of the Executive Director
in consultation with the appropriate advocacy management staff: Before filling an attorney
position, the Operations Office will notify the local bar association of the existence of a vacancy
and any special qualifications for thc position. Source: 45 CFR §1616.

D.     Paralegal Staff. The recruitment of paralegal staff will be the responsibility of I_SA's
Operation's staff. Selection of paralegals will be the responsibility of the Fxecutive Director in
consultation with the appropriate advocacy management staff.

E.      Support Staff. The recruitment of support staff will be the responsibility of 1_,SA's
Operation's staff. Selection of support staff will be the responsihility of the Executive Director
in consultation with the appropriate advocacy management staff.
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  8.      Job Opportunity Notices

  A.      Notice Required. Notice of a position vacancy shall contain a description of the position
  and shall state the necessary qualifications, salary, application procedures, closing date, and that:
  "LSA, Inc. is an equal opportunity prograrn and employer." A copy of each job announcement
  will be maintained in the Central Office Human Resourccs department. The announcement will
  be prepared for an vacant regular positions by the Operations staff. However, position notices
  for temporary attorney and non-attorney positions and contract attorneys will not be required.

  B.      Notice Location and Duration: Rcgular staff openings for non-attorney position
  publication minimums will include advertisements Saturday and Sunday over a minimum two-
  week period in at least one newspaper of a statcwide distribution. Regular staff opening for
  attorney positions publication minimums will include advertisements Saturday and Sunday over
  a four-week period in at least one newspaper of a statewide distribution, local bar association(s)
  in the county in which the vacancy exists, and to law school placement offices.

  C.    Notice to Staff: Notice of vacancies will be distributed to the staff from the Human
  Resource department; in written form on the LSA portal and wehsitc at the time the notice of
  vacancy is submitted for publication.

  9.      Application and Hiring Process

  Applications/resumes will be accepted front anyone seeking employment for available positions.

  Sec Diagram 1. LSA Interview and Hiring Process for an explanation of events. activities and
  responsibilities for the intcrview and hiring proccss.

  10.     Hirintz Notice and Personnel Action Form

  When a hiring decision has been madc and agreed to by a new employee, the Executive Director
  or the immediate supervisor will prepare a letter to the new employee confirming the terms of
  employment. The letter will includc the position name, compensation, the anticipated start date
  and a welcome to Legal Services Alabama. A copy of this letter will be maintained in thc
  employee's personnel file.

  A Personnel Action Notice (PAN) will bc prepared for all new employees by the Operations
  Human Resources department with appropriatc approval. The PAN is the authorizing document
  for all personnel rnatters. The form will include among other things the employee's narne,
  position title. exempt/nonexempt status, salary/hourly rate. date of hire. and personal data.
  Coordination will include the Director of Operations. fluman Resources, Finance. and thc
  Executive Dircctor.

  11.    Noticc to Unsuccessful Applicants

  Aftcr a position has been filled. all other applicants shall be nolified in writing by thc I Iurnan
  Resource Department that the position lias been filled.



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12.    New Employee Orientation

New employees will be provided as appropriate: a written job description, personnel action
notification. IRS W-4 withholding form, State of Alabama A-4 withholding form, LSA Employee
Handhook, insurance/benefit information and enrollrnent forms, healthcare declination
memorandum, office key. other inforrnation and materials deemed appropriate.

Human Resources will provide each new ernployec with the Employee Ikmdhook of LSA, the
Client Service and Cornpliance Manual, and the Grants Administration llandbook. Each new
employee shall acknowledge receipt of same in writing. Hurnan Resources will also insure that
every new employee shall receive a written job offer confirmation that informs that employznent
is probationary in accordance with the provisions of this-Handbook. This rnust be signed and
returned to Human Resources.

All new employees shall as soon as practicable meet with his/her immediate supervisor and any
co-workcrs to become familiar with the office and program's policies and procedures. A similar
meetinu, with the Central Office will be arranged within three months of a new full-time
employee's start date to enable the employee to become rnore familiar with LSA's program
practices, policies, benefits. and services.

13.    Probationary Period

All new regular employees shall be subject to a probationary period of six (6) months of actual
service. Anv extended probationary period must be approved by the Executive Director, at the
request of thc employee's supervisor. The probationary period shall be an integral part of the
examination and selection process and shall be used by the supervisor to observc closcly the
employee's work. and to train and aid the employee in adjusting to the position to which he/shc
has been selected. If LSA determines the employee has successfully completed the prohationary
period. a Personnel Action Notice will be accomplished to reflect a change from a probationary
employee to a regular employee. Becoming a reuular employee does not in any way alter or
change the "at-will" nature of all employment with LSA. At any time during the probationary
period, an employee inay be terminated without cause and without right to appeai a termination
of employment through LSA's grievance procedure.

14.    Preparation of Probationary Evaluations

Prior to the end of the six (6) month probationary period. the employee's immediate supervisor
must submit a written recommendation to either:

       a.     dismiss the probationary employee;
       b.     retain the employee; or
       c.     extend the probationary period.


Such recommendation will be sent to the Executive Director, who shall review the
recommendations on each probationary employee and shall take appropriatc final action


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regarding the employee's probationary status. A copy of the probationary _evaluation shall be
placed in the employee's personnel file.

Notwithstanding anything in the foregoing to the contrary, no employee shall be deemed to have
had probationary (a/Ida introductory) employrnent status rernoved until such tirne as the
Executive Director has reccived an evaluation and approved a change in employment status in
writing (or electronically). While on probationary status the decision for disrnissal ties solely
with the discretion of the Executive Director and is not subject to appeal.




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Chapter 3              JOB STANDARDS AND PROCEDURES
1.       General Policy

Legal Services Alabama expects ethical and appropriate behavior, as well as high standards of
performance by all employees. These standards are established by the board and management,
the law, community practices, and standards of professional conduct. To the extent staff
mcmbers and Legal Services Alabama vary front these expectations, the ability to effectively
serve clients is dirninished.

All staff must exercise judgment about publicly discussing LSA business. Ernployees must
refrain front any action and avoid public pronouncements that might reflect adversely upon
Legal Services Alabama. All staff members are expected to treat client confidences in a way that
is consistent with the practice of law and rules of professional responsibility.

All staff are expected to cornply with the policies and procedures established by Legal Services
Alabama. Further, the staff are expected to comply with the Legal Services Corporation Act,
regulations and rules. The staff is subject to disciplinary action for infractions of these policies
and procedures.

2.     Compliance with Rules and Regulations

LSA expects employees to comply with the personnel policics and practices contained herein_
An ernployee may be disciplined or terminated for cause which shall include, but not be limited
to, the offenses outlined in paragraphs below. Thc offenses listed in the paragraphs below of this
section are not intended to be all-inclusive but are illustrative of unacceptahle conduct. In thc
absence of special circumstances. c,ffenses shall be subject tn the penalties indicated in this
handbook.

A.      Minor Infractions

Minor infractions are the type of behavior that does not always - upon first offense - require
severe disciplinary action, hut if continued, will lead to suspension or termination. For example:

1.      Wasting time, loitering, or being away from assigned working place unnecessarily.

2.      Absence from work tbr a part of one day or for one (1) day or more without permission.

3.      Excessive excused or non-excused ahsenteeism for all or for a portion of a day and
        excessive tardiness.

        Careless Use of 1-SA property.

5.      Removal uf any matter on bulletin boards or other property without proper authorization.




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6.      Failure to irnmediately report an accident.

7.      Other acts or omissions warranting disciplinary action.

B.      Major Infractions

Major infractions are the types of behavior that may result in severe disciplinary action, such as
suspension or termination on the first occurrence.

I.      Unjustifiable refusal to carry out a specific order or instruction issued by a supervisor.

2.      Failure to comply with the Legal Services Corporation and LSA's rules. regulations,
        instructions. and guidelincs.

3.      Thievery from fellow LSA workers, LSA clients, or others.

4.      Interference or disruption of work of other employees.

5.      Violation of LSA's regulations concerning client confidentiality.

6.      Intentional oniission of any pertinent facts.

7.      Lying or misrepresentation of facts to supervisor, co-employees, or other ernployccs with
        respcct to the handling of the business of the office or with respect to any personnel
        matter such as lateness, illness, leave, etc.

8.      Recommending or encouraging another employee of LSA to violate or circumvent LSA's
        policies or procedures, or a Legal Services Corporation rule or regulation, or failure of a
        supervisor to rcport a violation of same.

9.      Engaging in. or recommending, or requiring, an employee or client of LSA to engage in
        an illcgal act.

10.     Violation of LSA's Equal Employment Opportunity Policy or Sexual liarassment Policy.

 L      Any other conduct detrimental to clients, employees, or LSA.


3.     Disciplinary Action

For purposes of this Handbook, disciplinc refers to a written warning, probation. dernotion,
suspension without pay, or disrnissal depending upon the seriousness of the problem and
incidence of prior violations.




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A.   Warnings and Penalties

     a.      Commission of a minor infraction will result in at least one of the following
             penalties, although in any particular case the penalty may be greater.

             1.     First Offense - First written warning notice.

             Z.     Second Offense     (of any nature) Final written warning notice and/or
                    suspension.

             3.     Third Offense -(of any nature) Termination.

     b.     Commission of major infractions may result in the following penalties, although
            in any particular case the penalty may be greater.

             1.     First Offense - Final written warning notice, suspcnsion or termination.

            2.      Second Offense - Termination.

            3.      All warnings issued will become a permancnt part of the employee's
                    record.

B.   Probation

     The supervisor, in conjunction with the Executive Director, may place an employee on
     probation for up to three months for misconduct. poor performance and other appropriate
     reasons. The supervisor will discuss fully with the employee the reason(s) this action is
     being taken and the period of time the probation will cover. A detailed report relative to
     thc action taken will be submitted to the Executive Director and a copy placed in the
     employee's personnel file. The supervisor will also give a copy of the report to the
     employee. The supervisor may interview and 1-e-evaluate the employee as often as
     deemed necessary during the probationary period. However, a written report of each
     interview rnust be subrnitted to the Executive Director, with a copy placcd in the
     employee's file. Thc supervisor is required to submit a performance evaluation report at
     the end of the probationary period as well as a recommendation reuarding the disposition
     of the case.

C.   Demotion

            l.     Demotion shall be construcd as removal front a particular position with an
                   offer of a lower classified position clue to the employee's inability or
                   unwillingness to perform in the higher classified position. A changc of
                   title or duties alone does not constitute a demotion.




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                        Demotion may be considered a disciplinary action if not done for
                        budgetary and/or other reasons. The final approval must be given by the
                        Executive Director.

D.    Termination Proccdurc

      An employee may be terminated only by the Executive Director. Termination procedure
      is as follows:

          1.   A recommendation for terrnination with appropriate documentation shall he made
               to the Executive Director by the employee's direct supervisor. Written notice of
               termination will be prepared by the employee's direct supervisor with reasons
               therefore shall be delivered to the employee and filed in the employee's personnel
               file.

      2.       An employee who is to be terminated will be given two (2) weeks notice of
               intention to terminate, unless thc Director determines that retention of the
               employee is not in the best interest of LSA.

E.    Grievance Procedures

      The following grievance procedures shall be used for any employee grievanee involving
      probation. demotion or suspcnsion without pay. The employee should first discuss the
      issue with the immediate supervisor within three (3) working days after receiving notice
      of disciplinary action. If no mutually acceptable agreernent is reached within five (5)
      working days between the immediate supervisor and the employee, the employee is
      authorized to appeal to the next supervisory level. This appeal must hc filed in writing
      within three (3) workina days after the end of this five (5) day period. This supervisor
      shall rnake a decision within five (5) working days after receipt of the written appcal and
      shall cornrnunicate sanic to the grievant in writing within said time. The ernployee may
      appcal through all supervisory levels up to and including the Executive Director level hy
      following the procedure outlined above.

     'the iNeeutive Director shall make the final decision concerning rnatters involving
     probation. Matters involving demotion. suspension without pay or terrnination may be
     appealed finally to the Personnel Committee of the Board of Directors. Such appeal must
     be made in writing within three (3) working days of the decision of the Executive
     Director. The Personnel Committee's review shall he limited to whether or not the
     Executive Director acted in an arbitrary and capricious manner. This appcal shalt be the
     final appeal for matters involving dernotion, suspension without pay or termination.

4.   Resignation Procedures

A.   Termination of Employment by Employee Action

      1        When an employee resigns he/she shall ilive a reasonable amount of notice, but
               not lcss than four (4) weeks in the ease of exempt ernployees. and two (2) weeks


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                    in the case of non-exempt employees:

           2.      The employee shall provide written notice to his or her direct supervisor who shall
                   forward to the Executive Director of the intent to resign, stating the reason and the
                   effective date.

           3.     An employee who resigns frorn LSA and does not give the required notice will lose
                  all leave benefits due or to become due.

B.         Final paychecks shall be issued only after:

           a.      An exit interview questionnaire has been completed andfor exit interview has
                   been attended;

           b.      All keys and any other LSA property in the possession of the employee have been
                   returned; and

           c.      LSA has been reimbursed for any monies or advanced time owed LSA.

5.         Performance Evaluatians

Perforrnance evaluations will bc conducted in accordance with the LSA Perforrnance Evaluation
Manual.

6.         Outside Employment

Employees shall not engage in outside employment without their supervisor's permission. For
seasonal employment. such as that related to tax preparation, employees must request permission
to engage in outside employment annually. In no case will any LSA employee engage in outside
employment that:

       a.          Interferes with the efficient performance of the employee's duties;

       b.        - Constitutes a conflict of interest with the employee's duties.

       c.          Utilizes any resources of LSA (including but not limited to supplies, phonc, fax,
                   copier. computers. support personnel) duriniz work or non-work hours.

All exempt personnel employed by LSA are expected to devote their full professional activities
to LSA matters. Therefore, except for the limited exceptions outlined below. exernpt personnel
may not undertake outside professional employment.

The Ibilowing !United exceptions for outside legal work may be granted upon written approval of
the Executive Director.

      3.        Undertaking matters on a non-fee basis for relatives or close friends whcre the
                relationship and subject matter make it inappropriate to refer the matter to an


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                attorney in private practicc. Typical examples of cases falling into this category
                would be obtaining a divorce for a relative, litigating a minor lawsuit on behalf of a
                relative, handling an adoption for a close friend, or defending a relative charged with
                a misdemeanor. Any such employment shall not occur during the employee's
                regular or assigned working hours unless the employee, for any time period during
                which such work is performed, is on either annual leave or leave without pay.

       b.     Acting pursuant to an appointment made under a court rule or practice of applicability
              to all attorneys in the jurisdiction, and remitting to LSA all compensation received.

7.      Public Relations Guidelines

The following guidelinds represent the LSA policy for all staff when dealing with the various
news media. Any deviation from this procedure will be considered a serious infraction of the
LSA policies.

A.          Official Spokes Persons

            Thc Executive Director and the President of the Board of Directors arc the only official
            spokes persons for the organization.

B.      Advance Notice to Director

        Information on all cases of potential newsworthiness being litigated in court shall be
        given to the Executive Director or the Executive Director's designee as far in advance as
        possible so that news reporters may be alcrted and/or a press release prepared for
        distribution following the court appearance.

        Contact with Media

        No contact with thc media for any reason whatsoever (including litigation investigation)
        is to be initiated without first informing the Executive Director or the Executive
        Director's designee of the need, and discussing the best method of approach. If the
        media- initiates the contact, a timely response may be niade by the Supervising or
        Coordinating Attorney at his/her discretion. It is preferable that the Supervising or
        Coordinating Attorney then notify the Executive Director prior to making the response;
        but in any case the Supervising or Coordinating Attorney shall notify the Executive
        Director immediately after the response, providing background regarding the media
        initiated contact.

D.      Public Contact

        Employees asked by an outside agency or organization to appear on behalf of1SA, or to
        speak cebout LSA as a guest speaker or program participant, must notify the Executive
        L)irector or his/her designee before accepting the invitation, except when the employee
        has had regular-, periodic or ongoing appearances befo.re the specific a2eney or



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         organization and has notified the Executive Director. The Executive Director or his/her
         designee reserves the right to direct the employee not to appear on LSA.s behalf or to
         determine the content of the employees' presentation.

E.      Rules on Out-of-Court Statements

        All ernployees should be aware of and should conform to court rules and/or the
        Code of Professional Responsibility that restrict or prohibit out of court statements about
        particular cases.

8.       Political Activities

Employees of LSA arc suhject to the regulation of the Legal Services Corporation set out at 45
CFR 1608.

9.      Aeceptance of Gifts and Gratuities

Employees. members of the employee's immediate family, and members of the Hoard of
Directors are prohibited frorn accepting gifts, money or uratuities, from:

       a. Persons receiving benefits or service from LSA;
       b. Any person or cntity perfoi ling services undcr contract with LSA;
       c. Persons who are otherwise in a position to benefit from the actions of any employee
          of LSA.

10.      Ethics and Responsibility

A.      Code of Professional Responsibility

        It is the duty of each attorncy providing lcgal assistance to clients of LSA to become
        acquainted with and adhere to the Code of Professional Responsibility of the Alabarna
        State Bar and to protect thc best interests of their clients in keeping with the standards of
        professional conduct.

B.      Ultimate Responsibility

        A licensed attorncy shall have ultimate responsibility, subject to the office rules
        governinu eligibility, for each matter (litivation and non-litigation) with which LSA is
        involved. unless the case is one, which, by law. may be handled entirely by non-attorney
        personnel.

C.      Unlicensed Personnel

        All ernployces of LSA who are not licensed attorneys shall use carc to avoid any
        inadvcrtent violation of any statutes or rules prohibiting the practice of law by unlicensed
        persons and shall check with supervisory staff in doubtful eases before acting.



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 D.     Rcstrictions on Certain Activities

        A11 employces of LSA shall refi-ain from picketing, boycotts, strikes, illegal activities,
        and Icgislative and adrninistrative representation to the extent restricted by regulations of
        the Legal Services Corporation (45 CFR 1612).

11.     Office Hours and Work Location

A.     Regular Work Weck: The regular workweek is Monday through Friday. Each
employee is expected to work forty hours per week. Typical office hours are from 8:00 a.m. to
5:00 p.m., Monday through Friday. The Supervising or Coordinating Attorney sets the office
hours for their respective local office. The Executive Director may authorize office variances of
the workweek to comply with community practices. Employees ordinarily will not be allowed to
work through lunch in order to arrive late or leavc carly without prior approva] from the
employee's immediate supervisor. The scheduling of employee lunch periods will be determined
and assigned by supervisors.

B.      Employce Location During Work Hours: A1l employees are expected to keep their
offices informed of their location during office hours. Staff may not perform their regular work
at home or other locations without supervisor approval. When work takcs an employee away
from the office, the employee shall advise his/her supervisor of the destination and estirnated
time of return.

C.      Irregular Work Hours: An employee's work hours may be different from the above-
stated typical office hours to meet office needs and special employee needs if approved by
his/her supervisor. Consideration of the continuity of office services, employee participation in
important office activities. how long the schedule will vary, among other things, will determine
the supervisor's decision. Ordinarily, the scheduled workday shall include the same total number
of hours as a rcgular workclay. All work schedules must be approved by his/her supervisor.

D.      Unanticipatcd Absences from Work: From time to time, it is necessary for employees
to bc absent frorn work because of emergencies, illnesses, or pressing personal business. Earned
Time Off(ETO)is provided for this purpose for eligible employees. An employee who is unable
to report to work or arrivcs late is required to contact his/her supervisor hy 9:00 a.m. unless an
emergency exists. In any event, notice should be given as soon as practical and made during,
business hours. Noticc through another employee is not acceptable unless the supervisor is
absent. Leaving work during business hours to conduct personal business is not permitted
without prior approval from the employee's supervisor. Each employee is an essential member
of the tcam that rnakes LSA work for clients. Thus, being prompt and regular in attendance is
important. Excessive tardiness or absence from work may be grounds for disciplinary action.

E.     Leave or Pay Deductions for Absences: A full or partial day of absence from a regular
work day will be charged, as appropriate, to Earned Time Off. lf thc employee does not have
accrucd leave to cover the absence, it may be ncccssary for pay deductions to be taken to reflect
thc number of hours absent from work without approval. Failure to comply with I_SA's time and



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attendance policies may be cause for disciplinary action. (See chapter 6 number 20 for donated
leave policy).

F.      Office Closure Due to Inclement Weather or Emergeney. If severe weather
conditions or other erriergency circumstances exist, the Executive Director or his/her designee(s)
may close an LSA office for all or a portion of a day. The involved employces shall record the
time as paid Administrative Leave.

12.     Office Keys and Security Cards

Office keys, security cards, and parking decals for new ernployees may be obtained front the
Supervising or Coordinating Attorney or his/her designec. No keys may be duplicateci without
the consent of the Supervising or Coordinating Attorney or the Director of Operations. Upon
ending employment with LSA, all keys, sccurity cards, and parking decals rnust be returned to
the Supervising or Coordinating Attorney or Director of Operations.

13.     Use of Equipment and Prcmises

LSA supplies and equipment, including telephones, are to be used only by LSA staff and for
LSA purposes. LSA allows for de minirnis personal calls to notify family of safe arrival/late
departure. Any other personal long distance phone calls or cellular phone calls will not be
charged to LSA's account. Supervising Attorncys will ensure that telephone bills for their office
are reviewed and charges for personal calls will be reimbursed to LSA. Ernp]oyees are
responsible for reimbursing LSA for any personal phone charges for which LSA is hilled.
Personal use of supplies and equipment is strictly prohibited except as provided for in the 1.SA
Accounting Guide. Other exceptions rnay only be rnade when authorized by the Executive
Director as a professional courtesy and all actual LSA expenses arc reimbursed by the user.

14.    Computer anti Internet Usage

Program computer and internet systems provide valuable tools to help provide high quality, cost
effectivc legal services. As with our othcr program equipment, LSA's technology facilities are
for job-related duties. Thus, the use of computers and internet-related scrvices for personal use,
other than incIdental use, is prohibited. Further, program computers may not be used for:(1) any
commercial or illegal purpose; (2) playing games during business hours; and (3) obtaining or
transrnitting obscene. pornographic or harassing material. In addition, ernployecs and volunteers
are expected to obscrve thc security provisions of LSA's computer and computer-related systems.
Any misuse of Legal Services Alabama harckvare or software or related docurnentation may lead
to disciplinary action or discharge.

15.    Appcarance and Attire

Legal Services Alabama's public imaue is dependent on staff, individually and collectively.
People are inclined to judge organizations by the people who represent them. The personal
appcarance, quality of service. and positive attitude of staff are essential to creating and
maintaining a positive public image.



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 16.    Record Rctcntion and Document Destruction Policy

 Refer to the LSA Accounting Guide for LSA's policy on record retention and document
 destruction.

 17.    Equal Opportunity Policy and Procedure

 A.     Purpose

The purpose of thc Legal Services Alabama (LSA) Equal Opportunity Policies and Procedures is
to assure the right of all persons to work in, participatc in. and receive the assistance provided by
LSA without regard to race, color, religion, gender. disability, national origin, age, or any other
consideration prohibited by law. These policies protect-(1) any person employed by or seeking
employrnent with the prograrn,(2) any person being served by or seeking the assistance of the
program, and (3) any person participating in, or seeking to participate in a policy-rnaking,
planning, or advisory body of the program.

B.      General

The Board of Directors of LSA has tlic ovcrall responsibility for the Equal Opportunity Polieies.

        1.     The implementation of these policies is the responsibility of the Executive
               Director of LSA.
       2.      The Executive Director of LSA will review on a continuing basis all aspects of
               the programs operations to ensure that these policies are heing observed and to
               determine if additional affirmative efforts are necessary.

       Statement of Equal Employment Opportunity Pnlicv and Policy Against Threats,
       Harassment, and Retaliation

Legal Services Alabama is an Equal Opportunity Employer.

Legal Services Alabama policy .strictly prohibits discrimination, retaliation, or harassment on the
basis of race:color, religion, sex. national origin, age, disability or any other basis prohibited by
law. This Policy applies to recruiting, hiring, promotions, demotions, compensation, raises,
bencfits, training, facilities. discipline, and all other terms and conditions of employment.
Retaliation against any employee for making a goodfaith claim of-discrimination, retaliation, or
harassment is prohibited.

Legal Services Alabama will reasonably accornrnodate all disabled applicants and ernployees as
reasonably necessary to aid thc ernployee or applicant to perform the essential functions of the
job, provided that no undue hardship is causes to Legal Services Alabama and there is no direct
thrcat to health or safcty of themselves Or others. All persons with disabilities are invited to
notify Legal Scrvices Alabama and participate in an interactive process to deterrnine whether
reasonable accommodation without undue hardship is availahle. All information relating to
disabilities will bc kept confidential.



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Legal Services Alabarna strictly prohibits all forms of harassment of employees or applicants for
employment (whether by supervisors, co-employees, clients, suppliers, or other persons) on the
basis of race, color, religion, sex, national origin, age, disability, or any other basis prohibited by
law. Harassment may be verbal, written or physical. Conditioning employment, promotions,
raises, or any other terms and conditions ofemployment on sexual activities 07' se.vualfavors is
strictlylbrbidden.

Prohibited harassment also includes crcation of a hostile work environment on the basis of sex
through unwelcorne scxual advances or comments, slurs, stereotypes, jokes, pranks, innucndo,
graffiti, pictures, gestures, or physical contact of a racial or sexual nature, as wcll as offensive,
demeaning. or vulgar languagc Or actions directed towards ernployees bccause of their race or
because of their sex. Sirnilar conduct creating a hostile work environment on the basis of
religion, national origin, age, disability, or other illegal basis is also prohibited.

LSA maintains a "zero tolerance" policy for all types of harassment and for inappropriate,
unprofessional, or offensive conduct (whether on thc basis of race, color, religion, sex, national
origin, agc, disability, or any other basis prohibited by law). Legal Services Alabama policy
prohibits all degrees of inappropriate, unprofessional, or offensive conduct, including conduct
that may not be sufficiently severe, pervasive, or repetitivc to legally constitute harassment under
applicable laws. "I was only joking or kidding" will not be tolerated as an excuse.

Legal Services Alabama policy also prohibits all intimidation, threats, or acts of violence
committed on company property or by an LSA employee against any other LSA employee
(including supervisors and other agents of LSA).

Any ernployec who believes that he or she is bcing subjected to prohibited discrimination,
retaliation, threats, or harassrnent. or who witnesses what he or she believes to he such conduct,
or who in any way feels uncomfortable with the actions of Legal Services Alabama supervisors,
employees, or outsiders, must promptly notify one of the following persons:

       Fxecutive Director                                (334) 264-1739
       Director of Operations                            (334)241-8687
       Immediate Supervisor

NOTE: INDIVIDUALS WHO BELIEVE TIIA T TIIE Y ARE BEING HARASSED BY A
SUPERVISOR ARE NOT REQUIRED TO DISCUSS THE MA TTER WITH THE
SUPERVISOR.     THEY SHOULD NOTIFY THE EXECUTIVE DIRECTOR
IMMEDIA7ELY, OR THE DIRECTOR OF OPERATIONS, OR WIIERE APPROPRIATE,
77IE PRESIDENT OR VICE-PRESIDENT OF TIIE LSA BOARD OF DIRECTORS.


If the problem is not immediately resolved to the satisfaction of the employee, he or she must
then report such dissatisiliction, and his or licr earlier complaint to the LSA Board President.
Supervisors are required to report suspected or alleged violations of this Policy to the Director
of Operations and in his/her absence, thc lluman Resources Coordinator. Legal Services



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Alabama policy prohibits retaliation against any employee or supervisor who in good faith brings
any discrimination, retaliation, harassment allcgation or other suspected violation of this Policy
to the attention of Legal Services Alabama.

This policy applies to all LSA officers_ supervisors. and managers as well as employees. No
Company officer, manager, or supervisor has the authority or powcr over you to require you to
submit to unwelcome sexual advances or unwelcorne sexual conduct or to tolerate a hostile work
environment. If any officer, manager, or supervisor should ever make such an attempt, you
should report it immediately, as outlined abovc, and Legal Services Alabama will see that(1) the
conduct stops; (2) the manager or supervisor is dealt with appropriately; and (3) there is no
retaliation against you.

Al1 complaints of prohibited discrimination, retaliation, or harassment, or other conduct
prohibited by this Policy will be promptly and thoroughly investigated, and Legal Services
Alabama will take appropriatc action, includin2 remedial and disciplinary action if necessary,
based on the results of the investigation. Complaints will be kept as confidential as possible,
subject to Lcgal Services Alabama's duty to investigatc fully and take appropriate corrective
action. All employees are expected and encouraged to participate fully and freely in any such
investigation. and there will be no retaliation against any employee for truthfully participating in
such an investigation_

Violation of this Policy, including its no-harassment and no-retaliation provisions, will lead to
disciplinary action up to and including discharge, as appropriate in thc circumstances.

D.      Equal Opportunity in Employment. It is the policy of LSA to seck and employ
qualified persons, to provide equal opportunities in all aspects of employment. and tu adrninistcr
all personnel activitics in a manlier that will not discriminate against any person because of race,
color. religion, sex, disability, national origin, age, or any other consideration prohibited by law.

E.      Equal Opportunity in the Provision of Legal Services. lt is the policy of LSA to make
no distinction in thc provision of legal assistance to eligible persons because of race, color,
religion, sex, disability, national origin, age, or any other consideration prohibited by law.

       Provision of Legal Assistance

LSA will not, on the ground of race, color, religion, gender, disability, national origin, age, or
any other basis prohibited by law:

       1.     deny legal assistance to any eligible person;
              provide legal assistance to a person different in form or manner from that
              provided to others;
       3.     lreat differently any person in determining whether she or he is eligible for
              legal assistance;
       4.     deny a person the opportunity to participate as a member of policy-making,
              planning, or advisory body; or
       5.     establish legal scrviccs offices at locations with the purpose or effect of
              cxcluding persons from the benefits of legal assistancc.


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G.      Affirmative Action Goal

LSA is dedicated to a comprehensive recruiting plan to ensure that qualified candidates of
diverse backgrounds are informed ofjob opportunities and become part of the pool of candidates
considered.

H.     Benefits and Compensation

All compensation and fringe benefits, including access to training and educational programs for
employees of LSA will be determined without regard to race, color, religion, gender, disability,
national origin, age or any other consideration prohibitcd by lavv.

1.     Statistical Reports

To insure compliance with all equal opportunity policies, the Executive Director shall submit to
the Grievance/Personnel Committee of the Board quarterly statistical rcports of the race and sex
of all employees hiring during the quarter for which the report is submitted. ln addition to race
and sex, the report shall identify each new employee by name, office, position, salary, and
effective date of employment. Promotions and effective dates thereof shall also be reported on a
quarterly basis.

18.    Policy Prohibiting Sexual Harassment

LSA policy strictly prohibits all forms of sexual harassment of employees whether by
supervisors, co-employces, clients, suppliers, or other persons. Conditioning employment,
promotions, raises, or any other terms and conditions of enzployment on sexual activities or
sexualfavors is strictlyforhidden. Prohibited harassment also includes creation of a hostile work
environment on the basis of scx through unwelcome sexual advances or comments, slurs,
stereotypes, jokes, pranks, innuendo, graffiti, pictures, gestures, or physical contact of a racial or
scxual naturc, as well as offensive, demeaning, or vulgar languagc or actions directed towards
employees because of their race or because of their sex.

LSA maintains a "zero tolerance" policy for sexual harassinent and for sexually inappropriate or
unprofcssional concluct. Legal Serviccs Alabama policy prohibits all degrees of sexually
inappropriate, unprofessional, or offensive conduct, including conduct that may not be
sufficiently severe, pervasive, or repetitive to legally constitute sexual harassment under
applicable laws. "I was only joking or kidding" will not be tolerated as an excuse.

Sexual harassment is defined as unwelcome sexual advances, requests for sexual favors, and
other vcrbal and pliysical conduct of a sexual naturc When:

      Submission to such conduct is made either explicitly or irnplicitly a term or condition of an
      individual's employment; or

      Submission to or rejection uf such conduct by an individual is used as the basis of
      employment decisions affecting such individual: or


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     Such conduct has the purpose or effect of unreasonably interfering with an individual's work
     performance or creating an intimidating, hostile or offensive working environment.

Any employee who believes that he or she is being subjected to sexual harassment or other
conduct prohibited by this Policy. or who witnesses what he or she believes to be prohibited
sexual harassrnent of or other prohibited conduct toward another, or who in any way feels
uncomfortable with the actions of Legal Scrvices Alabama's supervisors, ernployees, or
outsiders, must prornptly inform, at his or her choosing, one of the following person:

               Executive Director                     (334)264-1739
               Director of Operations                 (334) 241-8687
               Immediate Supervisor

NOTE: • INDIVIDUALS WHO BELIEVE THAT THEY ARE BEING SEXUALLY
HARASSED BY A SUPERVISOR ARE NOT REQUIRED TO DISCUSS THE MATTER
WITH THE SUPER VISOR. THEY SHOULD NOTIFY THE EXECUTIVE DIRECTOR
IMMEDIATELY, OR THE DIRECTOR OF OPERATIONS, OR WHERE A PPR OPRIA TE,
THE PRESIDENT OR VICE-PRESIDENT OF THE LSA BOARD OF DIRECTORS.

If the problem is not immediately resolved to the satisfaction of the employee, he or she must
then report such dissatisfaction, and his or her earlier complaint to the LSA Board President.
Supervisors are required to report suspected or reported sexual harassment or other prohibited
conduct to the Director of Operations and in his/her absence, thc Iluman Resourccs Coordinator.
Legal Services Alabama policy prohibits retaliation against any employee or supervisor who in
goodfaith brings any sexual harassment allegation or other suspected violation ofthis Policy to
the ‘ittention olLegal Services Alabama.

This policy applies to all LSA officers, supervisors, and managers as well as employees. No
Company officer. manager, or supervisor has the authority or power over you to require you to
submit to unwelcome sexual advances or unwelcome sexual conduct or to tolerate a hostile work
environment. If any officer, manager, or supervisor should ever make such an attempt, you
should report it immediately, as outlined above, and Legal Services Alabama will see that(1) the
conduct stop§; (2) the manager or supervisor is dealt with appropriately; and(3) there is no
retaliation against you.

All complaints or reports of sexual harassrnent or othcr conduct prohibited by this Policy will be
promptly and thoroughly investigated, and Legal Services Alabama will take appi•opriate action.
including remedial and disciplinary action if necessary, based on the results of the investigation.
Cornplaints will be kept as confidential as possible, subject to Legal Services Alabama's duty to
investigate fully and take appropriatc corrective action. All employees arc expected and
encouraged to participate fully and freely in any such iryvestigation, and there will be no
retaliation against any employee for truthfully participating in such an investigation.




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Violation of this Policy Prohibiting Sexual Harassment, including its no-harassment and no-
retaliation provisions, will ]ead to disciplinary action up to and inc]uding discharge, as
appropriate in the circumstances.

The investigation of sexual harassment complaints shall he conducted under the direction of the
Executive Director in a timely manner.

Investigation Proccdure

A. Whenever an employee feels that she or he has been sexually harassed and/or molested by a
   co-employee or supervisor. she or he rnust, in writing, report thc incidcnt(s) to the immediate
   supervisor, I)irector of Operations or Executive Director in sufficient detail to permit the
   immediate supervisor, Director of Operations or the Executive Director to initiate an
   independent investigation of the facts.

B. All such complaints must be reported within 180 days of the last act or occurrence. Within
   twenty (20) business days froin receipt of the complaint, the irnmediate supervisor or
   Executive Director or his/her designee must have completed the investigation, written
   findings, and noticed both thc complainant and the allcged wrong-doer of the disciplinary
   action, if any, which will be imposed.

C. lf any party is dissatisfied with the disposition of the complaint by the immediate supervisor,
   a written appeal may be submitted to the Executive Dircctor. In cases where the Exccutive
   Director is the first management employee lo receive the complaint and a party is dissatisfied
   with the Executive Director's decision, such party may appeal directly to the Grievance
   Committee of the Legal Scrvices Alabama Board of Directors.

D. All appeals to the Executive Director or the Grievance Committee must be made within ten
  (1(1) business days from receipt of thc notice of lindinus and disciplinary action imposed.
   Appeals %vill not stay any disciplinary action imposed.

E. Upon receipt of any party's appeal, the director of Grievance Committee must conduct an
   independcnt investigation of the facts, and issue findings and disciplinary sanctions, if any,
   within fifteen (15) days.

F. if thc original cornplaint is against an immediatc supervisor. then the complaint must be filed
   with the Executive Director and the procedure outlined in B, C, D. and F. above must be
   followcd. lf the original complaint is a2ainst the Executive Director, the complaint must be
   filed with the Grievance Committee and the procedure outlincd in D and E must be followed
   except that, rather than appeal to the Grievance Committee. the complainant will file his or
   her initial complaint with this committee. Further, the 180 day time period for filing a
   complaint rcfcrcnccd in B still applies.




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19.     Rcporting Professional License Complaints

Alleged misconduct is a concern to LSA as it rnay give rise to serious issues about LSA's and the
involved employee's competence and could effect LSA's malpractice coverage. The purpose of
this policy is to ensure that LSA's management is timely apprised whenever serious complaints
of a profcssional nature are made, or crirninal conduct.

A.       Renortinu Professional License and Bar Complaints. Any employee who receives a
complaint from the Alabama State Bar Association or other professional licensing authority (e.g.,
notary, CPA, federal court, etc.) which requires a response shall provide a copy of the complaint
to the advocate's immediate supervisor within threc (3) working days of receipt. The supervisor
shall immediately forward ihe complaint to thc Executive Director. If the imrnediate supervisor
is not availablc, the complaint shall be forwarded directly to the Executive Director.

If the complaint is work-related or involves an LSA client or applicant for services, LSA
management shall take appropriate stcps to ameliorate or prevent any harm to LSA or thc LSA
client/applicant. Where deemed neccssary, LSA may participate in the complaint or grievance
process.

Thc employee shall provide a copy of the final resolution of the complaint to his/her immediate
supervisor who shall promptly provide a copy to the Executive Director. The Executive Director
shall forward a copy of any complaint and resolution to the Dircctor of Operations. As this
directly bears on the fitness of the ernployee or his/hcr lawful ability to fulfill job duties, this
policy applies whether the cornplaint originated front an LSA client/applicant or another source.
Only adverse determinations by the licensing authority or personnel actions taken hy
management predicated on the incident complained of will be placed in an employee's permanent
personnel file.

20.    Solving Work-Related Problems

Legal Services Alabama seeks to build a shared feelirm of pride and commitment to its mission
of making equal access to justice for all a reality. This requires that all employees work together
to build effectiveness and enthusiasm for LSA's work. It is realized that valid differences will
occur in the -work place. Usually, the differences may be inforrnally resolved between the
cmployees, co-worker and/or supervisor.

At any time an employee may contact the Operations Director and the I luman Resources staff
for help in resolving a problem. 1.SA may impose counseling, training, disciplinary or other
action, which, in its judQment, niost effectively addresses the problem. The complaining
ernployee will be advised that thc matter has been addressed and resolved.




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 21.    Drug and Alcohol-Free Workplace Policy

 A.     Legal Services Alabama is committed to providing employees, clients and guests with a
 drug and alcohol-frec legal work environment that is safe, productive, and conducive to the
 welfare of all.

B.      It is LSA's policy that any unlawful manufacture. distribution, dispensing, possession or
use of a controlled or illegal substance, in the workplace is prohibited. Violation of this policy is
considered a serious infraction of prograrn policy and will result in disciplinary procedures
including termination.

C.      Rehabilitation: Legal Services Alabama staff who are dependent upon controlled
substances, other drugs, alcohol, and inappropriate or illegal use of prescription drugs, are
encouraged to seek medical help for these problems. Employees seeking rehabilitation are
entitled to normal program benefits.

Normal disciplinary procedures based upon inappropriate job behavior related to chemical
dependency will not be erased by the employee's enrollment in the rehabilitative process.
Rehabilitation will bc considered as a factor. howevcr. in evaluating the appropriate discipline
for such behavior.

Failure to seek appropriate treatment. to complete rehabilitative programs, relapses, or the failure
to document rehabilitativc history to the satisfaction and at the request of LSA Management will
be considered willful misconduct which rnay result in immediate termination.

D.      Controlled or Illegal Substance: The term "controlled or illegal substance" means any
drug listcd in 21           §812 and any other state or federal law that restricts usage of a
substance. Generally, these are drugs with potential for abuse. They include "legal drugs" which
arc not prescribed or which are prescribed but inappropriatcly used.

E.      Notice of Conviction: Each employee is required by law and program policy to inform
LSA's Executive Director in writing within five (5) days after he or she is convicted for violation
of any federal or state crirninal drug or alcohol statute where such violation occurred on LSA's
premises or cturing the performance of work for LSA. A conviction means a finding of guilt
(including a plea of nolo contendere) or thc imposition of a sentence by a judge or jury in any
federal or state court.

F.      Notice to Funding AeCncy: Within tcn (10) days of receiving or otherwise acquiring
notice of such a conviction, LSA will, if required by a funding agency, notify the agency, if the
employee \vas dircctly engaged in work pursuant to the provision of a grant from such agency.

G.      Disciplinary Action: If 1.SA determines that violation of this policy impairs an
ernployee's ability to carry out their job-related duties. LSA will take appropriate disciplinary
action up to and including tcrmination front employment or require such employee to
satisfactorily participate in a drug abuse assistance or rehabilitation prograrn approved for such
purpose by a federal. statc or other appropriate agency.



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Further, LSA will take appropriate disciplinary action within thirty (30) days of notification that
an employee is convicted of a crime under a statute for drug-relatcd work activity occurring in
the workplace or while performing work, or require such employee to satisfactorily partieipate in
a drug abuse assistance or rehabilitation program approved for such purpose by a federal, state or
other appropriate agency.

H.     Maintenance of Drug-Free Workplace: LSA will periodically advise employees of the
negative consequences of drug use in the workplace. Further, employees will be advised of the
sourccs and availability of rehabilitative and social services.

1.    For Cause Testing: Each employee, as a condition of continued employment, is subject to
medical or physical examination or tests, including urine drug screen and/or a drug screen using
hair, at the determination of the Executive Director, providing the following conditions are met:

                 • If the employee's manager has reasonable cause to suspect that the
                   employee is in violation of this policy; or
                 • If the employee's job performance is dcficicnt in a manner which suggests a
                   possible violation of this policy.

If an employee tests positive for-cause testing and is determined to be in violation of this policy,
the employee will be required to:
               • attcnd a substance abuse program,
               • follow the attending physician and/or a qualified substance abuse
                    counselor's guidance,
               • agree to randorn testing over the next 12 months,
               • supply LSA with documentation of treatment and/or docurnentation that no
                    further treatment is necessary,
               • agree to remain substance free as a condition of employment,
               • bc responsible for any cost incurred that is not covered by LSA's medical
                    plan for trcatment,
               • voluntarily resign if the employee subsequently tests positive for any
                    subsequent illegal or un-preseribed substance and or being under the
                    influence of alcohol

Any adulterated specimen will be viewed as falsification and will result in immediate
termination.

Any employee who refuses to submit to drug testing will be considered to be insubordinate and
will bc terrninatcd. Additionally, if an employee refuses to submit to or cooperate with a post-
accident blood or urine test, he/she may forfeit his/her right to recover workers' compensation
benefits.

LSA recognizes that drug abuse and/or dependency are medical/behavioral conditions that can be
successfully treated. Employees with drug problems are encouraged to request assistancc;
however, a request for assistance does not excuse the employee front violation of this policy.


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J.      Employee Notice of Policy: All employees are to be made aware of this policy by being
provided a copy of the policy and all employees are required to read the policy and acknowledge
receipt and reading of the policy provided by LSA.


22.     Whistle-Blower Protection: If any ernployee, volunteer, or board member reasonably
believes that sorne policy, practice, or activity of LSA (be it financial or otherwise) is in violation
of the law. a clear mandate of public policy, or ethical standard, a written complaint shall be filed
by that employee with either the Executive Director or Board President at the discretion of the
concerned employee. The cornplaint may be anonymous and it will be kcpt as confidential as
practicable. The Executive Director or Board President shall investigate or cause to bc
investigated the wrongful activity, mernorialize thc results of thc investigation in writing, and
take corrective action if appropriatc.

Concerns should be reportcd that are either (1) good faith questions regarding the legality or
propriety of any action taken by one of LSA's officers, directors, employees or agents; or (2) a
good faith belief that sonie action needs to be taken for LSA to be in compliancc with laws,
polices, or ethical standards.

LSA will not retaliate against an ernployee, volunteer, or board member, who, in good faith, has
rnade a protcst or raised a cornplaint or threatened to do so with LSA or a public body including
law enforcement, against sorne policy, practice, or action of LSA or any entity with which LSA
has a business relationship, on the basis of a reasonable belief that the practice is in violation of
the law, a clear public policy, or ethical standard.

This policy was adopted to ensure whisticblower protection as required by the Sarbanes Oxley
Act (in particular 18 i 1S(' §1107) and the Legal Services Corporation. At a minimum, notice of
this policy shall bc given to all employees and board members by providing a copy of this
Employee Handbook and making thc Handbook a part of each LSA office's library for acccss by
thc puhlic and volunteers. A copy of the Handbook shall be posted on the LSA intranet.

23.     Smoking Prohibition

Smoking is prohibited in all LSA offices.

24.    Policy concerning Personal Relationships Between LSA Staff and Clients

LSA is committed to tlic highest standards of integrity and professionalism in its work, the
respect it shows its clients, and its irnage and reputation arnong members of the bench and bar,
and in the communities it serves. This policy is intended to ensure a professional relationship
between 1,SA staff members and the clients they represent.




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 A.     Statement of Policy    •

         1.    No LSA employee shall initiate, encourage, engage in, or attempt to engage in a
               dating, amorous, scxual, or intimate personal relationship with any current or
               forrner LSA client within two years following the cornpletion of LSA's
               representation of the client.

        2.     The only exccption to the above-stated policy is the situation when the
               relationship began prior to and is continuing at the time the client first sceks legal
               assistance or representation frorn LSA. In cases that fall within thc scope of this
               narrow exception, the LSA ernployee who is maintaining the ongoing relationship
               with the client shall immediately notify his or her supervisor of the existence of
               the relationship.

                      a.      In no case shall an LSA employee represent or otherwise assist in
                              representing the client with whom he or she is maintaining the
                              ongoing relationship that is excepted within the terms of this
                              policy.

                      b.      When an employee notifies his or her supervisor of the existence
                              of a relationship within the scope of this exception, the supervisor
                              shall analyze the likely impact that the. case may pose to the office
                              and shall rnake a decision on whether it is prudent for LSA to
                              extend in-house represcntation, representation through a PAI or
                              VLP referral, or to decline represcntation all together.

                      c.      In any event, a repon of any case that is either accepted or rejected
                              pursuant to this policy shall immediately be forwarded to thc
                              Executive Director and to thc Director of Advocacy.

B.       State of Disciplinary Actions for Policy Infractions

Any knowing violation of this policy shall be deemed a major infraction within the terrns of
LSA's Empldyment Standards and any employee found in violation therof will be subject to
disciplinary action pursuant to the policies and procedures therein.

25.      Policy concerning Representation of LSA Staff or Thcir Relatives

LSA is committed to the highest standards of intcgrity and professionalism in its work, the
respect it shows its clicnts, and its image and reputation among members of thc bench and bar,
and in the communities it serves. "rhis policy is intended to ensure a professional relationship
between LSA staff members and the clients they represent.




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'A.      Statement of Policy

         l.    Any LSA employcc, who becomes aware that a relative by blood or marriage is
               seeking representation in the office in which the employee works, shall
               immediately inform the supervising attorney of this fact.

        2.     In no case shall the LSA employee rcpresent or othcrwise assist in representing
               the client with whorn he or she has a relationship as set forth in this policy.

        3.     ln no case shall an otherwise eligible LSA ernployee or the otherwise eligible
               rclative of an LSA employee be accorded preferential consideration over other
               potential clients concerning the scheduling of appointments, the acceptance of his
               or her case, LSA's policies on the priority of Core cases, or the expenditure of any
               LSA resources.

        4.     If the case of an otherwisc eligible LSA employee or othcrwise eligible relative of
               an LSA employee is accepted for rcpresentation as set forth in this policy, the
               Supervising Attorney and the Director of Advocacy (or his or her designee) shall
               analyze the likely impact that in-house representation will have on the local office
               and determine whether it is prudent for LSA to direct representation,
               representation through a PAI or VLP referral, or to decline representation all
               together.

        5.     In any event, a report of any case that is either accepted or rejected pursuant to
               this policy shall immediately bc forwarded to the Executive Director and to the
               Director of Advocacy.


B.      State of Disciplinary Actions for Policy Infractions.

Any knowing violation of this policy shall be deemed a rninor infraction within the terrns
of LSA's Employment Standards and any employee found in violation thereof will be
subject to disciplinary action pursuant to the policies and procedures therein.




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Chapter 4               COMPENSATION
 1.       General PoHey

Ernployees of LSA shall bc compensated on the basis of salary policies and procedures in effect
at the time.

lt is LSA's policy to comply with the Fair Labor Standard's Act (FLSA) requirements_
Therefore, we prohibit all cornpany managers from making any improper deductions from the
salaries of exempt employees. We want employees to be awarc of this policy and that LSA does
not allow deductions that violate the FLSA.

If you believe that an irnproper dcduction has been madc to your salary, you should immediately
report this inforrnation to the Director of Operations.

Reports of irnproper deductions will be promptly investigated. If it is determincd that an
improper deduction has occurred, you will be promptly reintbursed for any improper deduction
made.

2.       No Retaliation Policy

No person shall be pcnalized or subjected to retaliation for filing a complaint of irnproper
deduction or for cooperating in the investigation of such a complaint.

3.      Overtime Policy

It is the policy o'iSA that all work be accomplished ‘kithin the normal workweek. However, in
the interest of quality legal services, any employee may be required to perform his or her duties
outside of regular office hours.

       a. Overtime work for non-exempt employees must be requested by a supervisor and must be
          authorized in advance by the Executive Director or the Director of Operations. Overtime
          pay sfiall be in compliance with thc Fair Labor Standards Act.

       b. lirnployees classified as cxcrnpt are not entitled to overtime pay or cornpensatory time.

       c. A11 time worked nlust be recorded and will be paid as either regular time or overtime, as
          appropriate.

4.      Time Sheets

Each eniployee shall fill out a Time and Attcndance Record, submit it to thc appropriate
supervisor for approval, and submit it to Central Office/Accounting. Time sheets may be faxed
in, and the originals mailed. (See Appendix A, LSA Form 4-1 ).




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5.     Pay Pcriods

Payday is every other Friday (except when holidays intervene). Ernployces turn in their two-
week Time and Attendance Record form on one Friday, and are paid for that pay period on the
following Friday. Paychecks will not be authorized until an employee's Time and Attendancc
Record has been received and approved.

6.    Statement of Earnings

Each employee will receivc a yearly statement of earnings. The yearly statement of carnings is
known as a W-2 with holding staternent, which provides the amount earned and the taxes that
have been withheld. The W-2 will I issued in January each year for use in filling income tax
torm s.


7. Direct Deposit

A11 LSA employees arc strongly cncouraged to utilize thc option of direct deposit. Each
employee ‘vill receive a stub, which will iternize pay and deductions in detail. Any questions
rcgarding direct deposit should he directed to the payroll /accounting department.


8.    Salary Advances

Advances on salary will be given only in emergency situations and only upon written request.
Advancc amounts will be limited to one (1) payroll period, and will further be limited to thc
amount needed to cover the emergency (unless the paycheck has already been cut). Such request
rnust be submitted to the Director of Operations for approval, and must state the emergency
situation for which the salary advance is needed. No rnure than two (2) salary advances per
calendar year may be given.


9.    Garnishments

LSA respects every employees right to privacy with regard to personal and confidential
information. However, LSA may he required, by law to witlthold a porlion of your pay if served
with a court notice of a garnishment, wage assignment, wage deduction or govcrnment levy.
When situations such as this occur LSA's payroll/accounting department will notify you of any
pending action involving such mattcr that requires a wage with holding situation.




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Chaptér 5              TRAVEL REIMBURSEMENT
1.      Allowablc Transportation Expense

a.     When an employee uses a private autornobile in the conduct of LSA business. s/he may be
reimburscd for his/her transportation expenses at the 1RS-approved standard mileage rate.
Travel between an ernployee's place of residence and hisiher office cannot be considered official
travel. LSA will not pay for any traffic citations—unoving, slanding or parking. No additional
reimbursement is made for auto insurance, repairs, depreciation, elc., but employees may be
reimbursed for miscellaneous expenses such as toll charges. local phone calls, parking meter or
lot expenses, and local carfare.

b. If forms of transportation other than a personal auto are used, actual cost is the basis of
reimbursement. Thc form of transportation used should be the least expensive consistcnt with
good sense--ordinarily less than first class on commercial carriers. The least expensive form
need not bc used where loss of time or effectiveness is disproportionate to the monetary saving.
In case an employee, tbr his/her own convenience, iravels by an indirect route or interrupts travel
by direct route, the cxtra expense will be borne by the employee.

c. Travel by taxi from an airport to a dcslination and vice versa is prohibited exccpt where no
more economical means of transportation is availahle or in circumstances where an employee
would have reasonable concerns about safety, missing a flight or public transportation would be
significantly burdensome due to health or othcr considerations, such as transporting luggage,
boxes, etc.

 d. Rental car. I.SA will reimburse for the use of a rental car for LSA business only in thosc
circumstances where the use of a rental car is the least expensive mode of travel. LSA business
does not include travel to/from hoine to work. Least expensive form of travel includcs all costs
associatcd with the acquisition, use and return of a rental car from a commercial entity. "Costs"
include, but are not limited to, travel to/from thc rental company, any claim by an employee for
overtime compensation. The employee must show that the costs associated with the rental car,
including gas and tax. are more cost effective than the use of a privately owned automobile
reimbursed al the IRS-approved standard mileage rate. Carpooling is encouraged among
employees when using a rental car. LSA will not reimburse employees for additional insurance
covcragc or additional benetits offered for the use of a rental car (such as, but not limited to, the
rental company filling the gas tank upon return of the automobile). The employee assumes sole
responsibility for any damage to or for any incident of damage incurred during the use a rental
car. LSA does not pay for automobile insurance coveratte.

2.     Per Diem

An employee is eligible for per diem only if authorized travel necessitates hislher being away
li•om both the city of his office and/or residence for overnight travel. The ernployee is then
eligible to receivc per diem for the entire period of the trip involved. Per diem is paid at the rate




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of $30.00 per day in-state and $50.00 per day out-of-state. A period is defined as the time
official travel starts and ends.

In computing per diem. the following rule applies: When using a private auto, an airp]ane, bus
or other commercial carrier for transportation between office or home and destination, official
travel begins at the time the employee leaves his/her home or office and ends when s/he returns
to his/her home or office.

3.       Lodging - Actual Cost. LSA will pay for the actual cost of lodging for an ernployee who
is on official LSA business within or outside Alabama for which payment is deemed necessary
as part of the travcl. When traveling within Alabama to Mobile, Montgomery, Huntsville or
I3irmingham on I.SA business, cmployees will lodge at the "direct bill" hotel/motel designated
by LSA. The only exceptions shall bc when lodging at a direct bill hotel is unavai]able.,or when
attending a conference/training and staying at the conference/training hotel. The Executive
Director's Assistant maintains a list of direct bill facilities used by LSA. If an employee must
travel overnight to Mobile, Montgomery, Huntsville or Birmingham, the employee will contact
the designated individual. Thc Exccutive Directors Assistant makes the arrangements for the
Executive 1)irector and the Regional Directors meetings and the Director of Advocacy's
Assistant makes the arrangements for the Director of Advocacy, the Advocacy Directors and
practice group meetings. The assistants will make the employee's lodging arrangements at a
direct bill hotel. LSA will reimburse for valet parking only if no other parking is available
within a reasonable safe disiance from the overnight accommodation. Additional costs of rooni
service must bc figured into the per diem rate and in no case will charges attributable to room
service and exceeding the per diem rate be reimbursed or covered. LSA will not pay for any
hotel accommodation charges in excess of the direct-bill rate if an employee elects not to lodge
at the LSA designated direct-bill faeility—unless the facility is the conference or training hotel.
In any event. if an employee elects to lodge at a facility which is less expensive than the direct-
bill facility, the employee will not hc compensated for the difference in lodging ratcs.

4.      Travcl Reimbursement Forms

The Local Travel Expense Statement should be completed in ink by an employee who l) has
uscd a private auto for official travel and 2) has not qualified for per diem. All relevant blanks
on the statement must be filled in appropriately and any necessary receipts attached before
reimbursement will be made. Casehandlers will attach a copy of their daily time keeping records
to the statement. (See Appendix A, 1,SA Form 5-1).

The Extended Travel Expense Statement should be completed in ink after travel by an employee
who 1) has used a carrier other than private auto or 2) has qualified for per diem. A11 relevant
blanks on the statement must be filled in and all necessary receipts attached bcfore
reimbursement will be made. When mileage reimbursement is sought, distanccs between points
of travel will be as shown in standard highway mileage guides, or an cxplanation will be
attached. (See Appendix A, LSA Form 5-2).

Extended Travel Authorization The Executive Director. Director of Operations and the Director
of Advocac?.. must approve all out-of-state travel. It is necessary that the travel authorization



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form relating to any given trip be approved prior to thc incurring of expenses. (See Appendix A,
LSA Form 5-3).

5.      Travel Advances

Travel advances may be made if tirne is available for Operations Services processing. A travel
advance is secured by completing a Trave] Authorization form, forwarding it to LSA Accounting
Services, allowing at least two (2) ful! working days for processing, and time for thc advance
travel check to be returned by mail. Travel advanccs rnust be accounted for by submitting a
Travel Expense Statement within one (l) week after the trip is made, or the advance will be
deducted from the ernployee's wages. Travel advances will bc allowed only be allowed for local
travel when the employee demonstrates a need in writing, and properly approved by the
einployee's supervisor and the Director of Operations.

G.     Travc! Reimbursement to LSA Board Members

LSA Board members may be reimbursed in the same manner as LSA employees, with two
exceptions:

        a) the per diem is paid without the requirement of overnight travel status;

        and

        b) the per diem rate for non-attorney Board members is $30.00 per day.

Non-attorney board rnernbers are eligible for travcl advances. Attorney board members are
eligible for reimbursement of travel expenscs aftcr travel is complcted and upon receipt of
complctcd travel reimbursement forrns and appropriate documentation.




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Chapter 6 LEAVE BENEFITS
I.      Holidays

A.     The following holidays are recognized by LSA as paid employee holidays:

        New Year's Day (January 1)
        Dr. Martin Luther King (Third Monday in January)
        Mernorial Day
        Independence Day (July 4)
        Labor Day (First Monday in September)
        Veteran's Day (November 1 1)
        Thanksgiving Day and the following Friday
        Christmas Eve and Christrnas Day (December 24 and 25)
        Each office shall designatc two floating holidays for the office

Holidays that fall on a Saturday will be scheduled for ihe preceding Friday and those that fall on
a Sunday will bc scheduled for the following Monday.

B.     Holidays During Earned Time Off(ET())

Holidays occurring when an cmployee is on Earned Time Off(ETO) will not he charged FTO
against the employee's accrued ETO. Employees will not be paid for holidays occurring during a
leave of absencc without pay.

Employecs leaving LSA will not be paid for a holiday falling on their termination date; the
employee must be on the payroll the workday before and after a holiday in order to be paid for
the holiday.

2.      Earned Time Off(Effective January 1, 2006).

A. Accrual of Earned Time Off: All eligible employees shall accrue Earned Time Offi See
Ernployee Classification, Employee Handbook ofLegal Services Alabama.

         1.   An employee begins to earn and accrue Earned Time Off with pay frorn their date
              of hire.

              An employee accrues Earned Time Off at the rate of 2.5 days for each full month of
              service for a total of thirty (30) days per year for the first two years of employment.

         3.   Ail employee accrues Earned Time Off at the rate of 2.93 days for each full month
              of service fbr a total of thirty-five (35)days per year from thc beginning of the third
              year of employment.




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Effective January I, 2006, all vacation and/or ETO will be referred to as Earncd Time Off
("ETO").

B.     Trcatrncnt of vacationiETO caps.

ETO will be capped annually at 1,040 hours for all LSA employees effective January 1, 2006.


C. Payment for accrued ETO at time of termination.
LSA eliaible employees, upon termination of employment from LSA and having given the
proper and required notice, may receive payrnent of no more than thirty (30) days [240 hours] of
accrued Earned Tirne Off at the time of termination. There will be no compensation for any
leave deposited in the ernployee's sick leave bank. Failure to provide the required terrnination
notice will result in the forfeiture of any payrnent for unuscd ETO. See the Employee Handbook
qfLegal Services Alabama, Inc.

D.     ETO cap treatment and the Sick Leave Bank.

While carryover that an employee can use for any kind of lcave from one calendar year to the
ncxt is capped at 240 hours, an employee may deposit ETO hours in excess of 240 hours up to
and including 1040 hours remaining at the end of the calendar year in the ernployee's sick lcave
bank. The hours in the sick leave bank rnay be used for: an employee's personal illness, if the
employee is prirnary caretaker for an imrnediate fannly member who is critically ill, or may be
donated to another employee who is ill or who is the primary caretaker for an irnmediate family
member who is critically iIl and qualifies under the donated leave policy. There is no sick leave
bank cap. The hours deposited into the sick leave bank are not compensable to the employee in
any way for any reason at any time.

E.     Use and Approval of Earned Time Off.

Employee requests for approval of taking Earned Time Off should be made in writing to the
immediate supervisor at the earliest time possible. A copy of the request and approval should be
retained by the employee to verify approval of the lcave when submitting a tirnc and attendance
report. Leave requests for five days or more should be rnade not less than one week in advance.
Employees are encouraged to include altcrnative choices for ETO (leave) dates.

Every effort should bc madc to grant leave requests. However, ETO cannot be allowed to
interfere with office or unit operations. All employees should check to see if there arc any office
scheduling conflicts hcfore scheduling ETO.

F.    Carryover and Pay for Earned Titne Off.

Employees may not carryover more than 240 hours of ETO from one calendar year to another.
Einployces are entitled to payment for accrucd leave up to the cap of 240 hours when dismissed
or upon resignation. llowever, payment of ETO upon resigning is dependent upon giving
required notice unfess notice has been waived hy the Executive Director bccause of



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extraordinary circumstances. When resigning with less than required notice, the employee shall
forfeit ETO.


G.     Donation of Earned Time Off

When an ernployee's own illness or that of an immediate family member for who the employee is
the primary caregiver has or is expected to exhaust all of that ernployee's accrued ETO and any
advance ETO which that employee may receive, the employee may apply to their imrnediate
supervisor for a donation of accrued ETO from other employees. The irnmediate supervisor will
confirm that the requests falls within this section and will also comply with any IIIPAA
requirements.

The employee and immediate supervisor will develop a short statement for circulation to all LSA
offices describing the employee's need for donated ETO and the estimated amount needed. The
irnmediate supervisor will then forward, for approval. the request and statement to the
Executive Director for final request approval. After the Executive Director approves the request,
the Executive Director will publish the staternent seeking donated leave for the employee.

All donations will be strictly voluntary. Employees desiring to donate ETO will inform their
immediate supervisor and the Executive Director of their desire to donate leave and will include
the number of hours to donate. Appropriate record keeping steps will be taken to rccord the
transfer. Appropriate steps will be taken to ensure the identity of those persons donating (or not
donating) ETO will be kept confidential, except for voluntary disclosures by such employees to
the employee requesting donated ETO.

An employee may donate up to thirty days(240 hours) ETO per calendar year. For donation and
accounting nurposes, cach employee's ETO will be considered equivalent to every other
employee's ETO.

No donated ETO may be used until all accrued ETO and advanced ETO (if allowed) is
exhausted. No recipient employee who used donated ETO will be required to "pay back" such
ETO either to LSA or the donating employee(s). Donated ETO not used by the recipient before
termination of the illness will be returned pro rata to the donors. Provided, that a recipient
employee rnay elect to have all or a portion of future accrued ETO transferred pro rata to the
donors.

H.     Termination nf Employment and ETO

Employees leaving l.SA may not take ETO on their last day of employment unless they have
received permission frorn the Executive Director and arranged to conduct all exit activities
bcfore last day of work. Thc termination date will be the last day worked. To be On ETO is
understood to mean that an employee will return to work.




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I.      Advanced Earncd Time Off

Advance of Earned Time Off is discouraged; however, upon wriUen recommendation from the
employee's irnrnediate supervisor and in extreme cases. the Director of Operations may authorize
an advance of up to ten (10) workdays of ETO. However, if the employee terminates
employment while owing ETO, such amount will be deducted frorn the employee's final
paycheck. Such leave will be authorized only if the ernployee has demonstrated good work
performance and has indicatcd that s/he intends to remain in the employ of LSA.

3.     Nonbalance-based Leave

A nonbalance-based leave policy is one in which tirne off is available but no balance is
maintained.

A.      Jury Duty

        When summoned for jury service, the employec must subrnit a copy of the summons to
        the immediate supervisor. While actually serving on jury duty, the cmployee shall be
        eligible to receive paid time off for this purpose for a maximum of twenty (20) working
        days with no loss of accrued Earned Time Off.

B.      Military Leave

        An employee who must take leave due to military obligations shall request such leave
        from their immediate supervisor and notify the Executive Director. Such notice should
        be made at the earliest opportunity after receiving orders to report. The employee shall
        follow all statutory requirements regarding time limits to return to LSA. LSA will ensure
        compliance with federal and state laws re2ardine reinstatement and benefits.

C.      Bar Exam Leave

        An employee who is eligible to sit for the Alabama State Bar Examination for the first
        time may he granted 120 hours of Administrative Leave to preparc for and take the
        examifiation. This leave is only given to first-time exarnination attendees. Leave may be
        given only upon the prior written approval of the immediate supervisor and the Executive
        Dircctor.

D.      Funeral Leavc

        Leave with pay, not to exceed three (3) days, will be approved for an employee in the
        event of death in his/her immediate family (see Chapter 2, Paragraph 4 for listing of
        immediate family).




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4.       Court appearance under court order or subpoena.

A.       Court appearance as a litigant

        An employee is entitled to take ETO necessary to appear in court as a litigant. Such
        leave will be ETO. If the employee's accrued ETO has been exhausted such leave will be
        "leave without pay."

B.       Witness Duty

        An employee is entitled to take ET() with pay to testify as a witness in a court or
        administrative proceeding if he/she has received a subpoena. Such leave will be ETO. If
        the employee's accrued ETO has been exhausted such leave will be "leave without pay."


5.      Leave Without Pay

Leaves of absencc without pay, for valid reasons, may be granted to an ernployee when
requested in writing_ upon recommendation the employee's immediate supervisor, and with the
final approval of the Executive Director. The length of time for leave without pay may not
exceed three (3) months. Anv extension of such leave mav be eranted by the Executive Director
for a period not to exceed an additional threc (3) months and in accordance with the procedure
set forth above. Leave of abscnce without pay will normally not be approved when an employee
has accrucd ETO to cover the absence with pay. Because of the difficulties presented to LSA by
long absences of employees, requests will be evaluated carefully and granted on a case-by-case
basis. Where an employee is placed on leave without pay status, s/he will not accrue benefits of
time in service during a leave of absencc, and will return at the same rate of pay as when the
leave beean.

LSA will grant an employee any leavc without pay. which is required by law.

6.      Election Day

Employees al'e encouraged to exercise thcir right to vote at the polls either hefore or after work.
Earned "fime Off may hc uscd for voting by employees who choosc to vote during norrnal
working hours.




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 Chapter 7            OTHER BENEFITS
1.       Organizational Memberships - Payment of Dues

LSA is restrictcd from using any funds provided by the Legal Services Corporation (LSC)to pay
rnembership fees or dues to any private or non-profit organization, whether on behalf of LSA or
an individual employed by LSA. A membership fee or dues payment is a payment to an
organization on behalf of the program or an individual ernployed by the program to be a member
of the organization, or to acquire voting or participatory rights in the organization.

LSC funds can and will be used by LSA to pay annual Alabama State Bar membership fees or
ducs on behalf of LSA attorneys as membership fees or dues are mandated by the Suprerne Court
of Alabama as a requirerricnt of the practice of law in Alabama.

LSA will pay notary public fees, as these fees are necessary for an employee to become a notary
public.

2.      Supplemental lnsurance Coverage

LSA maintains a $10,0(30.00 group lifc/AD&D policy on all regular full-time ernployees. All
employer-paid insurancc bcncfits arc contingcnt upon budtzetary limitations.

Employees may participate in supplemental insurance plans offered, such as, long tcrrn disability
(LTD), short term disability (STD), dental, vision, and voluntary term life insurance. Detailed
information regarding the plan and enrollment can be obtained from the Human Resources
Department and/or through the LSA portal.

3.      Healthcare

LSA presently maintains a group healthcare plan for full-time employees working thirty hours or
more a week. I,SA pays 100% coverage for the employee and 50% coverage for dependants
which is sub:set to change as this percentage is determined by the LSA Board of Directors. if
program funding perrnits. Employees designating dependent coverage are responsible for
payment of their share of the dependent premium as well as al] of their own and dependent's
medical bills. Payment of employee medical bills is not the responsibility of ISA.

LSA has a Section 125(b) cafeteria plan. An open-enrollment period will bc announced in
accordance with the Plan. For more information, contact the Human Resourees Department or
visit the LSA portal.

4.      Worker's Compensation

A.      Covera.ge: LSA maintains Worker's Compensation coverage for full tirnc and othcrwisc
        eligible employees. The coverage is thc amount and extent required hy Alabama's
        Workmen's Compensation Act. Title 25, Code of Alahama, 1975, Section 25-5-1, et seq.


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        Ali eligible employees are covered from their first day of employment for all injuries
        arising out of and in the course of their employment. For information regarding Worker's
        Compensation, please contact the Human Resources Department and/or the Director of
        Operations.

B.      Claims Notification: Any employee injured must report the injury immediately to the
        employee's immediate supervisor and the Director of Operations or Human Resources
        Department. Failure to report an injury promptly can result in the loss of benefits.

5.      Unemployment Compensation

Employees are covered by the State of Alabama Uneinployment Compensation Law, Titic 25,
Code of Alabama, 1975, Section 15-4-1, et seq., and are subje,:t to all rules and regulations
pertaining thereto. For inforrnation regarding Unemployment Compensation, please contact thc
liuman Resources Department and/or the Director of Operations or visit the LSA portal.

6.      Social Security and Medicarc

Payroll deductions are made at the combined Social Security and Medicare tax rate. LSA
matches the employee's tax contribution.

7.      Supplemental Rctircmcnt Plan

LSA offers a tax-deferred retirement plan which employees mav rnake their own contributions
for their retirement. Subject to the availability of funds, LSA may make einployer contributions
to individual accounts in an amount to be determined by the Board of Directors. For information
regarding the Supplcmenta] Rctirement Plan, please contact the Human Resources Department
and/or ihe i)irector of Operations or visit the LSA portal.




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  -)L- LEGAL SLRVICES
                      ALABAMA
                                             LEGAL SERVItES ALABAMA
                                               Time and Attendance Record

  FIRST NAME                                              LAST NAME
                                                                                               OFFICE

PAY PFRIOD ENDING



  l'AY                                                                                                                                             0
 PERIOD                                       SAT   SUN   MON     TUT-.   tkED   Tifir   FRI    SAT     SUN   MON   TUE   WLD   THU   Eirt.I       T
                                                                                                                                                   A
                                                                                                                                                   I.



                           PAI/P111
  I[OURS
 IN ORK ED
                            CDBO


                            III D


                           ACiING


                           ADI CA

                   *BIRMINGIIAM CAMPAIGN
                    (DOMESTIC VIOLENCE)

                    AMERICORPS DISASTER


                   AI .L. 01MR HOIIRS(ESC)

                                                                                                                                               1
                          HOLIDAY


                      EARNED I ME OFF
 klOURS
  C)FF
                        SICK LF.AVE


                   ADMINISTRArIVE LEAVE


                   OTIIER LEAVT= WIT]I PAY


                       LTA %T. AWO PAY


I certify the information reported is correct.


       I /ate                                                   Signature of Employee
Reviewed and Approved:



       Date                                                     Signaturc of Supervisor
*Birmingham



    ForITI   4-1                                                                                                      OPR: LSA Finance
                                                                                                                       Date: 07'06
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                                                        T jsc
                                                              Partsio-




  Legal Services Alabama

                                     'LOCAL TRAV7EL EXPENSE STATEMENT

   Mileage reimbursement is requested for travel on official business for rnonth of   , 20
   Reimbursement must be requested within 15 days after the end of the month in which the travel was incurred.

  Requestor                                                 Office



                       TOTAL MILES
      DATE              DRIVEN                                     DESTINATION AND PURPOSE




                                                                                       Total Amount Due $
Signature of Requestor                   Signature of Supervisor
Date:                                    Date
                                                                                                      OPR: LSA Finance
        LSA Form 5-1
                                                                         Director of Operations             Date: 07106
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 --=H-
    11                                                                      •
     7 SC
                                                           LEGAL SERVICES ALABAMA
                                                          TRAVEL EXPENSE STATEMENT
          Traveler                                                       Date                       Office

    I.    PURPOSE OF TRAVEL:

    II    ITINERARY
                                                                                                    Arrival
          Bspearture           Hour         From                   To               Date            Hour              'Mode of Travel




                                                   *Indicate Car/Bus/AiriTrain/Car Pool
    III   TRANSPORTATION
          Car: Nurnber of Miles               @               per Mile
               If driver, list passenger/s
               If passenger, list driver
          Air/Bus/Train: (attach unused copy of ticket)

    IV. LODGING (attach receipt)
         Date                    Amount                       Date           Amount                 Date           Amount



                                                                                                    Total Lodging        $

    V. OTHER EXPENSES (specify and itemize, do not claim tips related to meals)(RECEIPTS MUST BE ATTACHED


                                                                                      Total Other Expenses        $

                                                                                  TOTAL COST
                                                                              Amount of Travel Advance
                                                                            Reimbursement Requested

    certify that this statement and attachments are true, correct, and complete to the besi of my knowledge and belief, and the
   payment for the amount claimed for reimbursement has not already been received.

   Date                                    Signature of Traveler

  Date                                     Approved/Disapproved
                                                                                Supervising Attorney or Supervisor

  Cate                                     Approved/Disapproved
                                                                                Director of Operations



FOR ACCOUNTING DEPARTMENT USE ONLY

NOTE: Per Diem is determined based on the start travel and end travel dates provided by Employee

 In-state per diem = $30.00 per day
 Out-of-state per diem = $50,00 per day

                                                                                TOTAL TO EMPLOYEE $




                                                                                                              OPR LSA Finance
            LSA Form 5-2                                                                                           Date 07/O6
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                                                 LEGAL SERVICES ALABAMA

                                                  TRAVEL AUTHORIZATION

1. Traveler                                                                                                   Date

       Office

       Purpose and Dates of Travel


       Hotel Name and City

2. Mode of Travel: (circle one)
   • • Personal Car             • •Car Pool                     • -Train          • • Bus          • •Airline

3. Time in Travel Status:

       Departure from                                                      to
                                        (c ty)                                                       (city)

       Departure Time and Date

       Return Time and Date

       Estimated Expenses
           Common Carrier (Plane/train/bus)

           Mileage @         per mile

          Per diem @ $30 in state or $50 out of state

          Hotel $        per night x             nights

           Registration/conference fees

          Other; (specify)



          •'ADVANCE TO COVER TRAVEL EXPENSES REQUESTED                                             TOTAL


                                                                           Amount advanced to traveler


Traveler authorizes L.S,A. to deduct from his/her paycheck, the full amount of any advance expenditures which are not properly
accounted for with a Travel Expense Statement within one week of my return.




Date                                    Signature of Traveler


Date                                    Approved/Disapproved
                                                                                  Supervisor


Dale                                   Approved/Disapproved
                                                                      Executive Director or Director of Operattons
                                                                                                              OFR LSA Finance
          LSA Form 5-3                                                                                            Date 07/06
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        LEGAL
                   ALABAMA

                                 DONATED LEAVE FORM


 I,                              v,ish to donate as a direct grant to

                            the following number of Earned Time Off(ETO) hours.




 I understand that during a 12-month period 1 cannot donate more than 240 hours of ETO to other

employees.


DATED this       day of                      ,200




                                            SIGNATURE. EMPLOYEE DONATING ETO


APPROVED/D1SAPPROVED:




EXECUTIVE DIRECTOR

Dated:




I.SA Form 6-1                                                                OPR: LSA HR
                                                                                  Date: 07/06
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          LSA Interview and Hiring Policy                                                                        I
Event    Action                                                                                        Responsibility
l. Vacancy identified.                                                                                 Immediate Supervisor
         Notify I IR department of pending vacancy

                                                i
2. Prepare vacancy announcement                                                                        HR
          a. position
          b. minimum qualifications
          c. starting salary
          d. requested documents
          e. name and address to submit requested docuinents
          I close out date
          g. company's equal opportunity statement.

3. Submit job announcement for approval to Operations Dir.                                             IIR

4. Review for standardization                                                                           DO
         Rcview for compliance with LSA policy

5. Vacancy announcement puhlished
         a. Posted on intranet                                                                          Info. Services

          b. Posted in ncwspaper(s), local bar assoc. and law schools                                    HR       I
                                                 Director I and 11 positions (Dir., Adv.Dir, Reg. Dir.) Exec. Asst.
                                                         Supervising Attorney & Centra] Office Stall HR            I
                                                  Staff Attorney, field office support staff. paralegals Local office Asst

6. interview committee
          a. Identify members of interview committee                                                   Executive Team
          b. Interview tearn composition is determined as follows:                                              I.
             - Directors(Dev./Corn, Adv,Ops)                                                           Executive Director selects team
             - Re,(2ional Directors: Excc. Director, Dir. for Advocacy, Ops Dir.
                                                                                                                                         ,
             - Advocacv Directors: Exec. Director, Dir. for Advocacy. Ops Dir.
_            - Supervising Attorneys: Dir. for Advocacy or designee. Ops Dir. Regional Dir.
             - Field office attorneys. paralegals, support: Supervising Attorney, Regional Dir.
          c. Identifies committee chair and notifies Exec. Asst, HR Asst, or Office Asst., as applicable
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7. Rcceive resumes/applications                                                                    HR

          a. Receive resumes                                                                       FIR
          b. Verify auornevs arc licensed in Alabama                                               HR
          c. Sends hiring package to Intervicw Committee Chair                                     1 IR
             - Position announcement and position description
             - Sample hire letter
          d. Assembles and sends resumes to Imerview Committee                                     Local office Asst

8. Schedule interviews                                                                             Interview Commiuee Chair
                                                                                                            I         1
9. Conducts interview                                                                              Interview Comrnittee Chair

10. Committee makes recommendation to Executive Director                                           interview Committee Chair
         a. Prepare memorandum to Executive Director

11. Hiring Decision
          a, Receivcs and reviews recommendation(s)                                                ED
          h. Selects candidatc and determines hiring salary                                        ED
          c Notifies Interview Committee Chair and I IR                                            ED

 12. Notiícation
          a. Hiring Lctter prepared: start datc, position, starting salary                         interview Committec Chair
           b. Notifies HR of nonselects for interview and nonselects following interview(s)        Interview Committee Chair
           b. Nonselection letter(s) prepared and mailed                                           HR
                                                                                                            }
 13. Forward all applications/resumes to Central Office Human Resources Department for retention   Interview Committee Chair

 14. Retain all application/resumes in accordancc with records rentention policy                   1-IR
          I
 15. Remove advertisement from intranet and interilet sites.                                       Information Services


           Diagram 1. LSA Interview and Hiring Process
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           Charge of Discrimination: Artur          Da\ is

           I am an ..1frican-Arnerican male. In December 2016.1 Wa:, hired by Legal Ser.\ iccs
           of Alabama. Inc.(-I SA-)to ser\ c as its 1..xecuti.c Director.        salar\ was
           S110.000 per \ car. plus benefits. \I\ selection came alter a period of protracted
           turmoil, \vhich Ied to the resil.„tnation of the pre\ iouslAccuti‘c Director..linun\
           1:11 hvhite male). who had reed\ ed repeated weak evaluations ill the final years of
           his tenure.

            fhere were rri\ riad problems ai l.SA under 1.r\ 's watch. all of N‘hich damaged the
           organization. Fry's lackluster reputation in thc legal community had contributed to
           the loss of funding sources and partnerships. tinder Fry 's leadership. I.SA
           experienced major finzmcial crises. includine improper accounting practices. deticit
           spendine. and the forced layoff of mer 15 emplo\ ces due to mismanagement of
           program assets. An internal survey ofl.SA personnel commissioned during the
           search committee process revealed low morale across the proffain's personnel
           ranks. Fry ;Aas the subject of internal concents that hc had made sexuall\
           inappropriate comments to at least two female staffers (in a hoard meeting that I
           attended the day I Was hired. Fry openly observed in his departing remarks how
           minted\ c se\ cral of-the women in the room looked) and had abused lea\ e and
           mileage privileges. Despite thesc numerous examples of poor leadership. Fry was
           simplY placed "on probation-. for at least two consecutive Years. an event that was
           not imblicly disclosed and therefore did not materially affect his standing in or
           outside the program. When Fry submitted his resignation in December 2015. the
           da\ the board ofdirectors was preparing to terminate him. he was permitted to
           remain in place for an additional 12 months rather than being compelled to make
           an abrupt departure.


            ipon assuming the duties of kxecuti\ c Director, at the request of the board
           leadership and search committee chair. I undertook an aggressi‘c re\ iew of
           internal challengc› witi structural issues w ithin I SA. .1hese issues included: 1 t
             bor cmphAce morale due Ninl. to low compensation and \ cars \\ilium! emplo\ CC
           pay raises:. 2i a decline in office caseloads and attorney producti ity           the
           absence of impacthil litigation that might improY e the conditions of low income
           people and attract new funding suppow         irmilliiient porfncr!Thip!, With other
                            \IA-,CholtiC1'•„111d '
                                                 z")             ICLItliii1112. high Lnialit\ pci,onnel




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           1 encotintered immediate pei-sonnel challenges that required changes xvithin the
           organization. 1 he Operations Director at I.SA. I•ileen I larris, voluntaril resigned
           in late 2016. 1 larris had been accused in three separate Vs rinen complaints of
           creating hostile. intimidating environment for administratke staffers. and office
           relationships were strained. I.SA•s central office staff was not well structured. and
           there were significant gaps in major areas. including Finance, management of grant
           compliance reports. and external outreach and communications.
           1 also learned in the first weeks of my tenure that I.SA had been experiencinu
           significant racial tensions tor several years under Fry's tenure. Development
           Director Jaffe Pickett, an African American female, was the sole minority
           department head at I.SA, and sharcd a number of her views about the office's
           racial climate. Among other things. she stated that she had won her promotion to a
           kadership position partly through internal complaints to the national Legal
           Services Corporation that there were no black department heads at 1.SA. Pickett
           expressed that racial tensions between hlack and white staffers in the central
           administrative office were commonplace at LSA. Fairlj on, she expressed a strong
           opinion that two important open positions in the prol.,nam, Finance Officer and
           Operations Director, should not both he filled with white individuals. Pickett stated
           to me in February 2017 that the black employees in the central administrative
           office would consider it -.1xhitewashing- to fill these two jobs with whites and that
           she -could not support'. such a move.
           Despite Pickett's advice. 1 strongl, believed that I.SA should ernphasife
           experience and quartileal.ons over race in hiring and that di\ ersit, would be
           achieved without setting. quotas for particular positions. Piekett•s judgment
           notwithstanding. I hired a white female,(Marione Rand. to run the Operations
           Ikparnnent and a %%bite male to handle finance operations. both of whom had
           superior credentials and references as compared to two black finalists.

              er the course 01 ni\ tenure as 1.1). 1.SA made substantiol strides that 1koll
            idespread accolades from board members. stakeholders outside the organi/ation.
          zind rank and file         ces, I he accomplishmeins included (1 I unanimous board
          appro‘ al of comprehensk c Iri, raises and a bonus plan for emplo ees: (21 a surge
          in CITIPIO\ CC morale. as described 11\ numerous emplmees,        stabili/inii a pattern




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           adeclining caseloads after three straight \ears of reduced client SCE\ ice.(4)the
           creation of a I ligh Impact I.itigation 'nit. an Ilducation Practice group. a \ eterans'
           outreach initiati\ e in the Nlontgoiner\ office. and a campaign to assist ex-offenders
           \\ ith restoring their rights to ote under a fle\% Alabama law: and (.51 replacine
           departing personnel v,nh d pool of di \ erse. highl\ qualified new attorneys.
           including two experienced lateral anoine) hires.

           I also strengthened the per1Ormance ufthe central office b) replacing a ininimall
           performing administrative staffer with a highl) qualified replacement. adding a
           \ eteran Chief Financial officer to twersee LSA's long troubled financial
           operations. adding a communications staffer to improve organifational
           and hiring an experienced grant manager. All of these hires remained wen in line
           with LSA's personnel hudget for the l'Y 17 fiscal year.
          ()`er the course of the spring and summer of 2017, LSA continued to struggle in
          one arelL tensions and anirnosit< amtmg central office employees, which seemed
          Mien to bplit along racial lines. After Rand raised the pa.
                                                                    )of two \\ hitt: aceountine
          clerks under her supervision. Pickett complained that two African American
          Alministrati\ c staffers should have received raises too (although both were already
          the highest compensated administrative staffers in the program and were set to
          receive raises as part 01 the new. compensation plan).

           Pickett became an increasingly disrupti\ e and insubordinate force. complaining to
           various emplo)ees that I was siding with Rand mer her. Pickett became openly
           hostile to a white female gram manager. Mar) Aplin. including making belittling
           remarks about her in at least one staff meeting. conduct that caused Aplin to file a
           hostile en\ ironment claim with the Office of Inspector General at the national
          1.egal Services Corporation. Pickett's own assistant. Dorothx Graham. a hlack
           female, sent me a racial!\ charged message that I had reinstated -.lint Crow - and
           was tOrcing "Hack people- in the central office to he subserx ient to ihe -whites-.
          (iraham and the proeram's Lxecuthe Assistant. S)1\ ia Alason. a Hack female.
          became openk hostile to Rand and increaNin121\ to in\ leadership Os 'tk ell. In earl,
           Augu,t. 2(117. Pickett confidential!) approached the leadership of the board.
          including 1 aVeeda Hanle. a black female. ith \ ariet\ of deliberatek false
          claims about the program's direction and in) leadership t I learned of this e\ era
          through internal sources in in \ linal hours in the




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            On August 18. 2017- rather than ask my side of PicketCs claims. LaVeeda !tattle
            notified me that the Executi% e Committee of the Board of Directors of 1..SA %%as
            going to conduct an "internal investigation of m% leadership, and that I would hc
            placed on administrati%e leave during that in‘estigation, 1 was ordered to %acme
            ni% office and barred from hav ing an% access to I.SA facilities, properties or
            records. I was also instructed that. as an I,SA employee. I musi "retrain from an.
            action and avoid public- announcements that might reflect adversely upon I .SA.-
            Pickett, although thc source of the complaints about my leadership. %%as named
            Executive Director. pending the completion of thc investigation.

           Prior to being suspended, I was given no notice whatsoe%er of either board
           concerns about my leadership or of Pickett's complaint. Battle did not ad% isc me of
           the allegations hcing made against me nor gi% c me any chance to respond to them
           before placing me on administrati‘e leave. To the contrary. Battle and other board
           members had effusively praised my work and thc new direction in the program,
           which had incidentally hccn detailed exhausti% ely in my monthly reports, in two
           hoard meetings in 2017, and in numerous entail informational exchanges %vith
           Battle in her role as hoard president. Battle had said to me in mid-June that I %%as
           "doing an excellent joh".
           In addition, I3attle failed to seek an% corroboration of Pickett's claims front other
           department heads, including the director of advocacy, thc director of operations.
           and the chief financial officer. Battle deliberately took the word ()Ione self-
           interested staffer as gospel, without c(1nsulting any other leaders of the
           organization. Battle also included in the document suspending me numerous
           statements that were demonstrably falsc, easih. subject to heing disproved. or that
           entirely misstated the scope of hoard authority under the organization's hylaws.


           Because of the high %isibilit% of the role of I. xecutive Director or 1.SA in hotli
           legal circles and the social ser‘ ices commtinitN. the Board's decision to place me
           on administratke lea% e injured and COMMUCS 10 injure in% reputation and unfaill%
           labeled me Js someone v% hi) ha,    . engaged in improper conduct. Ihe administrati% e
           lea% c triggered numerous false rumors regarding improprieties. sonic of %.% hich
           Battle and Pickett ma% hii‘e souglu foment w damage in% professional standing.
           !raked. Battle c% cn hired at a $7500 expense to ESA a political consultant who
           mana,..„, ed a comrai;41-1 against MC 1‘‘o ear, ;1.:1!o, hoNe specialties include negmi% c




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           reputational attacks. ill an effort to gather or disseminate negatke information
           about me. Because of the pen ask e negati‘e rumors, and the need to separate
           myself from the organiiation to adequatek defend irk self, I had no othcr option
           but to resign as Exec:ink e Director. 1 resigned in an email to the staff and hoard on
           the e% ening of Aueust 23. 2017.

            I believe that 1,SA discriminated against me because of m‘ race. African
            American. and       sex, male, in violation of Title VII of the Ci‘il Rights Aet
           amended. One basis for this belief is that LSA's treatment of me is in stark contrast
           to the manner ESA treated m) white predecessor Jimmy Fry. and another high
           ranking staffer, former Operations Director Eileen Ilar.is, a white female. Despite
            Fry 's documented history of poor performance, despite serious issucs around his
           character in thc workplace. and despite a record that would havc merited
           termination by any reasonable standard, Fry was never subjected to the darnaging
           event of an administrative suspension. When Fry`s issues finA placed hini in
           jeopardy, of termination, he was given the face saving opportunity of a year-lone
           transition and "voluntary- retirement. In I larris' case, she was the suNect in late
           2016 of documented written complaints by three staffers that she had subjected
           them to verbally abusive, bullyine behavior. The Board launched no internal
           investigation, took no actions t(1 discipline [lards. and g.enerated no documents
           accusing I larris of harassment or crcating a hostile environment.
            I also believe that 1,SA discriminated attainst rne because of m) race in iolat ion of
           Title VII of the Civil Rights Act as amended, in that the Board President rewarded
           an invidious double standard that as an African American executive. I should ha\ e
           aligned myself in favoritism with hlack employ ces clashing with their white
           counterparts. Ordinary exercises of executive discretion were seen as favoritism for
           ‘% kites. Reliance on racial stereotypes or norms is a ‘iolation of Title VII. Sec
           Kimb/e 117.%, Av ]     . of wwqdorn: Developinon. 690 F. Supp.2d 765 (IA).
           20 lot.
          In addition. l belie\ c that the extreme weakness olthe tactual grounds I .S.A cited
          to take ad. ersc actions against me are Ntrong idence of pretext. and therefore
          circumstantialk probati‘ e of a discriminator\ intent. 1 bel le% e that 1    choice to
          rc on Hints\ easily disprox able charges ‘k, idiom even a pretense or fact finding to
          suspend me w ould enable                    hidden discriminatorti intent. hased on
          either the lioad President's desire to punish me for not siding v, ith black




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 employees or lOr improper flo.oritisin on the Board President's part toy,ard Jaffe
 Pickett for reasons of gender hias.     Rct-ve v. Sanderson Plund».ng Prochh.1.%
    .530       133, 147(2000)("it is permissible for the trier of fact to infer the
 ultimate fact of discrimination from the Usit‘ of the employer's explanation-.)
 TherelOre. I believe that a reasonable jury could conclude thai I.SA discriminated
 against me because of my race or gender in violation of'rifle VII of ihc Civil
 Rights Act as amended.
 I declare under penalty of perjury that the tOregoing is irue and correct.



  ik-144, 09,40
 Aruir    Davis




 Date




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          Mr. Robert Beard
          Equal Employment Opportunity Commission
          Ridge Park Place
          1130 22nd Street
          Birmingham Alabama 35205

          Debra Powell
          Equal Employment Opportunity Commission
          Ridge Park Place
          1130 22nd Street
          Birmingham, Alabama 35205

                 Re     Charge No. 420-2018-00074
                        Charge No. 420-2017-02792


          Dear Mr. Beard and Ms Powell

                The following information is provided as the response to ihe above capiioned
          charges.

                                        Respondent's Position Statement to
                                            Charge No. 420-2018-00074
                                            Charge No. 420-2017-02792

                 This Respondent's Position Statement is an initiai response with respect to the
          above-referenced Charges of Discrimination (the 'Charge") fiied by the Charging Party,
          Artur Davis ("Mr. Davis") The information set forth herein is based upon the preliminary
          investigation of the Charge, and Legal Services Alabama reserves the right to amend or
          supplement this statement as appropriate Additionally, Legal Services Alabama does
          not consent to the use of this position statement in any adjudicatory proceeding

              1. Description of Organization

                 Legal Services Alabama (I—SA) if a federally funded statewide prograni that
          provides free, high quality representation to low income and vulnerable individuals and
          families throughout the state of Alabama rncluding Veterans, the elderly, victirns of
          domestic abuse foreclosures and disabled individuals

                LSA's Board of Directors, management and staff work together with partners
          statewide to fulfil its rnission• To serve low-income people by providing civil regal ard and
          by promoting collaboration to find solutions to problems of poverty There are
          approximately 80 employees, with offices in Huntsville, Brrrningham, Tuscaloosa,
          Montgomery, Selma, Mobile and Dothan




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                 Relevant sections ot the Employee Handbook are attached.

              2. Backqround Information

                After an extensive year long search process, Mr Artur Davis was hired as
         Executive Director of Legal Services Alabama (ESA) on December 6, 2016 The Board
         and staff immediately began working with Mr Davis to assist with his transition to this
         new position

               Within months, it became evident that Mr Davis was resistant to Board and staff
         suggestions about existing work on priority cases and with existing partners.

                At the first Board of Director's meeting after Mr Davis oecame the Executive
         Director, the President of the Board noticed that some of our partners and funders who
         had attended in the past were not present. She had a discussion with Mr. Davis about
         this and his need to heal relationships wilh people working with us who had previous
         working experiences with him He took the position that the meetings should be closed
         to partners and funders He disagreed with the Chair, and many partners who previously
         had been invited and attended the Board meeting were not there at Board meetings once
         he became Executive Director.

               VVithin less than six months into his new job, in June, 2017, the Executive
         Committee met extensively with Mr. Davis in person about the program policy on reserves
         and equitable cornpensation for staff. Mr Davis believed he should be able to spend
         down reserves without Board approval or policy parameters established on spending

               At that time, it was clear that the President l rump's budget provided "zero' funding
        for Legal Services nationwide. The threat remained imminent that there may be cuts in
        funding from LSA's largest funder The Board was concerned with being able to withstand
        the possibility of deep federal funding cuts at the national level, maintaining sufficient
        reserves to retain staff as long as possible, and being able to continue to serve clients

              3. Response to the Charges of Race and Sex Discrimination and Retaliation

                Mr Davis allf..1ges  1iJ2s. discriminaled against based on his race, sex and lie
        alleges ietaliation 1 SA denies these allegations as unfounded and inconsistent with the
        facts in this case

               Mr Dav:s statemcnts that the phor ESA Executive [rector resigned due to turmo6
        are untrue The previous Executive Director provided one year's notice of his intent to
        retire (Ex 1) His other statements about the former Executive Director (White male) are
        likewise untrue: and irrelevant to his charges in this case Recounting the history of a
        previous adrninistration under wholiy dissrrnilar circumstances is an insufficient
        evidentiary basis to support a claim of race or sex discrimination




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       The Board President never directed ivir Davis to 'seek an aggressive review of
internal challenges " The other allegations raised by Mr Davis regarding Board action
are also untrue.

        tvVithin two months of the meeting between the Executive Committee and Board
with Mr Davis urging that he follow an equitable compensation plan for employees and
preserve budgetary reserves, Mr. Davis appeared to be hiring new employees at
arbitrarily higher salaries than comparable existing long term employees, paying new
employees sign in bonuses, and creating new positions for former campaign workers
outside of the newly adopted equitable compensation plan all without Board approval or
Finance Committee approval for changes in the budget.

       The Executive Committee heid three meetings to discuss these issues Ihe
Executive Committee met in person in Executive Session on August 2, 2017. A
resolution was drafted to address specific guidelines for greater budgetary
accountability and personnel issues for Mr. Davis Additional telephonic sessions were
held by the Executive Committee On August 16, 2017, the Chair of the Board received
notice of allegations of a hostile work environment created by actions by Mr. Davis
against female employees

       Mr. Davis advised one of the members of the Executive Commthee of his intent
to resign on August 17, 2017. (Ex. 2) The Executive Committee held a teleconference
with Mr. Davis. During the telephone conference Mr Davis confirmed his view that the
Board had no role as he was the "ultimate decision maker" on matters hiring/firing and
compensation. (Ex. 3)

        Upon receipt of the hostiie work environment, and the explanation from Mr, Davis
essentially that he had no accountability to the Board, the Executive Committee met and
approved a resolution to place Mr. Davis on leave pending an investigation into the
hostile work environment claims. and personnel actions affecting the budget.
        Under the LSA adopted Equal Opportunity Policy and Procedures, ail cornplairns
of hostile work environment were due to be investigated. The Policy specifically
provided that an LSA employee may notify the Board President where appropriate

       The Resolution and letter piacing Mr Davis on ieave were hand delivered to Mr
Davis at the Montgomery Central office before 5:00 p.m. August 18, 2017. Upon receipt
of the resolution and letter, Mr Davis threatened to expose LSA to negative press and
to take action against L SA (Exhibit 4 Exhibri 5)
The Executive Committee. by                 ciUthol IUd the hire oi a public relations

person to address any potential negative press created by Mi Davis's public response.
and security to assure the safely of staff (Exhibit 6)
        21c:- that evening. at C. p      August 18, 2017. Idlr Davs sent a one sentence
email that he intended to file a clarm of race discrirrunation against 1 SA (Ex 7) At that


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          time, Mr. Davis was on notice that he was being investigated for hostile workplace
          claims, and had been placed on leave.
                 Mr Davis was advised to refrain from any action and avoid public
          announcements that might reflect adversely on LSA. (Exhibit 5) Mr. Davis violated this
          provision of his leave by releasing negative statements to the press. (Exhibit 8)
                nn August 22, 2017, Mr Davis announced his resignation frorn his position as
          Executive Directoi of LSA (Ex. 9)

                 The Board proceeded .vvith its investigation into the allegations regarding Mr
          Davis. conduct and retained an independent investigator to investigate the cornplaints
          The confidential report from the investigator found merit in most of the allegations in the
          Resolution and found even more egregious conduct than that provided in the resolution
                Under these circumstances, the actions by the LSA Board and Executive
         Committee were wholly consistent with its obligations under its EEO policies and its
         internal Employee Handbook, and were not discriminatory nor retaliatory against Mr.
         Davis.
               4. Conclusion

                t    denies the allegation that Mr. Davis was discriminated against on the basis
         of race or sex, or that he was retaliated against by placing hirn on leave to investigate
         complaints of hostile work environment His alleged notice of intent to assert rights
         under Title Vll was sent to the President of the Board after Mr Davis had been placed
         on leave. No adverse action was taken against Mr. Davis up to the time of his
         resignation on August 22, 2017. Therefore, no action by the Board or Executive
         Committee that could be remotely viewed as retaliatory affecting the terms and
         conditions of his employment
         LSA reserves the right to amend this position statement at any time.


          (All Exhibits are Confidential)
                                                             Respectfully submitted,


                                                                       ( I
                                                                                        )
                                                                        '
                                                             \
                                                             haVeecla Morgan Battle
                                                             President, Board of Directois
                                                             Legal Services Alabama




                                                                        Defendant                       D00015
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 nvolc                               Attention:        Celeste Minor
                                                       Jemison & Mendelson




                                     Date              February 28, 2019



Suzanne Johnson
120 CR 83
                                     P.O. NUMBER:
Union Springs, AL 36089
T Work Phone 334-312-0411            INVOICE NUMBER:1772 Platt Place
F Work Fax Phone 334-584-7482
Work Email borderacres@mon-cre.net



                                                       Description           Quantity   Unit Price       Cost
                                     bi-weekly cleaning for January 11, 25              $            $    200.00
                                     February 8, 22                                                  $    200.00
                                                                                                     $      0.00




                                                                                        Subtotal


                                                                                        Total        $    400.00
                                            •




                                     Thank you for your business,

                                     Suzanne Johnson
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8131/2017                                                           Gmail - atiacriod radio spot by Hank Sanders

                                                                                                            LaVeeda Battle <laveedab@gmail.corn>

  attached radio spot by Hank Sanders
  Artur G. Davis <agdavis@alsp.org>,                                                        Mon, Jul 10, 2017 at 2:22 PM
  To. LaVeeda Battle <LaVescia@banlelawrirm.corn>
  Cc' Yvonne Saxon <yvonne.saxon@gmail.com>, Phil Mitchell <prnitchell@harriscaddell.00m>, Merceria Ludgood
  <mludgood@mobile-county.net>,'Linda W.H. Henderson" <lwn@henderson-esq.net>


    Laveeda, you rnay have forgotten that I have already raiseo this initiative and these clinics in detail by both email ard
    hy phone with ISC compliance personnel and the general counsel's office l rnade that clear in a conversation with
    you befnre the last board meeting and during the board meeting itself Nnt only has LSC sanctioned these events, the
    general counsel's office praised them as valuable legal aid contributions.



    To make sure all of you uncerstand, these clinics, consistent with LSC instructions in my conversations with LSC
    personnel and the plain language of the regulations, will not register voters or engage in voter registration activity.
    voter registration activity wiH not he alloweo on the premises, instead, these clinics will educate potential voters on
    the srnpe of the new moral turpitude law; and assist qual fied a rid income eligible individuals with the administrative
    process for receiving a certificate of eligibility from the Board of Pardons and Paroles.



    In aod one final point, the LSC general counsel's office clarified that under LSC tegs, activity which eventually leads to
    registration is noi votPr 'egistranon activity Such acrivity is literally defined as preparing or assisting with the
    preparation of registi anon forms.



    l hope this email clarifies this matter




    Artur t; Davis, Executive Director

    Legal Services Alabama

    2567 Fairlane Drive, Suite 300

    Montgomery. Alabama 36116

   334.223 5120



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   From: laveedati@gmail.com                                                     Corn] On tiehalf Of E aVeeda h?,ttle
   Sent: Monday, July )017 7.01 Pm

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6 Month Personnel Update

To:    Personnel Committee

From: Executive Director



The mid-year point is a good time to update the Personnel Committee on changes in our personnel
roster and a re-alignment of some central office duties. As you are aware, LSA has continued to
experience regular turnover for much of the year, and the central office has been in the midst of
restructuring to reflect the demands of a statewide program. As I outline these changes, I will also
comment on improvements we have introduced to the hiring processes for new lawyers.

Central Office

The structure under past leadership

Under the past ED's leadership,the central office structure consisted of an Operations Director with one
administrative assistant; a Resource Development Director aided by a development coordinator; an
Advocacy Director with one direct report, a case management database coordinator; an IT manager who
directly reported to the ED; a book-keeping staff of two who jointly reported to the Operations Director
and an external accounting firm, Warren Averett; and an executive assistant for the ED, who also
coordinated board relations. Until early 2016, the central office also featured a PA1 coordinator who was
tasked with leading LSA's collaboration with volunteer lawyer programs and reduced fee contract
attorneys.

While reasonably straightforward on paper, LSA's centrai office structure was plagued with
inefficiencies: the duties of the Operations Director were closer to those of a Chief Operating Officer or
Chief of Staff. The OPS Director's very expansive role ranged from HR responsibilities, including on-
boarding, benefits management, employee evaluation, discipline, hiring processes, and leave approval;
to supervision of LSA's internal book-keepers and liaison with Warren Averett; control of attorney
training, including final approval of all attorney travel to CLEs and conferences; property management
and vendor relationships; grant administration, including all reporting and compliance obligations, and
serving as the principal point of contact for LSA grantors; a broad role of leading executive initiatives
from strategic planning to workforce reduction; and a responsibility for managing LSA's other executive
department heads. This array of duties was performed with the assistance of one administrative aide,
whose prior experience was customer service in fast food retail, and who had no substantive experience
with any core OPS responsibilities.

LSA's Resource and Development Department was limited in scope, consisting of grant writing and
identification of grant opportunities; and a limited engagement with fundraising, usually a year end pro
forma donor solicitation. RD also consisted of one support staff, a development coordinator, who does
not write grants but assists in data base entry and online searches for grants.
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The Director of Advocacy was given the broad role of managing LSNs litigation and legal advocacy
priorities, with some shared responsibility for grantor report obligations. The major internal
responsibilities for this role included leading LSA's major litigation projects, serving as a resource of
knowledge for attorneys within the program and in some cases, serving as the primary interface with
other public interest law organizations. The case management database coordinator directly reported to
the Advocacy Director, a reiationship complicated by their location in different cities.

The IT structure within LSA was fraught with ambiguous lines of authority. The IT Manager was a direct
report to the ED, who did not have a substantial grasp of comrnunications technology. The IT Manager
was also permitted to usually "work from home", with the obligation of trouble shooting problems that
arose in various offices and self-managing his own workload distribution. While the database
coordinator has significant functional IT knowledge, her role was limited to set-up and maintenance of
LSNs Legalserver, our principal system for case files and time keeping, and LSA's generat all-purpose
internal information "billboard". The coordinator was also tasked with website administration (but
social media was assigned to the Development Director, who had sole posting authority). For reasons
that rernain unclear, the database coordinator was restricted from assisting with routine IT service
issues, despite being perfectly competent to do so, on the grounds that it was "outside her job
description." On the other hand, one of her major designated roles, extracting reporting data from
Legalserver, was often unnecessary, as the new Advocacy Director was tech savvy enough to handle
data extraction without assistance.

The PAI position was another source of internal confusion. The PAI coordinator was loosely responsible
for the mandatory 12.5 % of LSC based resources that must be spent on promoting private attorney
involvement in serving low income clients. While this is a common position in LSC structures, virtually no
other state's bar has created its own official network of pro bono volunteer lawyers who are structurally
independent of LSA (although they receive $350,000 annually from our program). Theoretically, the PAI
coordinator could have taken on the task of driving LSA's enrollment of private contract attorneys, but
this role was delegated to the regional managing attorneys, with wildly varying results: some offices
have an active reduced fee contract program,some enter only a handful of contracts a year. Each office
also sets its own course for other components of PAI, such as conducting CLEs or engaging legal
education efforts.

Lastly, LSA's financial structure: under the past regime, there was constant tension over the leadership
of LSA's finances. The line item responsibility for finances kept shifting: at one point, the ED was
described in internal documents as the "CFO", despite a lack of core accounting knowledge and literally
no financial background. While the OPS Director supervised the accounting department, her ability to do
so was diminished by her own lack of a finance or accounting background. The monthly reconciliation of
books was entirely a Warren Averett function, as were a number of other routine transactions, including
filling out grant budgets. WA drove the annual budgeting process, as well.

The effect of so many gray areas in the central office was not surprisingly a combustible work
environment. Among the obvious signs of disarray: a preoccupation over "job description"; inordinate
overtime requests from non-exempt personnel; territorialism over the most mundane matters, like who
had authority to speak to grantors; frayed nerves; constant missed deadlines on the grant reporting
side; slow communication with vendors, and regular late bill paying; overloaded department heads
whose time sheets routinely reflected 12 to 13 hour days. Our department heads were doing an
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inordinate amount of administrative, even clerical work, while the ranks of support staff in the central
office was trimmed to a barebones level.(Under prior leadership, an HR coordinator and development
administrative assistant were eliminated in 2015, contributing to the overload for the OPS Director and
RD Director).

Changes in 2017

It became clear that a more functional LSA required adjustments in role and alignment of
responsibilities, and in sorne cases, new administrative support to absorb the backlog of work.

The duties of the OPS Director have been streamlined: today, the core responsibilities of Operations at
LSA are: management of the HR portfolio; supervision of the IT department, which was previously a
direct ED report; grant reporting; sub-grant relationships with the VLP programl; and vendor relations,
including property management. The previous OPS adrnin was reassigned to the call center, where she is
serving effectively as an intake screener, while a new administrative assistant was hired, who has a 15
year history in executive administration with a particular specialization in HR.

In May, after assessing the disproportionate time the OPS Director was spending on grant compliance
(60%), including basic data entry, the decision was made to add a grants manager as a direct report to
OPS. The hire, who has a ten year broad based portfolio in grants, ranging from writing to reporting to
budgeting, provides the specialized experience in grants that LSA has lacked for the past decade, as well
as extra help on the development and financial accounting side.

The legal database coordinator has been given the new assignment of information systems coordinator,
where she plays a wide ranging role from sharing trouble shooting with the IT Manager,to assessment
of institutional tech needs; as well as her traditional task of being our "LegalServer guru." She has also
developed an internal protocol for managing IT issues within the organization to ensure better and
faster prioritization. Our New IT department has already earned its spurs by efficiently addressing
several recent hacking/ransomware attacks on our servers.

Several former OPS duties have been reassigned: leave approval has been delegated to department
heads and regional office managers; approval for training now resides with the Advocacy Director, who
is far better positioned to evaluate which training opportunities make the most sense for our advocates;
and LSA has stood up its own internal Finance department, led by a CFO with a twenty five year record
of being the senior financial officer in both profit and non-profit settings. By the end of the summer,the
WA contract will be downsized to a limited hourly consultant based role, consisting of occasional
employee training, investment advice and some third party verification, with the entirety of our monthly
transactional work and reconciliation done in-house.

The goal has been to redefine OPS as a center of program innovation, with a mandate for reshaping our
operational systems to be cleaner and less cumbersome. By building a support staff structure within the
department, LSA has created space for the OPS Director to take on more tasks for long range review,
including monitoring of best practices and reforms in IT and benefits. She has also been assigned the
mission of revamping LSA's extremely unwieldy evaluation processes.


  It is my judgment that since LSA does not emulate other programs in running its own volunteer lawyer network,
and reduced fee contracts are managed at the regional office level, that a PAI coordinator would not be a
justifiable full time position.
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Resource and Development

The Resource and Development Department has been re-conceived as the Development and Strategic
Partnerships Department. While the core duties of grant submissions remain based in this department,
DSP now includes a broader focus on building institutional relationships with public entities, and private
fundraising cultivation, a neglected element at LSA in the past decade. For example, DSP is in the
process of scheduling a series of "Meet the new LSA" meet and greets for the donor community in
Montgomery, Birmingham, Mobile, and Hunstville.

DSP has also assumed formal leadership of LSA's public relations, communications and branding: to
assist that role, LSA has hired a development and communications associate who has previous
experience as a journalist and communications director for a local college. As a result of this new
capacity, LSA now maintains a regularly updated website that features specific content on our casework
and public outreach initiatives, as well as staff profiles and an Advocate of the Month feature.

LSA's heightened profile is directly related to the addition of a dedicated communications staffer. Both
our wage garnishment appeals win and our VA initiative have garnered coverage in television and online
media, an extremely rare event under past leadership. As a testament to the value of a more robust
website, multiple staffers have said that they chose to apply for jobs at LSA based solely on information
about our work and staff displayed on the website.

Attorney personnel changes

Staff turnover has been a constant at LSA since the 2015 layoffs. Primarily for reasons discussed at
length during our compensation plan meeting, 24 staffers departed LSA from January 2016 to March
2017, most of them junior staff attorneys who were leaving just as they were becoming peak
performers. Because hiring has become a constant function at LSA, it has been important to refine the
process to maximize our ability to identify and hire the best available ta!ent.

Since late December,five attorneys, all in in the one to five years of experience range, left LSA: one in
the Anniston satellite office, one in Birmingham, one in Montgomery,two in Selma. LSA was able to
effectively replace each single departure within a month: all five new hires have received strong marks
from their managers and supervisors; the Selma hires, at the Managing and staff attorney level, have
compiled stronger numbers for cases opened in a two month span than their predecessors compiled in
six months. The quality of the hires has been impressive, including a summa cum laude University of
Alabama undergrad, a former civil and criminal litigator with extensive courtroom experience, and a MA
in Selma with a strong combination of community ties and experience in LSA coverage areas.

Prior to the past six months, LSA's hiring practices received a lot of internal criticism. The process was
unusually cumbersome and inflexible: postings were required to run for 30 days, with managers
precluded from contacting candidates until the 30 days lapsed; ail interviews were scheduled on a single
day, with candidates excluded who could not make the designated date. Although the practice
occasionally varied, as a general rule, the Executive Director sat in on interviews, and all hires received
final review by the OPS Director. New hires were subjected to a six month probationary period.
Recruiting of candidates was not allowed, and only candidates who submitted an application on their
own were eligible for consideration.
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LSA has substantially revised its protocols for hiring new lawyers. Managers have been given discretion
to instantly screen strong resumes, and to conduct preliminary interviews by phone if they choose.
While an effort is made to conduct interviews on a single date, candidates with conflicts may be
interviewed on different dates. As Executive Director, I have relied on my own network of contacts to
identify strong contenders and to proactively advise them of vacancies. With the exception of Selma,
where a managerial vacancy existed, the interview process has been delegated to managers, whose
recommendations are approved at the ED level (in every instance I have followed the recommendation).
The six month probationary period has been ended, but attorneys with less than two years practice
experience are formally assigned a mentor in the person of a successful young lawyer within the
program.2

Budgetary impact

Despite adding three new positions, a CFO, communications and development associate, and a grant
manager, LSA remains remarkably close to its personnel budget for 2017, exceeding it only by the small
amount of approximately $20,000 to date. In other words, for roughly the same cost, LSA has achieved a
more cohesive personnel structure. While the full year costs of extra staff will expand the personnel
budget in 2018, LSA remains well below the 65-70% salary to overall costs ratio of most LSC programs.
LSA is also on the verge of winding down a six figure contract with Warren Averett, whose tasks will be
conducted internally beginning in September, a change that will save close to $100,000.




 It is worth noting that LSC regulations provide grantees broad leeway in hiring polices, directing only that the
positions be circulated to the private bar and on grantee websites, and that grantees seek out recommendations
from the private bar. The much more restrictive policies of the past leadership seem to mimic rules for federal
contractors, which LSC grantees are not.
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